Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 1 of 131 PageID #:311




                      Exhibit H
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 2 of 131 PageID #:312




                    Exhibit H1
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 3 of 131 PageID #:313



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                                    Kristen J. Long
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                                                Page 1 of 13
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    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 4 of 131 PageID #:314



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DXWKRULW\DQGUHVSRQVLELOLWLHVRINH\FRQWDFWVDW&RPSDQ\DFFRXQWVDQGSURVSHFWVWKHFRPSRVLWLRQDQG
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&RPSDQ\¶VSHUVRQQHODQGSD\UROOGDWDLQFOXGLQJGHWDLOVRIVDODU\ERQXVFRPPLVVLRQDQGRWKHU
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,QIRUPDWLRQFRQILGHQWLDODQGPDGHDYDLODEOHRQO\WRWKRVHHPSOR\HHVZKRQHHGDFFHVVWRVXFK
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GHYHORSDQGPDLQWDLQDUHODWLRQVKLSEHWZHHQLWVHPSOR\HHVDQGDFOLHQWDQGLQWKDWUHJDUGWKH&RPSDQ\
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    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 5 of 131 PageID #:315



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WHUPLQDWLRQWDNLQJSODFH  GXULQJWKH(PSOR\HH¶VILUVWQLQHW\  GD\VRIHPSOR\PHQW RURWKHU
DSSOLFDEOH,QWURGXFWRU\3HULRGSXUVXDQWWR&RPSDQ\SROLF\ RU  GXULQJWKHSHQGHQF\RIDQ\
3HUIRUPDQFH,PSURYHPHQW3ODQLVVXHGSXUVXDQWWRWKH&RPSDQ\¶VSHUIRUPDQFHPDQDJHPHQWSROLFLHV
         %     7KH&RPSDQ\DJUHHVWRFRQWLQXHGXULQJWKH1RWLFH3HULRGWKHVDPHFRPSHQVDWLRQDQG
EHQHILWV(PSOR\HHZDVUHFHLYLQJSULRUWRWKH1RWLFH3HULRG7KHSDUWLHVDJUHHWKDWRQFHWKH1RWLFH3HULRG
H[SLUHVWKH(PSOR\HH¶VHQWLWOHPHQWWRFRPSHQVDWLRQDQGEHQHILWVHQGV
         &     (PSOR\HHDJUHHVWKDWGXULQJWKH1RWLFH3HULRGKHZLOOFRRSHUDWHIXOO\ZLWKWKH&RPSDQ\
LQDOOPDWWHUVUHODWLQJWRWKHZLQGLQJXSRIDQ\SHQGLQJZRUNDQGRUWKHRUGHUO\WUDQVIHUWRRWKHU&RPSDQ\
HPSOR\HHVRIWKHDFFRXQWVIRUZKLFKKHKDVEHHQUHVSRQVLEOH(PSOR\HHVSHFLILFDOO\FRYHQDQWVWKDW
GXULQJWKH1RWLFH3HULRG UHJDUGOHVVRIZKHWKHURUQRWDFWLYHHPSOR\PHQWUHVSRQVLELOLWLHVDUHFRQWLQXLQJ 
KLVGXWLHVWRWKH&RPSDQ\LQFOXGLQJ(PSOR\HH¶VILGXFLDU\GXW\RIOR\DOW\ZLOOFRQWLQXHLQHIIHFW3ULRU
WRWKHH[SLUDWLRQRIWKH1RWLFH3HULRG(PSOR\HHSURPLVHVWRUHWXUQWRWKH&RPSDQ\DOORULJLQDOVDQG
FRSLHV ZKHWKHUSDSHUGLJLWDOFRSLHVRURWKHUZLVH RIOLWHUDWXUHFRUUHVSRQGHQFHPHPRUDQGDUHSRUWV
VXPPDULHVPDQXDOVSURSRVDOVFRQWUDFWVDQGRWKHUGRFXPHQWVRIDQ\NLQGZKLFKUHODWHLQDQ\ZD\WRWKH
EXVLQHVVRIWKH&RPSDQ\LQFOXGLQJVSHFLILFDOO\DOOPDWHULDOVZKLFKFRPSULVHRUUHIHUWRWKH&RPSDQ\¶V
&RQILGHQWLDO,QIRUPDWLRQ7KH(PSOR\HHFRYHQDQWVWKDWKHZLOOQRWUHWDLQDQ\FRS\IDFVLPLOHRUQRWH
LQWHQGHGWRPHPRULDOL]HDQ\VXFKGDWD(PSOR\HHIXUWKHUXQGHUVWDQGVDQGDJUHHVWKDWGXULQJRUDWWKH
H[SLUDWLRQRIWKH1RWLFH3HULRGDQGDVSDUWRIKLVDVVLJQHGMREGXWLHVKHZLOOUHDVRQDEO\SDUWLFLSDWHLQ
                                               Page 3 of 13
6WDQGDUG(PSOR\HH$JUHHPHQW±
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 6 of 131 PageID #:316



DQ\PHHWLQJWKH&RPSDQ\PD\FRQYHQHWR L UHYLHZWKHVWDWXVRIDQ\SURMHFWVRUZRUN(PSOR\HHKDV
EHHQDVVLJQHG LL UHYLHZWKHVWDWXVRIDFFRXQWVIRUZKLFK(PSOR\HHKDVEHHQPRVWUHFHQWO\UHVSRQVLEOH
RUDVVRFLDWHG LLL HQVXUHWKDW(PSOR\HHKDVIXOO\REWDLQHGKLVHQWLWOHPHQWVXQGHUWKLV$JUHHPHQWDQGDV
SURYLGHGE\ODZDQGRU LY FRQILUPWKDW(PSOR\HHXQGHUVWDQGVWKHQDWXUHDQGVFRSHRIKLVSRVW
HPSOR\PHQWREOLJDWLRQV
         '     8SRQWKHWHUPLQDWLRQRI(PSOR\HH¶VHPSOR\PHQWIRUDQ\UHDVRQ(PSOR\HHDJUHHVWKDW
WKH6HFUHWDU\RIWKH&RPSDQ\PD\DVDQLUUHYRFDEOHSUR[\DQGLQ(PSOR\HH¶VQDPHDQGVWHDGH[HFXWH
DOOGRFXPHQWVDQGWKLQJVZKLFKWKH&RPSDQ\GHHPVQHFHVVDU\DQGGHVLUDEOHWRHIIHFW(PSOR\HH¶V
UHVLJQDWLRQDVDQRIILFHURUGLUHFWRURIDQ\FRPSDQ\ LIDSSOLFDEOH LQFOXGHGZLWKLQWKHGHILQLWLRQRIWKH
&RPSDQ\DVXVHGLQWKLV$JUHHPHQW
         (     %HIRUHDFFHSWLQJDQ\QHZHPSOR\PHQWLQWKHLQVXUDQFHEHQHILWVRUZHDOWKPDQDJHPHQW
LQGXVWULHV(PSOR\HHSURPLVHVWRJLYHKLVSURVSHFWLYHQHZHPSOR\HUDFRS\RIWKLV$JUHHPHQW(PSOR\HH
SHUPLWVWKH&RPSDQ\WRDGYLVHDQ\SURVSHFWLYHQHZHPSOR\HURI(PSOR\HHRIWKHH[LVWHQFHDQGWHUPVRI
WKLV$JUHHPHQWDQGWRSURYLGHLWZLWKDFRS\
         )     'XULQJHPSOR\PHQWDQGDIWHUWKHWHUPLQDWLRQRIVDPH(PSOR\HHDJUHHVWRUHPDLQ
DYDLODEOHWRWKH&RPSDQ\DQGLWVOHJDOFRXQVHOYROXQWDULO\XSRQWKH&RPSDQ\¶VUHTXHVWDQGZLWKRXWWKH
QHFHVVLW\RIVXESRHQDRUFRXUWRUGHULQFRQQHFWLRQZLWKWKH&RPSDQ\¶VLQYHVWLJDWLRQSUHSDUDWLRQ
SURVHFXWLRQDQGRUGHIHQVHRIDQ\DFWXDORUSRWHQWLDOOHJDOSURFHHGLQJUHJXODWRU\DFWLRQRULQWHUQDO
PDWWHU7KH(PSOR\HHDJUHHVWRFRRSHUDWHZLWKWKH&RPSDQ\WRSURYLGHDQ\LQIRUPDWLRQUHDVRQDEO\
ZLWKLQKLVUHFROOHFWLRQDQGWRSURYLGHWUXWKIXOWHVWLPRQ\DVUHTXLUHG,I(PSOR\HHLVFDOOHGXSRQWR
SURYLGHFRRSHUDWLRQDIWHUHPSOR\PHQWKDVEHHQWHUPLQDWHGWKH&RPSDQ\ZLOOUHLPEXUVH(PSOR\HHIRU
UHDVRQDEOHRXWRISRFNHWH[SHQVHVDFWXDOO\LQFXUUHGXQGHUWKLVVHFWLRQRUDWWKH&RPSDQ\¶VRSWLRQZLOO
DGYDQFH(PSOR\HH¶VUHDVRQDEOHH[SHQVHVRULQFXUWKHPGLUHFWO\
         *     (PSOR\HHDJUHHVWKDWZKLOHKHLVHPSOR\HGE\WKH&RPSDQ\DQGIROORZLQJWKH
WHUPLQDWLRQRIKLVHPSOR\PHQWKHZLOOQRWPDNHDQ\IDOVHGHIDPDWRU\RUGLVSDUDJLQJVWDWHPHQWVDERXW
WKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUVZKHUHVXFKVWDWHPHQWVDUHFDOFXODWHGWRRUUHDVRQDEO\OLNHO\WR
FDXVHPDWHULDOGDPDJHWRWKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUV
6HFWLRQ      7KH&RPSDQ\¶V5LJKWWR,QMXQFWLYH5HOLHI$WWRUQH\V¶)HHV
         7KH(PSOR\HHDFNQRZOHGJHVWKDWKLVVHUYLFHVWRWKH&RPSDQ\DUHRIDXQLTXHFKDUDFWHUZKLFK
JLYHVWKHPDVSHFLDOYDOXHWRWKH&RPSDQ\WKHORVVRIZKLFKFDQQRWUHDVRQDEO\RUDGHTXDWHO\EH
FRPSHQVDWHGLQGDPDJHVLQDQDFWLRQDWODZVKRXOGWKH(PSOR\HHEUHDFKRUWKUHDWHQWREUHDFKDQ\SRVW
HPSOR\PHQWREOLJDWLRQVXQGHUWKLV$JUHHPHQW7KH(PSOR\HHUHDOL]HVWKDW D LWZRXOGEHGLIILFXOWWR
PHDVXUHSUHFLVHO\WKHGDPDJHVWRWKH&RPSDQ\IURPDQ\EUHDFKE\(PSOR\HHRI6HFWLRQVDQGRURI
WKLV$JUHHPHQW E LQMXU\WRWKH&RPSDQ\IURPDQ\VXFKEUHDFKZRXOGEHLQFDOFXODEOHDQGLUUHPHGLDEOH
DQG F PRQH\GDPDJHVZRXOGWKHUHIRUHEHDQLQDGHTXDWHUHPHG\IRUDQ\VXFKEUHDFK$FFRUGLQJO\LQ
DGGLWLRQWRDQ\RWKHUUHPHG\WKH&RPSDQ\PD\KDYHDWODZRULQHTXLW\WKH&RPSDQ\ZLOOEHHQWLWOHGWR
HQIRUFHWKLV$JUHHPHQWE\REWDLQLQJDWHPSRUDU\UHVWUDLQLQJRUGHUDQGSUHOLPLQDU\DQGSHUPDQHQW
LQMXQFWLYHUHOLHIWRUHVWUDLQDQ\VXFKEUHDFKRUIXUWKHUEUHDFKE\(PSOR\HH(PSOR\HHH[SUHVVO\ZDLYHV
WKHULJKWWRFRQWHVWZKHWKHUDEUHDFKRI6HFWLRQRURIWKLV$JUHHPHQWZRXOGUHVXOWLQLUUHSDUDEOHRU
SHUPDQHQWKDUPWRWKH&RPSDQ\,QDGGLWLRQ(PSOR\HHDJUHHVWKDWWKH&RPSDQ\PD\VHHNLQMXQFWLYH
UHOLHIZKHQDQGLILWHOHFWVWRGRVRDQGDQ\GHOD\LQVHHNLQJLQMXQFWLYHUHOLHIZLOOQRWSUHMXGLFHRUZDLYH
WKH&RPSDQ\¶VULJKWWRGRVR(PSOR\HHH[SUHVVO\ZDLYHVWKHULJKWWRDVVHUWWKDWWKH&RPSDQ\LVQRW
HQWLWOHGWRLQMXQFWLYHUHOLHIEHFDXVHRIDQ\GHOD\LQVHHNLQJVXFKUHOLHI(PSOR\HHDJUHHVWKDWKHZLOOEH
UHVSRQVLEOHIRUDQGSD\WKH&RPSDQ\LWVUHDVRQDEOHDWWRUQH\V¶IHHVDQGRWKHUH[SHQVHVDQGFRVWVLQFXUUHG
WRHQIRUFHWKLV$JUHHPHQWLIWKH&RPSDQ\LVWKHSUHYDLOLQJSDUW\(PSOR\HHIXUWKHUDJUHHVWKDWLI
(PSOR\HHEUHDFKHVDQ\FRYHQDQWFRQWDLQHGLQ6HFWLRQVDQGRURIWKLV$JUHHPHQWWKH&RPSDQ\ZLOO
EHHQWLWOHGLQDGGLWLRQWRDOORWKHUOHJDORUHTXLWDEOHUHPHGLHVLWPD\KDYHWRRIIVHWDQGZLWKKROGDJDLQVW
DQ\VXFKORVVFRVWOLDELOLW\RUH[SHQVHDQ\DPRXQWRIDQ\NLQGWKDWPD\WKHQEHRZLQJRUSD\DEOHE\
&RPSDQ\WR(PSOR\HH


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6HFWLRQ      7UDGH6HFUHWVDQG&RQILGHQWLDO,QIRUPDWLRQ
         $     (PSOR\HHDFNQRZOHGJHVWKDWWKH&RPSDQ\¶VEXVLQHVVGHSHQGVWRDJUHDWGHJUHHXSRQ
KDYLQJLQIRUPDWLRQZKLFKLVQRWJHQHUDOO\NQRZQWRRWKHUVDQGWKDWWKHSURILWDELOLW\RIWKH&RPSDQ\¶V
EXVLQHVVUHTXLUHVWKDWWKLVLQIRUPDWLRQEHNHSWFRQILGHQWLDODQGSURSULHWDU\ZLWKLQWKH&RPSDQ\
$FFRUGLQJO\
                       (PSOR\HHDJUHHVWKDWDOOLQWHOOHFWXDOSURSHUW\VXFKDVFRPSXWHUSURJUDPV
V\VWHPVRUVRIWZDUHGHYHORSHGGXULQJKLVHPSOR\PHQWRUDVDUHVXOWRIKLVHPSOR\PHQWLV³ZRUNIRUKLUH´
SHUIRUPHGE\(PSOR\HHLQWKHVFRSHRIKLVHPSOR\PHQW7RWKHH[WHQWWKDWDQ\VXFKLQWHOOHFWXDOSURSHUW\
LVGHWHUPLQHGQRWWRFRQVWLWXWH³ZRUNIRUKLUH´RULIDQ\ULJKWVLQDQ\VXFKLQWHOOHFWXDOSURSHUW\GRQRW
DFFUXHWRWKH&RPSDQ\DVD³ZRUNIRUKLUH´(PSOR\HH¶VVLJQDWXUHRQWKLV$JUHHPHQWFRQVWLWXWHVDQ
DVVLJQPHQW ZLWKRXWDQ\IXUWKHUFRQVLGHUDWLRQ WRWKH&RPSDQ\RIDQ\DQGDOOFRS\ULJKWVDQGRWKHUULJKWV
WLWOHDQGLQWHUHVWLQDQGWRDOOVXFKLQWHOOHFWXDOSURSHUW\7KH&RPSDQ\ZLOOUHWDLQDOOSURSULHWDU\ULJKWVWR
DQ\DQGDOOVXFKLQWHOOHFWXDOSURSHUW\(PSOR\HHDJUHHVWRH[HFXWHDQ\GRFXPHQWVQHFHVVDU\WRSHUIHFWWKH
&RPSDQ\¶VLQWHUHVWLQVXFKLQWHOOHFWXDOSURSHUW\XSRQWKH&RPSDQ\¶VUHTXHVW
                       (PSOR\HHKDVEHHQDGYLVHGE\WKLVZULWLQJDQGXQGHUVWDQGVWKDWWKHIRUHJRLQJ
SURYLVLRQVRI6HFWLRQ $  GRQRWDSSO\WRDQLWHPRILQWHOOHFWXDOSURSHUW\IRUZKLFKQRHTXLSPHQW
VXSSOLHVIDFLOLWLHVRU&RQILGHQWLDO,QIRUPDWLRQRIWKH&RPSDQ\ZDVXVHGDQGZKLFKZDVGHYHORSHG
HQWLUHO\RQ(PSOR\HH¶VRZQWLPHXQOHVV D WKHLWHPRILQWHOOHFWXDOSURSHUW\UHODWHVWRWKHEXVLQHVVRIWKH
&RPSDQ\RUWRWKH&RPSDQ\¶VDFWXDORUGHPRQVWUDEO\DQWLFLSDWHGUHVHDUFKDQGGHYHORSPHQWRU E WKH
LWHPRILQWHOOHFWXDOSURSHUW\UHVXOWVIURPDQ\ZRUNSHUIRUPHGE\(PSOR\HHIRUWKH&RPSDQ\
         %     (PSOR\HHUHFRJQL]HVWKHKLJKO\VHQVLWLYHQDWXUHRIWKH&RQILGHQWLDO,QIRUPDWLRQKHZLOO
EHJLYHQ DQGWRZKLFKKHZLOOKDYHDFFHVVWKURXJKRXWKLVHPSOR\PHQW DQGDFNQRZOHGJHVWKH
&RPSDQ\¶VOHJLWLPDWHLQWHUHVWLQVDIHJXDUGLQJLWIURPGLVFORVXUH$FFRUGLQJO\LQDGGLWLRQWRWKH
UHVWULFWLRQVSURYLGHGLQ6HFWLRQEHORZ(PSOR\HHDJUHHVWKDW
                       DIWHUKLVHPSOR\PHQWZLWKWKH&RPSDQ\LVWHUPLQDWHGKHZLOOQRWGLUHFWO\RU
LQGLUHFWO\GLVFORVHXVHRUGLYXOJH&RQILGHQWLDO,QIRUPDWLRQWKDWFRQVWLWXWHVDWUDGHVHFUHWRIWKH&RPSDQ\
RUPDNHXVHRILWIRUKLVRZQSXUSRVHRUWKHSXUSRVHRIDQRWKHUDQG
                       IRUDSHULRGRIWZR  \HDUVIROORZLQJWKHWHUPLQDWLRQRIKLVHPSOR\PHQWZLWK
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&RPSDQ\RUPDNHXVHRILWIRUKLVRZQSXUSRVHRUWKHSXUSRVHRIDQRWKHU
                       QRWDOORIWKH&RPSDQ\¶V&RQILGHQWLDO,QIRUPDWLRQZLOOULVHWRWKHOHYHORIDWUDGH
VHFUHWRIWKH&RPSDQ\HYHQVRDOO&RQILGHQWLDO,QIRUPDWLRQZLOOEHHQWLWOHGWRWKHSURWHFWLRQVDQG
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         &     (PSOR\HHXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWKHZLOOEHQHILWVLJQLILFDQWO\IURPKDYLQJ
DFFHVVWRDQGEHLQJJLYHQ&RQILGHQWLDO,QIRUPDWLRQ(PSOR\HHDJUHHVWKDWEXWIRUKLVSURPLVHWR
VDIHJXDUG&RQILGHQWLDO,QIRUPDWLRQDQGWKHIXUWKHUUHVWULFWLYHFRYHQDQWVFRQWDLQHGLQ6HFWLRQEHORZWKH
&RPSDQ\ZRXOGQRWDJUHHWRSURYLGH(PSOR\HHZLWK&RQILGHQWLDO,QIRUPDWLRQ)XUWKHU(PSOR\HH
DFNQRZOHGJHVWKDWKLVEUHDFKRIDQ\UHVWULFWLRQVSURYLGHGLQ6HFWLRQEHORZZLOOLQHYLWDEO\DQG
QHFHVVDULO\OHDGWRWKHSURKLELWHGGLVFORVXUHRUXVHRI&RQILGHQWLDO,QIRUPDWLRQ
6HFWLRQ      3URWHFWLRQRIWKH&RPSDQ\¶V3URWHFWDEOH,QWHUHVWV
         7RSURWHFWWKHOHJLWLPDWHLQWHUHVWVRIWKH&RPSDQ\LQDPRQJRWKHUWKLQJVSURWHFWLQJLWV
&RQILGHQWLDO,QIRUPDWLRQHPSOR\PHQWUHODWLRQVKLSVUHODWLRQVKLSVZLWK&RPSDQ\DFFRXQWVDQGJRRGZLOO
DQGLQFRQVLGHUDWLRQIRUDPRQJRWKHUWKLQJVDVSURYLGHGLQWKLV$JUHHPHQWWKH&RPSDQ\¶VSURPLVHWR
JLYH(PSOR\HHFHUWDLQ&RQILGHQWLDO,QIRUPDWLRQVRPHRIZKLFKFRQVWLWXWHVWUDGHVHFUHWVRIWKH&RPSDQ\
ZKLFK(PSOR\HHGLGQRWSUHYLRXVO\KDYHDQGWRHQIRUFH(PSOR\HH¶VSURPLVHQRWWRGLVFORVHVXFK
&RQILGHQWLDO,QIRUPDWLRQ(PSOR\HHDJUHHVWRWKHIROORZLQJUHVWULFWLYHFRYHQDQWVZKLFK(PSOR\HH
DFNQRZOHGJHVDQGDJUHHVDUHUHDVRQDEO\QHFHVVDU\DQGQDUURZO\WDLORUHGWRSURWHFWWKH&RPSDQ\¶V
OHJLWLPDWHEXVLQHVVLQWHUHVWV



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          $     ,Q2./$+20$RQO\(PSOR\HHDQGWKH&RPSDQ\DJUHHWKDWGXULQJWKHSHULRGRI
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FRQVLGHUHGSDUWRIWKLV$JUHHPHQWDQGZLOOEHUHSODFHGLQLWVHQWLUHW\E\WKHDWWDFKHG6FKHGXOHZKLFKLV
LQFRUSRUDWHGE\UHIHUHQFH(PSOR\HHXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWWKHXVHRI6FKHGXOHLV
QHFHVVLWDWHGE\WKHUHTXLUHPHQWVDQGSHFXOLDULWLHVRIWKHODZVRI2NODKRPD6FKHGXOHZLOODSSO\RQO\LI
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                       )RUDSHULRGRIWZR  \HDUVIROORZLQJWKHWHUPLQDWLRQRI(PSOR\HH¶V
HPSOR\PHQWZLWKWKH&RPSDQ\IRUDQ\UHDVRQZKDWVRHYHU(PSOR\HHZLOOQRWGLUHFWO\RULQGLUHFWO\
VROLFLWWUDQVIHUSODFHPDUNHWDFFHSWDLGFRXQVHORUFRQVXOWLQWKHSODFHPHQWUHQHZDOGLVFRQWLQXDQFHRU
UHSODFHPHQWRIDQ\LQVXUDQFH LQFOXGLQJVHOILQVXUDQFH E\RUKDQGOHVHOILQVXUDQFHSURJUDPVLQVXUDQFH
FODLPVULVNPDQDJHPHQWVHUYLFHVHPHUJHQF\RUGLVDVWHUSUHYHQWLRQRUPDQDJHPHQWVHUYLFHVRURWKHU
LQVXUDQFHDGPLQLVWUDWLYHRUVHUYLFHIXQFWLRQV ³LQVXUDQFHVHUYLFHV´ RUSURYLGHHPSOR\HHEHQHILW
EURNHUDJHFRQVXOWLQJRUDGPLQLVWUDWLRQVHUYLFHVLQWKHDUHDRIJURXSLQVXUDQFHGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQSODQVLQGLYLGXDOOLIHGLVDELOLW\DQGFDSLWDODFFXPXODWLRQSURGXFWV
LQYHVWPHQWDGYLVRU\VHUYLFHVZHDOWKPDQDJHPHQWRUJURXSUHWLUHPHQWVHUYLFHVGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQVHUYLFHVKXPDQUHVRXUFHVFRQVXOWLQJVHUYLFHVLQFOXGLQJZLWKRXWOLPLWDWLRQ
FRPSHQVDWLRQFRQVXOWLQJFRPSHQVDWLRQSURJUDPGHVLJQFRPSHQVDWLRQDQGEHQHILWVVXUYH\VDQGRQVLWH
KXPDQUHVRXUFHVPDQDJHPHQWDQGDOORWKHUHPSOR\HHEHQHILWDUHDVWKH&RPSDQ\LVLQYROYHGZLWK
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  UHIHUUHGWRKHUHLQDIWHUDV³3URWHFWHG$FFRXQWV´ RU \ DQ\3URVSHFWLYH$FFRXQWRIWKH&RPSDQ\ DV
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EURDGO\WRLQFOXGHDOOXVHUVRILQVXUDQFHVHUYLFHVRUEHQHILWVHUYLFHVLQFOXGLQJFRPPHUFLDODQGLQGLYLGXDO
FRQVXPHUVULVNPDQDJHUVFDUULHUVDJHQWVDQGRWKHULQVXUDQFHLQWHUPHGLDULHVZKRDUHFXVWRPHUVRIWKH
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RIIHULQJDQ\FXVWRPSURJUDPIRUZKLFKWKH&RPSDQ\DFWVDVPDQDJLQJJHQHUDODJHQWPDQDJLQJJHQHUDO
XQGHUZULWHUSURJUDPPDQDJHURUXQGHUZULWLQJDJHQWUHJDUGOHVVRIKRZWKHUHODWLRQVKLSLVGRFXPHQWHGRU
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  D³&OLHQW*URXS´ WKHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGKHUHLQZLOOLQFOXGHSURGXFWVRUVHUYLFHV
ZLWKLQDQ\HQWLW\GLYLVLRQRURSHUDWLQJXQLWRIWKH&OLHQW*URXSZKHUHWKHVDPHPDQDJHPHQWJURXS
ZLWKLQWKH&OLHQW*URXSKDVWKHSULPDU\GHFLVLRQPDNLQJDXWKRULW\ZLWKUHVSHFWWRFRQWUDFWLQJIRUVHUYLFHV
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$FFRXQWGRHVQRWLQFOXGHDQDFFRXQWWKDWLVDFXVWRPHURI(PSOR\HH¶VQHZHPSOR\HU IRUWKHVDPHW\SH
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HLWKHUIRUPHGKLVRZQEXVLQHVVHQWHUSULVHRUMRLQHGDQH[LVWLQJEXVLQHVVHQWHUSULVHWKDWZLOORIIHUSURGXFWV
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3URVSHFWLYH$FFRXQWWKDW(PSOR\HHKDVHLWKHUIRUPHGKLVRZQEXVLQHVVHQWHUSULVHRUMRLQHGDQH[LVWLQJ
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VHUYLFHVSURYLGHGKRZHYHUQRWKLQJKHUHLQLVLQWHQGHGWROLPLWFRPPXQLFDWLRQVRUFRQWDFWVWKDWDUH
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UHIHUHQFH(PSOR\HHXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWWKHXVHRI6FKHGXOHLVQHFHVVLWDWHGE\WKH
UHTXLUHPHQWVDQGSHFXOLDULWLHVRIWKHODZVRI/RXLVLDQD6FKHGXOHZLOODSSO\RQO\LILWLVDWWDFKHGDQG
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LQVXUDQFHDQGRUEHQHILWVVHUYLFHVZKLOHHPSOR\HGE\WKH&RPSDQ\DUHQDWLRQDODFFRXQWVDQGWKDW
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FRXQWU\(PSOR\HHDJUHHVDQGDFNQRZOHGJHVWKDWWKHJHRJUDSKLFVFRSHUHODWLQJWRWKHUHVWULFWLRQV
SURYLGHGLQWKLV6HFWLRQZLOOLQFOXGHWKHHQWLUH8QLWHG6WDWHVDQGWKDWVLQFHWKHSRVWHPSOR\PHQW
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LQVXUDQFHDQGRUEHQHILWVHUYLFHVGXULQJWKHWZR\HDUSHULRGLPPHGLDWHO\SUHFHGLQJWHUPLQDWLRQRIKLV
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DFNQRZOHGJHVDQGDJUHHVWKDWWKHUHVWULFWLRQVFRQWDLQHGLQWKLV6HFWLRQGRQRWSURKLELW(PSOR\HHIURP
FRPSHWLQJZLWKWKH&RPSDQ\RUSHUIRUPLQJLQVXUDQFHRUEHQHILWVVHUYLFHVIRUSRWHQWLDOFOLHQWVWKURXJKRXW
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UHDVRQDEOHDQGQDUURZO\WDLORUHGWRIXUWKHUWKH&RPSDQ\¶VOHJLWLPDWHLQWHUHVWWRSURWHFWLWV&RQILGHQWLDO
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VHUYLFHVWKHQWKH&RPSDQ\PD\DGYLVHDQ\3URWHFWHG$FFRXQWDQGRU3URVSHFWLYH$FFRXQWRIWKH
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RULQGLUHFWO\VROLFLWLQGXFHHQWLFHRUUHFUXLWDQ\HPSOR\HHRIWKH&RPSDQ\WROHDYHWKHLUHPSOR\PHQW
ZLWKWKH&RPSDQ\,QDGGLWLRQIRUDSHULRGRIWZR  \HDUVIROORZLQJWKHWHUPLQDWLRQRI(PSOR\HH¶V
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FRQVROLGDWLRQRURWKHUUHRUJDQL]DWLRQRIWKH&RPSDQ\DQGZLOOEHDVVLJQDEOHWRELQGLQJXSRQDQGZLOO
LQXUHWRWKHEHQHILWRIWKHFRQWLQXLQJHQWLW\RUWRDQ\VXFFHVVRULQLQWHUHVWWRWKH&RPSDQ\LQFOXGLQJ
ZLWKRXWOLPLWDWLRQDQ\HQWLW\WRZKLFKWKH&RPSDQ\VHOOVEXVLQHVVDVVHWVDQGRUDFFRXQWVRIDQ\EUDQFK
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&RPSDQ\PD\DVVLJQWKLV$JUHHPHQWWRDQ\DIILOLDWHFRPSDQ\RI$-*LQZKLFKFDVHH[FHSWIRUSXUSRVHV
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LQXUHWRWKHEHQHILWRIWKDWDIILOLDWH(PSOR\HHPD\QRWDVVLJQWKLV$JUHHPHQWRUDQ\REOLJDWLRQV
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ZLOOEHFRPHQXOODQGYRLGDQGKDYHQRIXUWKHUHIIHFWLPPHGLDWHO\XSRQD+RVWLOH&KDQJHLQ&RQWURORI
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QRPLQDWHGE\DWOHDVWWZRWKLUGVRIWKHPHPEHUVRIWKH%RDUGRI'LUHFWRUVRI$-*LQRIILFHLPPHGLDWHO\
SULRUWRWKH&KDQJHLQ&RQWUROZKRKDYHQRWGLHGRUEHFRPHSHUPDQHQWO\GLVDEOHG
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DSSURYHGLQDGYDQFHWKHDFTXLVLWLRQRIRXWVWDQGLQJVKDUHVRIYRWLQJVWRFNRIWKHFRUSRUDWLRQWKDWFDXVHG
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FRQVLGHUDWLRQWREHUHFHLYHG´SHUVKDUHE\KROGHUVRIFRPPRQVWRFNLQ$-*LQWKH%XVLQHVV&RPELQDWLRQ
LVQRWOHVVWKDQWKHKLJKHURI
                                        L     WKHKLJKHVWSHUVKDUHSULFH LQFOXGLQJEURNHUDJH
FRPPLVVLRQVWUDQVIHUWD[HVDQGVROLFLWLQJGHDOHUV¶IHHV SDLGE\WKH5HODWHG3HUVRQLQDFTXLULQJDQ\RILWV
KROGLQJVRI$-*¶VFRPPRQVWRFNRU
                                        LL    DQDPRXQWWKDWEHDUVWKDWVDPHSHUFHQWDJHUHODWLRQVKLS
WRWKHPDUNHWSULFHRI$-*¶VFRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHDQQRXQFHPHQWRIVXFK%XVLQHVV
&RPELQDWLRQDVWKHKLJKHVWSHUVKDUHSULFHGHWHUPLQHGLQL DERYHEHDUVWRWKHPDUNHWSULFHRI$-*¶V
FRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHFRPPHQFHPHQWRIWKHDFTXLVLWLRQRI$-*¶VYRWLQJVWRFNWKDW
FDXVHGVXFK5HODWHG3HUVRQWREHFRPHD5HODWHG3HUVRQRU
                                        LLL   DQDPRXQWFDOFXODWHGE\PXOWLSO\LQJWKHHDUQLQJVSHU
VKDUHRI$-*¶VFRPPRQVWRFNIRUWKHIRXUILVFDOTXDUWHUVLPPHGLDWHO\SUHFHGLQJWKHUHFRUGGDWHIRU
GHWHUPLQDWLRQRIVWRFNKROGHUVHQWLWOHGWRYRWHRQVXFK%XVLQHVV&RPELQDWLRQE\WKHSULFHHDUQLQJV
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6WDQGDUG(PSOR\HH$JUHHPHQW±
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 11 of 131 PageID #:321



PXOWLSOHRIWKH5HODWHG3HUVRQDVRIWKHUHFRUGGDWHDVFXVWRPDULO\FRPSXWHGDQGUHSRUWHGLQWKHILQDQFLDO
SUHVV$SSURSULDWHDGMXVWPHQWVZLOOEHPDGHZLWKUHVSHFWWRWKHVHVXEVHFWLRQVL LL DQGLLL IRU
UHFDSLWDOL]DWLRQVDQGIRUVWRFNVSOLWVVWRFNGLYLGHQGVDQGOLNHGLVWULEXWLRQVDQG
                                ,,    $WLPHO\PDLOLQJZLOOKDYHEHHQPDGHWRWKHVWRFNKROGHUVRI
$-*VKRZLQJLQDSURPLQHQWSODFH [ DQ\UHFRPPHQGDWLRQVDVWRWKHDGYLVDELOLW\ RULQDGYLVDELOLW\ RI
WKH%XVLQHVV&RPELQDWLRQWKDWWKH&RQWLQXLQJ'LUHFWRUVRU2XWVLGH'LUHFWRUVPD\FKRRVHWRVWDWHLIWKHUH
DUHDWWKHWLPHDQ\VXFKGLUHFWRUVDQG \ WKHRSLQLRQRIDUHSXWDEOHQDWLRQDOO\UHFRJQL]HGLQYHVWPHQW
EDQNLQJRUILQDQFLDOVHUYLFHVILUPDVWRWKHIDLUQHVVIURPWKHILQDQFLDOSRLQWRIYLHZRIWKHWHUPVRIWKH
%XVLQHVV&RPELQDWLRQWRWKHVWRFNKROGHUVRI$-*RWKHUWKDQWKH5HODWHG3HUVRQ VXFKILUPWREHHQJDJHG
VROHO\RQEHKDOIRIVXFKRWKHUVWRFNKROGHUVWREHSDLGDUHDVRQDEOHIHHIRULWVVHUYLFHVE\$-*XSRQ
UHFHLSWRIVXFKRSLQLRQWREHDILUPWKDWKDVQRWSUHYLRXVO\EHHQVLJQLILFDQWO\DVVRFLDWHGZLWKWKH5HODWHG
3HUVRQDQGLIWKHUHDUHDWWKHWLPHDQ\VXFKGLUHFWRUVWREHVHOHFWHGE\DPDMRULW\RIWKH&RQWLQXLQJ
'LUHFWRUVDQG2XWVLGH'LUHFWRUV 
                      7KHDFTXLVLWLRQRIRXWVWDQGLQJVKDUHVRI$-*¶VYRWLQJVWRFNWKDWFDXVHVDQ
LQGLYLGXDODFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\WREHFRPHD5HODWHG3HUVRQ
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FRQVWLWXWHWKHHQWLUH%RDUGRI'LUHFWRUVRIWKH&RPSDQ\ZLOOIRUDQ\UHDVRQRWKHUWKDQGHDWKRUSHUPDQHQW
GLVDELOLW\GXULQJVXFKSHULRGFHDVHWRFRQVWLWXWHDPDMRULW\WKHUHRI
                      $FKDQJHLQFRQWURORIDQDWXUHWKDWZRXOGEHUHTXLUHGWREHUHSRUWHGLQUHVSRQVH
WR,WHP H RI6FKHGXOH$RI5HJXODWLRQ$SURPXOJDWHGXQGHUWKH6HFXULWLHV$FWRIDV
DPHQGHG
         &     7KHWHUP³%XVLQHVV&RPELQDWLRQ´ZLOOPHDQ L DQ\PHUJHURUFRQVROLGDWLRQRI$-*
ZLWKRULQWRD5HODWHG3HUVRQ LL DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQLQFOXGLQJ
ZLWKRXWOLPLWDWLRQDPRUWJDJHRUDQ\RWKHUVHFXULW\GHYLFHRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRI
WKH&RPSDQ\WRD5HODWHG3HUVRQ LLL DQ\PHUJHURUFRQVROLGDWLRQRID5HODWHG3HUVRQZLWKRULQWR$-*
  LY DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRID
5HODWHG3HUVRQWRWKH&RPSDQ\ Y WKHLVVXDQFHRIDQ\VHFXULWLHVRIWKH&RPSDQ\WRD5HODWHG3HUVRQ
  YL WKHDFTXLVLWLRQE\WKH&RPSDQ\RIDQ\VHFXULWLHVLVVXHGE\D5HODWHG3HUVRQ YLL DQ\UHFODVVLILFDWLRQ
RIVHFXULWLHVUHFDSLWDOL]DWLRQRURWKHUWUDQVDFWLRQGHVLJQHGWRGHFUHDVHWKHQXPEHURIKROGHUVRI$-*¶V
YRWLQJVHFXULWLHVUHPDLQLQJLIWKHUHLVD5HODWHG3HUVRQDQG YLLL DQ\DJUHHPHQWFRQWUDFWRURWKHU
DUUDQJHPHQWSURYLGLQJIRUDQ\RIWKHWUDQVDFWLRQVGHVFULEHGLQWKLVGHILQLWLRQRI%XVLQHVV&RPELQDWLRQ
         '     7KHWHUP³5HODWHG3HUVRQ´ZLOOPHDQDQGLQFOXGHDQ\LQGLYLGXDOFRUSRUDWLRQ
SDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\ZKLFKWRJHWKHUZLWKWKHLU³$IILOLDWHV´DQG³$VVRFLDWHV´ DVGHILQHG
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DJJUHJDWHRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKHYRWLQJVWRFNRI$-*DQGDQ\$IILOLDWHRU
$VVRFLDWHRIDQ\VXFKLQGLYLGXDOFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\SURYLGHGWKDW5HODWHG
3HUVRQZLOOQRWLQFOXGHDQ\SHUVRQZKREHQHILFLDOO\RZQHGRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKH
YRWLQJVWRFNRI$-*RQ1RYHPEHU:LWKRXWOLPLWDWLRQDQ\VKDUHVRIYRWLQJVWRFNRI$-*WKDWDQ\
5HODWHG3HUVRQKDVWKHULJKWWRDFTXLUHSXUVXDQWWRDQ\DJUHHPHQWRUXSRQH[HUFLVHRIFRQYHUVLRQULJKWV
ZDUUDQWVRURSWLRQVRURWKHUZLVHZLOOEHGHHPHGEHQHILFLDOO\RZQHGE\WKH5HODWHG3HUVRQ
         (     7KHWHUP³6XEVWDQWLDO3DUW´ZLOOPHDQPRUHWKDQRIWKHIDLUPDUNHWYDOXHRIWKHWRWDO
DVVHWVRIWKHFRUSRUDWLRQLQTXHVWLRQDVRIWKHHQGRILWVPRVWUHFHQWILVFDO\HDUHQGLQJSULRUWRWKHWLPH
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         )     7KHWHUP³RWKHUFRQVLGHUDWLRQWREHUHFHLYHG´ZLOOLQFOXGHZLWKRXWOLPLWDWLRQFDSLWDO
VWRFNRI$-*UHWDLQHGE\LWVH[LVWLQJSXEOLFVWRFNKROGHUVLQWKHHYHQWRID%XVLQHVV&RPELQDWLRQLQZKLFK
$-*LVWKHVXUYLYLQJFRUSRUDWLRQ
         *     7KHWHUP³&RQWLQXLQJ'LUHFWRU´ZLOOPHDQDGLUHFWRUZKRZDVDPHPEHURIWKHERDUGRI
GLUHFWRUVRI$-*LPPHGLDWHO\SULRUWRWKHWLPHWKDWWKH5HODWHG3HUVRQLQYROYHGLQD%XVLQHVV
&RPELQDWLRQEHFDPHD5HODWHG3HUVRQDQGWKHWHUP³2XWVLGH'LUHFWRU´ZLOOPHDQDGLUHFWRUZKRLVQRW
  D DQRIILFHURUHPSOR\HHRI$-*RUDQ\UHODWLYHRIDQRIILFHURUHPSOR\HHRU E D5HODWHG3HUVRQRUDQ
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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RIILFHUGLUHFWRUHPSOR\HH$VVRFLDWHRU$IILOLDWHRID5HODWHG3HUVRQRUDUHODWLYHRIDQ\RIWKH
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         $    7KHFDSWLRQVLQWKLV$JUHHPHQWDUHIRUUHIHUHQFHRQO\DQGKDYHQRLQGHSHQGHQWIRUFHRU
HIIHFW,IDFDSWLRQLVLQFRQVLVWHQWZLWKDQ\SDUWRIWKH$JUHHPHQWWKHFDSWLRQZLOOEHGLVUHJDUGHG
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6WDWHLQZKLFK(PSOR\HHUHVLGHVZLWKRXWJLYLQJHIIHFWWRDQ\RILWVFRQIOLFWRIODZSULQFLSOHV7KHSDUWLHV
DJUHHWKDWWKHFKRVHQVWDWHKDVDPDWHULDODQGVLJQLILFDQWLQWHUHVWLQTXHVWLRQVFRQFHUQLQJWKLV$JUHHPHQW
DQGSHUIRUPDQFHWKHUHXQGHU7KHSDUWLHVDJUHHWKDWWKHVROHDQGH[FOXVLYHYHQXHRIDQ\GLVSXWHEHWZHHQ
WKHSDUWLHVZLWKUHVSHFWWRWKLV$JUHHPHQWRUDQ\PDWWHUVUHODWHGWKHUHWRZLOOEHDVWDWHWULDORUIHGHUDO
GLVWULFWFRXUWORFDWHGZLWKLQWKHIHGHUDOMXGLFLDOGLVWULFWLQZKLFK(PSOR\HHUHVLGHV ³&KRVHQ9HQXH´ 
(PSOR\HHDJUHHVWKDWLWLVQHLWKHUXQIDLUQRUXQUHDVRQDEOHIRUWKH&KRVHQ9HQXHWREHVHOHFWHGDVWKH
H[FOXVLYHYHQXHIRUDQ\GLVSXWHEHWZHHQWKHSDUWLHVZLWKUHVSHFWWRWKLV$JUHHPHQWRUDQ\PDWWHUUHODWHG
WKHUHWRDQGWKDWKHZLOOVXIIHUQRXQGXHEXUGHQE\KDYLQJWROLWLJDWHDQ\VXFKGLVSXWHVLQWKH&KRVHQ
9HQXH0RUHRYHU(PSOR\HHSURPLVHVQRWWRLQLWLDWHVXLWDJDLQVWWKH&RPSDQ\LQDQ\YHQXHRWKHUWKDQWKH
DERYHVHOHFWHGH[FOXVLYH&KRVHQ9HQXHZLWKUHVSHFWWRDQ\GLVSXWHEHWZHHQWKHSDUWLHVUHODWLQJWRWKLV
$JUHHPHQW(PSOR\HHZDLYHVDQGDJUHHVQRWWRLQWHUSRVHDQ\DUJXPHQWWKDWWKH&KRVHQ9HQXHLVDQ
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SUHSDUDWLRQIRUDQGSDUWLFLSDWLRQLQDMXU\WULDOWKHSDUWLHVGHVLUHWKDWDQ\GLVSXWHDULVLQJKHUHXQGHUZLOOEH
GHFLGHGE\DMXGJHUDWKHUWKDQDMXU\7KHUHIRUHWKHSDUWLHVKHUHE\NQRZLQJO\YROXQWDULO\DQG
LQWHQWLRQDOO\ZDLYHWKHULJKWHLWKHUPD\KDYHWRDWULDOE\MXU\LQUHVSHFWWRDQ\OLWLJDWLRQEDVHGRQWKLV
$JUHHPHQWRUDULVLQJRXWRIXQGHURULQFRQMXQFWLRQZLWK(PSOR\HH¶VHPSOR\PHQWE\WKH&RPSDQ\WKLV
$JUHHPHQWRUDQ\FRXUVHRIFRQGXFWFRXUVHRIGHDOLQJYHUEDORUZULWWHQVWDWHPHQWRUWKHDFWLRQVRI
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VXEMHFWWRDQ\H[LVWLQJHPSOR\PHQWDJUHHPHQWZLWKWKH&RPSDQ\ZKHWKHUDQ([HFXWLYH$JUHHPHQW
$VVRFLDWH$JUHHPHQWRURWKHUZLVH FROOHFWLYHO\³([LVWLQJ(PSOR\HH$JUHHPHQW´ WKLV$JUHHPHQWZLOO
EHFRQVLGHUHGDQ$PHQGHGDQG5HVWDWHG(PSOR\HH$JUHHPHQWRIVXFK([LVWLQJ(PSOR\HH$JUHHPHQW,I
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(IIHFWLYH'DWH WKH³$FTXLUHG%XVLQHVV´ WKHQ L WKLV$JUHHPHQWZLOOEHFRQVLGHUHGDQ$PHQGHGDQG
5HVWDWHG(PSOR\PHQW$JUHHPHQWLI(PSOR\HHLVVXEMHFWWRDQ\H[LVWLQJHPSOR\PHQWDJUHHPHQWZLWKWKH
$FTXLUHG%XVLQHVVDQG(PSOR\HH¶VHPSOR\PHQWDJUHHPHQWZLWKWKH$FTXLUHG%XVLQHVVLVDVVLJQHGWRWKH
&RPSDQ\DQG LL WKHWHUPWKH³&RPSDQ\´VKDOOEHGHHPHGWRLQFOXGHWKH$FTXLUHG%XVLQHVV
         (    7KLV$JUHHPHQWFRQWDLQVWKHHQWLUHDJUHHPHQWRIWKHSDUWLHVZLWKUHVSHFWWRWKHVXEMHFW
PDWWHUVFRYHUHGKHUHE\7KHSDUWLHVDJUHHWKDWDOOSULRUQHJRWLDWLRQVDQGFRPPXQLFDWLRQVDUHRIQRIRUFH
RUHIIHFW)XUWKHUWKHSDUWLHVDJUHHWKDWWKHUHDUHQRRUDODJUHHPHQWVXQGHUVWDQGLQJVXQGHUWDNLQJVRU
SURPLVHVRIWKHSDUWLHVUHODWLQJWRWKHVXEMHFWPDWWHUVFRYHUHGE\WKLV$JUHHPHQW
         )    6XEMHFWWR6HFWLRQ * EHORZWKLV$JUHHPHQWPD\QRWEHDPHQGHGDOWHUHGRUPRGLILHG
ZLWKRXWWKHSULRUZULWWHQFRQVHQWRIERWKSDUWLHVDQGVXFKLQVWUXPHQWZLOODFNQRZOHGJHWKDWLWLVDQ
DPHQGPHQWRUPRGLILFDWLRQRIWKLV$JUHHPHQW:DLYHURIDQ\WHUPRUFRQGLWLRQRIWKLV$JUHHPHQWZLOO
QRWEHFRQVWUXHGDVDZDLYHURIDQ\VXEVHTXHQWEUHDFKRUIDLOXUHRIWKHVDPHWHUPRUFRQGLWLRQRUDQ\
RWKHUWHUPRUFRQGLWLRQ$Q\ZDLYHUPXVWEHLQZULWLQJ1RDPHQGPHQWDOWHUDWLRQPRGLILFDWLRQRU
ZDLYHUPD\EHVLJQHGE\(PSOR\HHRQEHKDOIRIWKH&RPSDQ\LWVDVVLJQHHVVXFFHVVRUVRUDVVLJQV
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RUVHQWHQFHLVIRXQGWREHLOOHJDORUXQHQIRUFHDEOHIRUDQ\UHDVRQLWLVWKHLQWHQWLRQRIWKHSDUWLHVWKDWVXFK
ZRUGSKUDVHFODXVHRUVHQWHQFHZLOOEHPRGLILHGRUGHOHWHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQVRDVWR
DIIRUGWKH&RPSDQ\WKHIXOOHVWSURWHFWLRQFRPPHQVXUDWHZLWKPDNLQJWKLV$JUHHPHQWDVPRGLILHGOHJDO
DQGHQIRUFHDEOHXQGHUDSSOLFDEOHODZVDQGWKHEDODQFHRIWKLV$JUHHPHQWZLOOQRWEHDIIHFWHGWKHUHE\WKH
EDODQFHEHLQJFRQVWUXHGDVVHYHUDEOHDQGLQGHSHQGHQW

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         +    $OOQRWLFHVJLYHQKHUHXQGHUZLOOEHLQZULWLQJDQGZLOOEHVHQWE\UHJLVWHUHGRUFHUWLILHG
PDLORUGHOLYHUHGE\KDQGDQGLILQWHQGHGIRUWKH&RPSDQ\DGGUHVVHGWRLWRUGHOLYHUHGWRLWVSULQFLSDO
RIILFHWRWKHDWWHQWLRQRIWKH6HFUHWDU\RIWKH&RPSDQ\,ILQWHQGHGIRU(PSOR\HHQRWLFHVZLOOEH
GHOLYHUHGSHUVRQDOO\RUDGGUHVVHG LIVHQWE\PDLO WR(PSOR\HH¶VWKHQFXUUHQWUHVLGHQFHDGGUHVVDVVKRZQ
RQWKH&RPSDQ\¶VUHFRUGVRUWRVXFKRWKHUDGGUHVVDV(PSOR\HHGLUHFWVLQDZULWWHQQRWLFHWRWKH
&RPSDQ\$OOQRWLFHVZLOOEHGHHPHGWREHJLYHQRQWKHGDWHUHFHLYHGDWWKHDGGUHVVRIWKHDGGUHVVHHRU
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         ,    7KHXVHRIPDOHSURQRXQVWKURXJKRXWWKLV$JUHHPHQWLQFOXGHVWKHIHPDOHJHQGHU7KH
ZRUGV³LQFOXGLQJ´RU³LQFOXGH´DUHQRWWREHLQWHUSUHWHGDVWHUPVRIOLPLWDWLRQRUH[FOXVLRQEXWUDWKHURI
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Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 16 of 131 PageID #:326




                    Exhibit H2
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 17 of 131 PageID #:327
                                                                                                     Revised 03.15.2021
                                                                                                        Std. Emp. Agmt.
                                                                                                 Not for use in California




                                  EMPLOYEE AGREEMENT

        This Employee Agreement (“Agreement”) is made and entered into as of the Effective
Date (as defined below) by and between BBBBBBBBBBBBBBBBBBB
                                                  Sara Arnold            (hereinafter referred to
as “Employee”) and Arthur J. Gallagher & Co., a Delaware corporation with its principal place
of business in Rolling Meadows, Illinois and its subsidiaries, divisions and affiliated and related
companies (hereinafter referred to collectively as “AJG” or the “Company”).

                                            RECITALS

       WHEREAS, Employee has been hired, or is being retained, as a valued key employee
who with the execution of this Agreement will be provided and will continue to be provided
during his employment with valuable confidential and proprietary and trade secret information of
the Company and will have significant managerial, production, administrative, technical and/or
account servicing responsibilities; and

        WHEREAS, the parties hereto acknowledge that the Company has a legitimate interest
in retaining the services of Employee and accepting the covenants herein provided in order to
protect its confidential and proprietary and trade secret information and to preserve the
Company’s goodwill, customer relationships, employment relationships and value of the
business to be handled by Employee as an employee of the Company;

        NOW THEREFORE, in consideration of these recitals and the mutual covenants and
promises set forth below, and for other good and valuable consideration including, but not
limited to, employment with the Company, receipt of the compensation and benefits attendant to
such employment, receipt and the ability to utilize the Company’s confidential, proprietary and
trade secret information, and/or being provided or allowed access to and contact with certain
Company accounts, all of which the parties acknowledge as sufficient consideration for this
Agreement, the parties agree as follows:

Section 1.     Employment

        The Company agrees to employ Employee and Employee agrees to serve the Company
and perform the duties set forth below beginning on the Effective Date and continuing thereafter
until employment is terminated by either party. The Employee’s employment is “at will” and is
terminable by either party as provided below (except in jurisdictions where “at will” employment
is not recognized). The Employee’s continued employment with the Company is subject to the
terms and conditions of this Agreement.

Section 2.     Duties

        A.     Employee agrees to devote his full energies, abilities, attention and business time
to the performance of his employment obligations and responsibilities. Employee agrees that he
will not engage in any activity which conflicts or interferes with, or in any way compromises, his
performance of those obligations and responsibilities. Employee will comply with all applicable
Company policies and procedures. Employee will not, either during or outside normal business
hours, directly or indirectly sell, solicit, service, manage or engage in any aspect of the insurance,


                                          Page 1 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 18 of 131 PageID #:328
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California




benefits or wealth management businesses for or on behalf of any person or entity other than the
Company, nor engage in any activity that is not in the best interests of the Company.

         B.     Employee recognizes that, by virtue of his employment by the Company and to
assist him in the solicitation, production, management, and/or servicing of accounts, he will be
provided and granted otherwise prohibited access to certain confidential and proprietary data and
trade secret information of the Company which is not known either to its competitors or within
the industry generally and which has independent economic value to the Company, and is subject to
reasonable efforts that are reasonable under the circumstances to maintain its secrecy. This
information (collectively hereinafter “Confidential Information”) may include, but is not limited to:
data relating to the Company’s unique marketing and servicing programs, procedures and
techniques; investment, wealth management and retirement plan consulting, variable annuities,
and fund investment business and related products and services; underwriting criteria for general
programs; business, management and human resources/personnel strategies and practices; the
criteria and formulae used by the Company in pricing its insurance and benefits products and
claims management, loss control and information management services; the structure and pricing of
special insurance packages negotiated with underwriters; highly sensitive information about the
Company’s agreements and relationships with underwriters; sales data contained in various tools
and resources (including, without limitation, Salesforce.com); lists of prospects; the identity,
authority and responsibilities of key contacts at Company accounts and prospects; the composition
and organization of Company accounts’ businesses; the peculiar risks inherent in the operations
of Company accounts; highly sensitive details concerning the structure, conditions and extent of
existing insurance coverages of Company accounts; policy expiration dates, premium amounts and
commission rates relating to Company accounts; risk management service arrangements relating to
Company accounts; loss histories relating to Company accounts; candidate and placement lists
relating to Company accounts; the Company’s personnel and payroll data including details of
salary, bonus, commission and other compensation arrangements; and other data showing the
particularized insurance or consulting requirements and preferences of Company accounts.
Employee understands that his job duties may include assisting in the development of information
and data that is Confidential Information belonging to the Company. Confidential Information
may be stored in files, documents, dailies, daily reports, renewal information, customer lists,
accounting records, products purchased by customers, customer account and credit data, referral
sources, computer programs and software, customer comments, Company written manuals and
marketing and financial analysis, plans, research and programs. Employee recognizes that this
Confidential Information constitutes valuable property of the Company, developed over a long
period of time and at substantial expense and that the Company takes reasonable efforts to
keep this Confidential Information confidential and made available only to those employees who
need access to such Confidential Information to perform their job functions for the Company.
Employee promises to safeguard such Confidential Information, and agrees that he will not, at any
time during his employment by the Company, divulge such Confidential Information or make use
of it for his own purposes or the purposes of another.

      Notwithstanding this Section 2, or the generality of any prohibition relating to
      Confidential Information appearing in this Agreement, Employee
      acknowledges the following important exceptions under state or federal law:


      1.      Employee is not prohibited from reporting possible violations of federal

                                           Page 2 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 19 of 131 PageID #:329
                                                                                                      Revised 03.15.2021
                                                                                                         Std. Emp. Agmt.
                                                                                                  Not for use in California

             law or regulation to any governmental agency or entity including,
             without limitation, the Department of Justice, the Securities and
             Exchange Commission, the Congress, and any agency Inspector General,
             or making other disclosures that are protected under the whistleblower
             provisions of federal law or regulation.
     2.      The Federal Defend Trade Secrets Act of 2016 provides the following:
             IMMUNITY FROM LIABILITY FOR CONFIDENTIAL DISCLOSURE
             OF A TRADE SECRET TO THE GOVERNMENT OR IN A COURT
             FILING.
             (1)     IMMUNITY. An individual shall not be held criminally or civilly
             liable under any Federal or State trade secret law for the disclosure of a trade
             secret that:
                    (A)     is made
                            (i)     in confidence to a Federal, State, or local government
                                    official, either directly or indirectly, or to an attorney;
                                    and
                            (ii)    solely for the purpose of reporting or investigating a
                                    suspected violation of law; or
                    (B)     is made in a complaint or other document filed in a lawsuit or
                            other proceeding, if such filing is made under seal.
              (2)     USE     OF       TRADE        SECRET         INFORMATION          IN
             ANTIRETALIATION LAWSUIT. An individual who files a lawsuit for
             retaliation by an employer for reporting a suspected violation of law may
             disclose the trade secret to the attorney of the individual and use the trade
             secret information in the court proceeding, if the individual:
                    (A)     files any document containing the trade secret under seal; and
                    (B)     does not disclose the trade secret, except pursuant to court
                            order.

         C.      The Company agrees that, during Employee’s employment with the Company, it
will: (i) provide Employee with certain Confidential Information the Employee did not previously
possess including, without limitation, Confidential Information relating to certain of the
Company’s accounts; (ii) provide Employee with information and access to the Company’s
proprietary insurance and risk management programs; (iii) provide Employee with access to the
Company’s specialized business operations relating to particular aspects of the insurance agency
and risk management business; (iv) maintain specialized training programs to which Employee
will qualify and apply; and (v) provide such other assistance which may reasonably aid Employee
in performing sales, management, technical and/or servicing duties.

        D.     Employee acknowledges and understands that an essential element of the
Company’s business is the development and maintenance of personal contacts and relationships
with its accounts, and that Employee may be provided and allowed access to certain of the
Company’s accounts for the purpose of establishing personal contact and relationships with such
accounts for the benefit of the Company. The Employee acknowledges that the Company
invests considerable time, money, and resources necessary to develop and maintain a relationship

                                           Page 3 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 20 of 131 PageID #:330
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California

between its employees and a client, and in that regard, the Company will pay Employee’s salary,
reimburse reasonably necessary business expenses, provide Employee with certain Confidential
Information, and provide the resources necessary to service the Company accounts managed or
serviced by Employee by making available legal advice, accounting support, advertising and
other corporate services. Moreover, while the Employee recognizes that some Company accounts
may develop greater identification with the Employee than the Company itself, those accounts
remain, at all times and for all purposes, accounts of the Company. By entering this Agreement,
Employee disclaims any interest in such Company accounts.

Section 3.    Compensation and Benefits

        Employee will be entitled to the compensation and benefits agreed to by Employee and
the Company and as noted from time to time in Employee’s official personnel file and records
retained in the Company’s corporate headquarters, which file is incorporated by reference herein to
the extent necessary for evidencing the compensation and benefits to which Employee and the
Company have agreed. The compensation and benefits to which Employee is entitled as of the
Effective Date is noted in Employee’s official personnel file. Employee’s compensation and
benefits is subject to periodic change at the Company’s discretion.

Section 4.    Representations

       Employee represents and warrants to the Company that:

         A.       Employee is not, and will not become, a party to any agreement, contract,
arrangement or understanding, whether of employment or otherwise, that would in any way
restrict him from undertaking or performing his duties in accordance with this Agreement or that
limits his ability to be employed by the Company under this Agreement;

      B.     Employment by the Company will not violate the terms of any policy of any prior
employer of Employee regarding competition, solicitation or confidentiality;

        C.      Employment by the Company in the position contemplated by this Agreement
will not require him to improperly use any trade secrets or confidential or proprietary information
of any prior employer, or any other person or entity for whom he has performed services;

       D.     Employee has not misused, and will not misuse, any confidential or proprietary
information obtained from any prior employer or any other person or entity;

        E.      Employee has not improperly taken or retained in any form whatsoever, or otherwise
retained access to, any confidential or proprietary information of any prior employer or any other
person or entity; and

        F.       Employee is in compliance with any non-competition and/or non-solicitation
agreements, or other restrictive covenant obligations in place between him and any former
employer and will continue to be in compliance, regardless of whether he believes such agreements
and/or restrictive covenants are enforceable or not.

        G.     Employee was provided a reasonable period of time, not less than fourteen (14)
days, to review and consider this Agreement prior to signing it and accepting employment with
the Company. If Employee elects to sign this Agreement sooner than fourteen (14) days prior to the
commencement of employment, he represents and acknowledges that he chose to do so
                                          Page 4 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 21 of 131 PageID #:331
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

voluntarily.

         H.    Employee gives the Company consent to record, videotape and photograph
Employee’s image and/or voice to be used for any internal or external business use (including but not
limited to the Company’s intranet accessible to all employees; on www.ajg.com or any related or
affiliated website or social media; in printed or online newsletters, articles, internal or client
promotional materials or other business communication; or the Company’s annual and periodic
reporting documents). Employee acknowledges that no special compensation will be to Employee
for such consent or use and that while the Company will take reasonable efforts to do so, Employee
may not be informed in advance of any such specific use.

Section 5.     Termination of Employment Relationship

        A.      The Company or the Employee may terminate Employee’s employment at any
time and for any reason upon twenty-one (21) days’ written notice (the “Notice Period”) by the
party wishing to terminate the employment; provided, however, that notice is not required from
the Company for any termination taking place: (1) during the Employee’s first ninety (90) days of
employment (or other applicable Introductory Period pursuant to Company policy); (2) during the
pendency of any Performance Improvement Plan issued pursuant to the Company’s performance
management policies; or (3) as a result of Employee’s commission of any act that would result
in immediate termination under the Company’s Performance Improvement and Management
policies then in effect.

         B.    The Company agrees to continue during the Notice Period the same compensation
and benefits Employee was receiving prior to the Notice Period. Alternatively, where termination
is initiated by the Company, the Company may elect to terminate employment immediately
and provide Employee, in lieu of the Notice Period, a lump sum payment equivalent to Employee’s
base pay for the Notice Period. The parties agree that once the Notice Period expires, the
Employee’s entitlement to compensation and benefits ends.

        C.      Employee agrees that during the Notice Period, he will cooperate fully with the
Company in all matters relating to the winding up of any pending work and/or the orderly
transfer to other Company employees of the accounts for which he has been responsible. Employee
specifically covenants that during the Notice Period (regardless of whether or not active
employment responsibilities are continuing) his duties to the Company, including Employee’s
fiduciary duty of loyalty, will continue in effect. Prior to the expiration of the Notice Period,
Employee promises to return to the Company all originals and copies (whether paper, digital
copies or otherwise) of literature, correspondence, memoranda, reports, summaries, manuals,
proposals, contracts and other documents of any kind which relate in any way to the business of
the Company, including specifically all materials which comprise or refer to the Company’s
Confidential Information. The Employee covenants that he will not retain any copy, facsimile or
note intended to memorialize any such data. Employee further understands and agrees that,
during or at the expiration of the Notice Period, and as part of his assigned job duties, he will
reasonably participate in any meeting the Company may convene to: (i) review the status of any
projects or work Employee has been assigned; (ii) review the status of accounts for which Employee
has been most recently responsible or associated; (iii) ensure that Employee has fully obtained his
entitlements under this Agreement and as provided by law; and/or (iv) confirm that Employee
understands the nature and scope of his post-employment obligations.

        D.     Upon the termination of Employee’s employment for any reason, Employee agrees

                                           Page 5 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 22 of 131 PageID #:332
                                                                                                     Revised 03.15.2021
                                                                                                        Std. Emp. Agmt.
                                                                                                 Not for use in California

that the Secretary of the Company may, as an irrevocable proxy and in Employee’s name and stead,
execute all documents and things which the Company deems necessary and desirable to effect
Employee’s resignation as an officer or director of any company (if applicable) included within the
definition of the Company as used in this Agreement.

        E.      Before accepting any new employment in the insurance, benefits or wealth
management industries, Employee promises to give his prospective new employer a copy of this
Agreement. Employee permits the Company to advise any prospective new employer of Employee
of the existence and terms of this Agreement and to provide it with a copy.

        F.      During employment and after the termination of same Employee agrees to remain
available to the Company and its legal counsel, voluntarily upon the Company’s request and
without the necessity of subpoena or court order, in connection with the Company’s
investigation, preparation, prosecution and/or defense of any actual or potential legal proceeding,
regulatory action, or internal matter. The Employee agrees to cooperate with the Company, to
provide any information reasonably within his recollection and to provide truthful testimony as
required. If Employee is called upon to provide cooperation after employment has been terminated,
the Company will reimburse Employee for reasonable out-of-pocket expenses actually incurred
under this section or, at the Company’s option, will advance Employee’s reasonable expenses
or incur them directly.

        G.      Employee agrees that while he is employed by the Company, and following the
termination of his employment, he will not make any false, defamatory or disparaging statements
about the Company, its officers or directors where such statements are calculated to, or reasonably
likely to cause material damage to the Company, its officers or directors.

Section 6.     The Company’s Right to Injunctive Relief; Attorneys’ Fees

         The Employee acknowledges that his services to the Company are of a unique character
which gives them a special value to the Company, the loss of which cannot reasonably or
adequately be compensated in damages in an action at law should the Employee breach, or
threaten to breach, any post-employment obligations under this Agreement. The Employee
realizes that: (a) it would be difficult to measure precisely the damages to the Company from any
breach by Employee of Sections 7 and/or 8 of this Agreement; (b) injury to the Company from
any such breach would be incalculable and irremediable; and (c) money damages would therefore
be an inadequate remedy for any such breach. Accordingly, in addition to any other remedy the
Company may have at law or in equity, the Company will be entitled to enforce this Agreement
by obtaining a temporary restraining order and preliminary and permanent injunctive relief to
restrain any such breach or further breach by Employee. Employee expressly waives the right to
contest whether a breach of Section 7 or 8 of this Agreement would result in irreparable or
permanent harm to the Company. In addition, Employee agrees that the Company may seek
injunctive relief when and if it elects to do so and any delay in seeking injunctive relief will not
prejudice or waive the Company’s right to do so. Employee expressly waives the right to assert
that the Company is not entitled to injunctive relief because of any delay in seeking such relief.
Employee agrees that he will be responsible for and pay the Company its reasonable attorneys’
fees and other expenses and costs incurred to enforce this Agreement if the Company is the
prevailing party. Employee further agrees that if Employee breaches any covenant contained in
Sections 7 and/or 8 of this Agreement, the Company will be entitled, in addition to all other legal or
equitable remedies it may have, to offset and withhold against any such loss, cost, liability or
expense any amount of any kind that may then be owing or payable by Company to Employee.

                                           Page 6 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 23 of 131 PageID #:333
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California


Section 7.    Trade Secrets and Confidential Information

      A.      Employee acknowledges that the Company’s business depends to a great degree
upon having information which is not generally known to others, and that the profitability of the
Company’s business requires that this information be kept confidential and proprietary within the
Company. Accordingly:

              (1)    Employee agrees that all intellectual property, such as computer programs,
                     systems or software, developed during his employment or as a result of his
                     employment is “work for hire” performed by Employee in the scope of his
                     employment. To the extent that any such intellectual property is
                     determined not to constitute “work for hire,” or if any rights in any such
                     intellectual property do not accrue to the Company as a “work for hire,”
                     Employee’s signature on this Agreement constitutes an assignment
                     (without any further consideration) to the Company of any and all
                     copyrights and other rights, title and interest in and to all such intellectual
                     property. The Company will retain all proprietary rights to any and all
                     such intellectual property. Employee agrees to execute any documents
                     necessary to perfect the Company’s interest in such intellectual property
                     upon the Company’s request.

              (2)     Employee has been advised by this writing and understands that the
                      foregoing provisions of Section 7(A)(1) do not apply to an item of
                      intellectual property for which no equipment, supplies, facilities or
                      Confidential Information of the Company was used and which was
                      developed entirely on Employee’s own time, unless: (a) the item of
                      intellectual property relates to the business of the Company or to the
                      Company’s actual or demonstrably anticipated research and development; or
                      (b) the item of intellectual property results from any work performed by
                      Employee for the Company.

         B.     Employee recognizes the highly sensitive nature of the Confidential Information
he will be given (and to which he will have access throughout his employment) and
acknowledges the Company’s legitimate interest in safeguarding it from disclosure. Accordingly,
in addition to the restrictions provided in Section 8 below, Employee agrees that:

              (1)     after his employment with the Company is terminated, he will not directly or
                      indirectly disclose, use or divulge Confidential Information that constitutes
                      a trade secret of the Company or make use of it for his own purpose or
                      the purpose of another; and

              (2)     for a period of two (2) years following the termination of his employment
                      with the Company, he will not divulge Confidential Information that does
                      not constitute a trade secret of the Company or make use of it for his own
                      purpose or the purpose of another.

              (3)     not all of the Company’s Confidential Information will rise to the level of a
                      trade secret of the Company; even so, all Confidential Information will be
                      entitled to the protections and restrictions provided in this Agreement.


                                          Page 7 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 24 of 131 PageID #:334
                                                                                                        Revised 03.15.2021
                                                                                                           Std. Emp. Agmt.
                                                                                                    Not for use in California

       C.      Employee understands and acknowledges that he will benefit significantly from
having access to and being given Confidential Information. Employee agrees that but for his
promise to safeguard Confidential Information and the further restrictive covenants contained in
Section 8 below, the Company would not agree to provide Employee with Confidential
Information. Further, Employee acknowledges that his breach of any restrictions provided in
Section 8 below will inevitably and necessarily lead to the prohibited disclosure or use of
Confidential Information.

      D.      Notwithstanding the generality of the foregoing restrictions in this Section 7,
employee acknowledges having reviewed the federal Defend Trade Secrets Act notice
appearing in Section 2, above.

Section 8.         Protection of the Company’s Protectable Interests

        A.    To protect the legitimate interests of the Company in, among other things, protecting
its Confidential Information, employment relationships, relationships with Company accounts and
goodwill, and in consideration for, among other things as provided in this Agreement, the
Company’s promise to give Employee certain Confidential Information, some of which constitutes
trade secrets of the Company which Employee did not previously have, and to enforce
Employee’s promise not to disclose such Confidential Information, Employee agrees to the
following restrictive covenants, which Employee acknowledges and agrees are reasonably
necessary and narrowly tailored to protect the Company’s legitimate business interests:

             (1)      For a period of twenty-four (24) months [or, if Employee is principally employed
                      in OREGON or ALABAMA, for a period of eighteen (18) months] following
                      the termination of Employee’s employment with the Company for any reason
                      whatsoever Employee will not, directly or indirectly, solicit, transfer, place,
                      market, accept, aid, counsel or consult in the placement, renewal, discontinuance
                      or replacement of any insurance (including self-insurance) by, or handle self-
                      insurance programs, insurance claims, risk management services, emergency
                      or disaster prevention or management services, or other insurance
                      administrative or service functions (“insurance services”) or provide employee
                      benefit brokerage, consulting, or administration services; in the area of group
                      insurance, defined benefit and defined contribution pension plans, individual life,
                      disability and capital accumulation products; investment advisory services,
                      wealth management, or group retirement services; defined benefit and defined
                      contribution pension services; human resources consulting services, including ,
                      without limitation, compensation consulting, compensation program design,
                      compensation and benefits surveys, and on-site human resources management;
                      and all other employee benefit areas the Company is involved with (“benefit
                      services”), for: (x) any Account of the Company for which Employee
                      performed any of the foregoing functions during any part of the two-year
                      period immediately preceding such termination (referred to hereinafter as
                      “Protected Accounts”), or (y) any Prospective Account of the Company (as
                      defined below).

             (2)      For UTAH Employees Only. Employee and Company agree that this paragraph
                      (A)(2) is necessary given the uniqueness of Utah law, and it will apply only for
                      such period of time, if any, Employee is principally employed in Utah during
                      which time the following activity restrictions will be substituted for those stated
                      in the foregoing paragraph (A)(1):
                                              Page 8 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 25 of 131 PageID #:335
                                                                                             Revised 03.15.2021
                                                                                                Std. Emp. Agmt.
                                                                                         Not for use in California

               (a)     for a period of one (1) year following the termination of
                       Employee’s employment with the Company for any reason
                       whatsoever, provide, service, transfer, place, market, accept, aid,
                       counsel or consult in the placement, renewal, discontinuance or
                       replacement of any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below); and

               (b)     for a period of two (2) years following the termination of Employee’s
                       employment with the Company for any reason whatsoever, directly or
                       indirectly solicit any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below).

      (3)   For OKLAHOMA Employees Only. Employee and Company agree that this
            paragraph (A)(3) is necessary given the uniqueness of Oklahoma law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Oklahoma during which time the following activity restrictions will be substituted
            for those stated in the foregoing paragraph (A)(1): For a period of two (2) years
            following the termination of Employee’s employment with the Company for
            any reason whatsoever, Employee will not engage in any act of solicitation with
            respect to any Protected Accounts (as defined above) which are established
            customers of the Company for the purpose of providing insurance services or
            benefit services.

      (4)   For LOUISIANA Employees Only. Employee and Company agree that this
            paragraph (A)(4) is necessary given the uniqueness of Louisiana law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Louisiana during which time the activity restrictions stated in the foregoing
            paragraph (A)(1) will apply only to activity undertaken by Employee in the
            following designated parishes, counties, municipalities or territories:

                      (Please reference Schedule A)

      (5)   The term “Account of the Company” as used in this paragraph will be
            construed broadly to include all users of insurance services or benefit
            services, including commercial and individual consumers, risk managers,
            carriers, agents and other insurance intermediaries who are customers of the
            Company on the date Employee’s employment with the Company terminates,
            or an insurance carrier offering any custom program for which the Company acts
            as managing general agent, managing general underwriter, program manager or
            underwriting agent, regardless of how the relationship is documented or
            characterized.

      (6)   If an Account of the Company is part of a group of companies which
            conducts business through more than one entity, division or operating unit,
            whether or not separately incorporated (a “Client Group”), the term “Account
            of the Company” as used herein will include products or services within any
            entity, division or operating unit of the Client Group where the same
            management group within the Client Group has the primary decision making

                                    Page 9 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 26 of 131 PageID #:336
                                                                                                      Revised 03.15.2021
                                                                                                         Std. Emp. Agmt.
                                                                                                  Not for use in California

                  authority with respect to contracting for services of the type rendered by the
                  Company. Notwithstanding anything herein to the contrary, the Employee will
                  be free to call on the retail agents of the Company, so long as there is no
                  contact or solicitation of any account, client, or Prospective Account of the
                  Company.

        B.      For the purposes of the covenants set forth in Sections 7 and 8 of this Agreement,
the parties acknowledge and agree that the following will apply:

           (1)    The term “Prospective Account” of the Company, means any entity (other than
                  a then-current account of the Company but including former Company
                  accounts) with respect to whom, at any time during the one year period preceding
                  the termination of Employee’s employment with the Company, Employee: (i)
                  submitted or assisted in the submission of a presentation or proposal of any
                  kind on behalf of the Company, (ii) had material contact or acquired
                  Confidential Information as a result of or in connection with Employee’s
                  employment with the Company, or (iii) incurred travel and/or entertainment
                  expenses which were reimbursed by the Company to Employee; but the term
                  Prospective Account does not include an account that is a customer of
                  Employee’s new employer (for the same type of insurance and/or benefits
                  services for which such customer was a Prospective Account of the Company)
                  at the time of termination of Employee’s employment with the Company.

           (2)    “Direct or indirect solicitation” of a Protected Account or Prospective
                  Account will expressly include, but not be limited to, the following (which is not
                  intended to be an exhaustive list of direct or indirect solicitation, but is meant to
                  provide examples of certain reasonably anticipated scenarios):

                      (a)   The sending of an announcement by Employee or his new employer
                            to any Protected Account or Prospective Account, the purpose of
                            which is to communicate that Employee has either formed his own
                            business enterprise or joined an existing business enterprise that will
                            offer products or services in any way competitive with the Company.

                      (b)   Initiating a communication or contact by Employee or his new
                            employer with any Protected Account or Prospective Account for the
                            purpose of notifying such Protected Account or Prospective Account
                            that Employee has either formed his own business enterprise or joined
                            an existing business enterprise that will offer products or services in
                            any way competitive with the Company.

                      (c)   Communication or contact by Employee or his new employer with any
                            Protected Account or Prospective Account (if such new employer’s
                            communication with a Prospective Account was facilitated by
                            Employee, directly or indirectly, or if Employee will or is intended to
                            benefit, directly or indirectly, by such communication) if the
                            communication in any way relates to insurance or benefits services;
                            provided, however, nothing herein is intended to limit communications
                            or contacts that are unrelated to insurance and/or benefits services.


                                           Page 10 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 27 of 131 PageID #:337
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

                      (d)   The facilitation by Employee, directly or indirectly, of any Protected
                            Accounts’ execution of a broker of record letter replacing the
                            Company as its broker of record.

        C.       Except as otherwise noted above in subparagraph (A)(4), Employee understands and
agrees that many of the accounts for which he will perform insurance and/or benefits services
while employed by the Company are national accounts and that Employee will perform insurance
and/or benefit services for Company accounts throughout the entire country. Employee agrees
and acknowledges that the geographic scope relating to the restrictions provided in this Section 8
will include the entire United States and that since the post-employment restrictions herein provided
are tied directly to Accounts of the Company for whom Employee performed insurance and/or
benefit services during the two-year period immediately preceding termination of his
employment and Prospective Accounts, this geographic limitation is reasonable. Moreover,
Employee acknowledges and agrees that the applicable restrictions contained throughout this
Section 8 do not prohibit Employee from competing ge ne r a lly with the Company or performing
insurance s e r vic e s or benefits services for potential clients throughout the entire world except
for Protected Accounts and Prospective Accounts, and that those restrictions are reasonable and
narrowly tailored to further the Company’s legitimate interest to protect its Confidential
Information, account relationships, and goodwill, and such restrictions will not unduly burden
Employee’s ability to earn a living after his employment with the Company is terminated.

        D.     If, within two (2) years of the termination of Employee’s employment the Employee
engages in, or joins a company or business enterprise engaged in, providing insurance and/or
benefits services, then the Company may advise any Protected Account and/or Prospective
Account of the existence and terms of this Agreement and may give them a copy of this Agreement.

        E.      Employee recognizes that employees of the Company are a valuable resource of
the Company. Accordingly, during Employee’s employment with the Company, Employee will
not, directly or indirectly solicit, induce, entice or recruit any employee of the Company to leave
their employment with the Company. In addition, for a period of two (2) years following the
termination of Employee’s employment with the Company for any reason whatsoever, Employee
will not directly or indirectly, solicit, induce or recruit any employee of the Company who has
been provided Confidential Information to leave the employ of the Company.

Section 9.     Assignment

         Except as provided in Section 10, this Agreement will not be affected by any merger or
consolidation or other reorganization of the Company and will be assignable to, binding upon,
and will inure to the benefit of the continuing entity or to any successor in interest to the
Company including, without limitation, any entity to which the Company sells business, assets
and/or accounts of any branch, business unit or profit center in which Employee is primarily
employed. This Agreement also will inure to the benefit of every affiliate company included in the
definition of “Company” under this Agreement. The Company may assign this Agreement to any
affiliate company of AJG in which case, except for purposes of Section 10 hereof, all
references to “the Company” and all rights of the Company will include and inure to the benefit of
that affiliate. Employee may not assign this Agreement or any obligations hereunder.

Section 10.    Release of Certain Obligations

       Notwithstanding anything herein to the contrary, the obligations of Employee stated in

                                           Page 11 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 28 of 131 PageID #:338
                                                                                                  Revised 03.15.2021
                                                                                                     Std. Emp. Agmt.
                                                                                              Not for use in California

Section 8 will become null and void and have no further effect immediately upon a Hostile
Change in Control of AJG as defined herein. The Company will send written notice to Employee
within ten (10) days of a Hostile Change in Control of AJG, notifying Employee that such event
has taken place. Failure of the Company to send such notice will not preclude the release of
Employee from the obligations contained in Section 8. These definitions apply to Section 10:

        A.     The term “Hostile Change in Control” means a transaction, event or election
constituting a Change in Control which was not approved by or, in an election, the directors
elected were not nominated by, at least two-thirds of the members of the Board of Directors of
AJG in office immediately prior to the Change in Control who have not died or become permanently
disabled.

        B.    The term “Change in Control” of AJG means and includes each and all of the
following occurrences:

              (1)    A Business Combination, unless:

                     (a)     the Business Combination is approved or authorized by the
                             affirmative vote of the holders of not less than 80% of the
                             outstanding shares of voting stock of AJG and the affirmative vote of
                             the holders of not less than 67% of the outstanding shares of the
                             voting stock held by shareholders other than Related Persons; or

                     (b)     the Continuing Directors of AJG by a two-thirds vote: (i) have
                             expressly approved in advance the acquisition of outstanding shares
                             of voting stock of the corporation that caused the Related Person
                             to become a Related Person; or (ii) have approved the Business
                             Combination prior to the Related Person involved in the Business
                             Combination having become a Related Person; or

                     (c)     the Business Combination is solely between AJG and another
                             corporation, 50% or more of the voting stock of which is owned by
                             AJG and none of which is owned by the Related Person; or

                     (d)    all of the following conditions are satisfied:

                                i. The cash or fair market value of the property, securities or
                                “other consideration to be received” per share by holders of
                                common stock in AJG in the Business Combination is not less
                                than the higher of:

                                (A)    the highest per share price (including brokerage
                                       commissions, transfer taxes and soliciting dealers’ fees)
                                       paid by the Related Person in acquiring any of its holdings
                                       of AJG’s common stock, or

                                (B)    an amount that bears that same percentage relationship
                                       to the market price of AJG’s common stock immediately
                                       prior to the announcement of such Business Combination
                                       as the highest per share price determined in (A) above
                                       bears to the market price of AJG’s common stock
                                         Page 12 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 29 of 131 PageID #:339
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

                                        immediately prior to the commencement of the
                                        acquisition of AJG’s voting stock that caused such Related
                                        Person to become a Related Person, or

                                (C)     an amount calculated by multiplying the earnings per
                                        share of AJG’s common stock for the four fiscal quarters
                                        immediately preceding the record date for determination
                                        of stockholders entitled to vote on such Business
                                        Combination by the price/earnings multiple of the
                                        Related Person as of the record date s customarily
                                        computed and reported in the financial press. Appropriate
                                        adjustments will be made with respect to these subsections
                                        (A), (B) and
                                        (C) for recapitalizations and for stock splits, stock
                                        dividends, and like distributions; and

                         ii.    A timely mailing will have been made to the stockholders of
                                AJG showing in a prominent place: (x) any recommendations
                                as to the advisability (or inadvisability) of the Business
                                Combination that the Continuing Directors or Outside Directors
                                may choose to state, if there are at the time any such directors;
                                and (y) the opinion of a reputable nationally recognized
                                investment banking or financial services firm as to the fairness
                                from the financial point of view of the terms of the Business
                                Combination to the stockholders of AJG other than the Related
                                Person (such firm to be engaged solely on behalf of such
                                other stockholders, to be paid a reasonable fee for its services by
                                AJG upon receipt of such opinion, to be a firm that has not
                                previously been significantly associated with the Related Person
                                and, if there are at the time any such directors, to be selected by a
                                majority of the Continuing Directors and Outside Directors).

              (2)     The acquisition of outstanding shares of AJG’s voting stock that causes an
                      individual, a corporation, partnership or other person or entity to become a
                      Related Person.

              (3)     Individuals who at the beginning of any period of three consecutive years
                      constitute the entire Board of Directors of the Company will for any reason
                      other than death or permanent disability during such period cease to
                      constitute a majority thereof.

              (4)     A change in control of a nature that would be required to be reported in
                      response to Item 6(e) of Schedule 14A of Regulation 14A promulgated
                      under the Securities Act of 1934, as amended.

        C.    The term “Business Combination” will mean: (i) any merger or consolidation of
AJG with or into a Related Person; (ii) any sale, lease, exchange, transfer or other dispositio n,
including without limitation a mortgage or any other security device, of all or any Substantial
Part of the assets of the Company to a Related Person; (iii) any merger or consolidation of a
Related Person with or into AJG; (iv) any sale, lease, exchange, transfer or other disposition of

                                         Page 13 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 30 of 131 PageID #:340
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California

all or any Substantial Part of the assets of a Related Person to the Company; (v) the issuance of
any securities of the Company to a Related Person; (vi) the acquisition by the Company of any
securities issued by a Related Person; (vii) any reclassification of securities, recapitalization or
other transaction designed to decrease the number of holders of AJG’s voting securities remaining,
if there is a Related Person; and (viii) any agreement, contract or other arrangement providing for
any of the transactions described in this definition of Business Combination.

       D.       The term “Related Person” will mean and include any individual, corporation,
partnership or other person or entity which, together with their “Affiliates” and “Associates” (as
defined as of November 1, 1983, in Rule 12b-2 under the Securities Exchange Act of 1934),
“Beneficially Owns” (as defined as of November 1, 1983, in Rule 13d-3 under the Securities
Exchange Act of 1934) in the aggregate 20% or more of the outstanding shares of the voting
stock of AJG, and any Affiliate or Associate of any such individual, corporation, partnership or
other person or entity; provided that Related Person will not include any person who beneficially
owned 20% or more of the outstanding shares of the voting stock of AJG on November 1, 1983.
Without limitation, any shares of voting stock of AJG that any Related Person has the right to
acquire pursuant to any agreement, or upon exercise of conversion rights, warrants or options, or
otherwise, will be deemed beneficially owned by the Related Person.

        E.      The term “Substantial Part” will mean more than 30% of the fair market value of
the total assets of the corporation in question, as of the end of its most recent fiscal year ending
prior to the time the determination is being made.

        F.     The term “other consideration to be received” will include, without limitatio n,
capital stock of AJG retained by its existing public stockholders in the event of a Business
Combination in which AJG is the surviving corporation.

        G.      The term “Continuing Director” will mean a director who was a member of the
board of directors of AJG immediately prior to the time that the Related Person involved in a
Business Combination became a Related Person, and the term “Outside Director” will mean a
director who is not: (a) an officer or employee of AJG or any relative of an officer or employee; or
(b) a Related Person or an officer, director, employee, Associate or Affiliate of a Related
Person, or a relative of any of the foregoing.

Section 11.   General

        A.     The captions in this Agreement are for reference only and have no independent
force or effect. If a caption is inconsistent with any part of the Agreement, the caption will be
disregarded.

         B.     NOTE: If Employee is also party to an arbitration agreement with the Company,
this Subsection B is superseded and replaced entirely by the terms of such arbitration
agreement. This Agreement will be governed by and construed in accordance with the laws of the
State in which Employee resides, without giving effect to any of its conflict of law principles. The
parties agree that the chosen state has a material and significant interest in questions concerning
this Agreement and performance thereunder. The parties agree that the sole and exclusive
venue of any dispute between the parties with respect to this Agreement, or any matters
related thereto, will be a state trial or federal district court located within the federal judicial
district in which Employee resides (“Chosen Venue”). Employee agrees that it is neither unfair nor
unreasonable for the Chosen Venue to be selected as the exclusive venue for any dispute

                                          Page 14 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 31 of 131 PageID #:341
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

between the parties with respect to this Agreement or any matter related thereto and that he will
suffer no undue burden by having to litigate any such disputes in the Chosen Venue. Moreover,
Employee promises not to initiate suit against the Company in any venue other than the above-
selected exclusive Chosen Venue with respect to any dispute between the parties relating to
this Agreement. Employee waives and agrees not to interpose any argument that the Chosen Venue
is an inconvenient forum for litigation.

         C.     Waiver of Jury Trial. NOTE: If Employee is also party to an arbitration
agreement with the Company, this Subsection C is superseded and replaced entirely by the
terms of such arbitration agreement. Because of the time and expense involved in the docketing
of, preparation for and participation in a jury trial, the parties desire that any dispute arising
hereunder will be decided by a judge rather than a jury. Therefore, the parties hereby knowingly,
voluntarily and intentionally waive the right either may have to a trial by jury in respect to any
litigation based on this Agreement or arising out of, under or in conjunction with Employee’s
employment by the Company, this Agreement, or any course of conduct, course of dealing,
verbal or written statement or the actions of either party.

        D.     If Employee is an existing employee of the Company as of the Effective Date and is
subject to any existing employment agreement with the Company, whether an Executive
Agreement, Associate Agreement, or otherwise (collectively “Existing Employee Agreement”),
this Agreement will be considered an Amended and Restated Employee Agreement of such
Existing Employee Agreement. If Employee is an employee of a business enterprise acquired or to
be acquired by the Company as of the Effective Date and is subject to any existing employment
agreement with the acquired business enterprise, then this Agreement will be considered an
Amended and Restated Employment Agreement only if Employee’s employment agreement with
the acquired business enterprise is assigned to the Company.

        E.     This Agreement contains the entire agreement of the parties with respect to the
subject matters covered hereby. The parties agree that all prior negotiations and communications are
of no force or effect. Further, the parties agree that there are no oral agreements, understandings,
undertakings or promises of the parties relating to the subject matters covered by this Agreement.

          F.    Subject to Section 11(G) below, this Agreement may not be amended, altered or
modified without the prior written consent of both parties, and such instrument will acknowledge
that it is an amendment or modification of this Agreement. Waiver of any term or condition of this
Agreement will not be construed as a waiver of any subsequent breach or failure of the same term
or condition, or any other term or condition. Any waiver must be in writing. No amendment,
alteration, modification or waiver may be signed by Employee on behalf of the Company, its
assignees, successors or assigns.

        G.      To the extent that any of the terms set forth in this Agreement or any word,
phrase, clause or sentence is found to be illegal or unenforceable for any reason, it is the
intention of the parties that such word, phrase, clause or sentence will be modified or deleted by a
court of competent jurisdiction so as to afford the Company the fullest protection commensurate
with making this Agreement, as modified, legal and enforceable under applicable laws, and the
balance of this Agreement will not be affected thereby, the balance being construed as severable and
independent.

         H.     All notices given hereunder will be in writing and will be sent by registered or
certified mail or delivered by hand and, if intended for the Company, addressed to it or delivered to

                                           Page 15 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 32 of 131 PageID #:342
                                                                                                 Revised 03.15.2021
                                                                                                    Std. Emp. Agmt.
                                                                                             Not for use in California

its principal office to the attention of the Secretary of the Company. If intended for Employee,
notices will be delivered personally or addressed (if sent by mail) to Employee’s then current
residence address as shown on the Company’s records, or to such other address as Employee
directs in a written notice to the Company. All notices will be deemed to be given on the date
received at the address of the addressee or, if delivered personally, on the date delivered.

        I.        The use of male pronouns throughout this Agreement includes the female gender.
The words “including” or “include” are not to be interpreted as terms of limitation or exclusion,
but rather of illustration.

         J.        This Agreement may be executed in counterparts, each of which is deemed an
original.

          IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
   day and year provided below their respective signatures. The parties agree that the Effective
   Date of this Agreement will be BBBBBBBBBBBBBBBBBB
                                  5/17/21            .


  ARTHUR J. GALLAGHER & CO.,                           EMPLOYEE
  on behalf of itself and its subsidiaries,
  divisions and affiliated and related
                                                           Sara Arnold
  companies
                                                       Employee Signature
                                                           Sara Arnold
  By:
          Authorized Corporate Signature               Printed Name
         Corporate Officer Signature
         &RUSRUDWH9LFH3UHVLGHQWDQG
  Title: &KLHI+XPDQ5HVRXUFHV2IILFHU+XPDQ5HVRXUFHV
          5/6/21                                                 5/6/21
  Date:                                                Date:




 FOR PAYROLL USE ONLY:
                   5079846
 Employee ID:




                                           Page 16 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 33 of 131 PageID #:343                Revised 03.15.2021
                                                                                                     Std. Emp. Agmt.
                                                                                              Not for use in California

                                               Schedule A
                                      For LOUISIANA Employees Only

 (FOR MANAGERS OF LOUISIANA EMPLOYEES ONLY: Please fully circle designated areas
  as define in Section 8 (4).)

Louisiana Parishes:

Acadia                   East Baton Rouge           Madison                Saint Landry
Allen                    East Carroll               Morehouse              Saint Martin
Ascension                East Feliciana             Natchitoches           Saint Mary
Assumption               Evangeline                 Orleans                Saint Tammany
Avoyelles                Franklin                   Ouachita               Tangipahoa
Beauregard               Grant                      Plaquemines            Tensas
Bienville                Iberia                     Pointe Coupee          Terrebonne
Bossier                  Iberville                  Rapides                Union
Caddo                    Jackson                    Red River              Vermilion
Calcasieu                Jefferson Davis            Richland               Vernon
Caldwell                 Jefferson                  Sabine                 Washington
Cameron                  La Salle                   Saint Bernard          Webster
Catahoula                Lafayette                  Saint Charles          West Baton Rouge
Claiborne                Lafourche                  Saint Helena           West Carroll
Concordia                Lincoln                    Saint James            West Feliciana
De Soto                  Livingston                 St. John the Baptist   Winn
Mississippi:

Hancock                  Hinds                      Madison                Pontotoc
Harrison                 Jackson                    Pearl River            Rankin
Texas:

Dallas                   Harris                     Neuces
Hardin                   Jefferson                  Orange
Arkansas:

Blytheville              Fort Smith                 Texarkana              West Memphis
Forrest City             Jonesboro                  Trumann
Tennessee:

Chattanooga              Knoxville                  Morristown
Jackson                  Lafollette                 Nashville
Kingsport                Lexington                  Shelbyville
Kentucky:

Bowling Green            Hokinsville                Newport                Pikeville
Covington                Lexington                  Paducah                Owensboro
0DQDJHU6HOHFWHG$UHDV




                                             Page 17 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 34 of 131 PageID #:344




                    Exhibit H3
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 35 of 131 PageID #:345
                                                                                                     Revised 03.15.2021
                                                                                                        Std. Emp. Agmt.
                                                                                                 Not for use in California




                                  EMPLOYEE AGREEMENT

        This Employee Agreement (“Agreement”) is made and entered into as of the Effective
Date (as defined below) by and between BBBBBBBBBBBBBBBBBBB
                                                  Taylor Gunnells        (hereinafter referred to
as “Employee”) and Arthur J. Gallagher & Co., a Delaware corporation with its principal place
of business in Rolling Meadows, Illinois and its subsidiaries, divisions and affiliated and related
companies (hereinafter referred to collectively as “AJG” or the “Company”).

                                            RECITALS

       WHEREAS, Employee has been hired, or is being retained, as a valued key employee
who with the execution of this Agreement will be provided and will continue to be provided
during his employment with valuable confidential and proprietary and trade secret information of
the Company and will have significant managerial, production, administrative, technical and/or
account servicing responsibilities; and

        WHEREAS, the parties hereto acknowledge that the Company has a legitimate interest
in retaining the services of Employee and accepting the covenants herein provided in order to
protect its confidential and proprietary and trade secret information and to preserve the
Company’s goodwill, customer relationships, employment relationships and value of the
business to be handled by Employee as an employee of the Company;

        NOW THEREFORE, in consideration of these recitals and the mutual covenants and
promises set forth below, and for other good and valuable consideration including, but not
limited to, employment with the Company, receipt of the compensation and benefits attendant to
such employment, receipt and the ability to utilize the Company’s confidential, proprietary and
trade secret information, and/or being provided or allowed access to and contact with certain
Company accounts, all of which the parties acknowledge as sufficient consideration for this
Agreement, the parties agree as follows:

Section 1.     Employment

        The Company agrees to employ Employee and Employee agrees to serve the Company
and perform the duties set forth below beginning on the Effective Date and continuing thereafter
until employment is terminated by either party. The Employee’s employment is “at will” and is
terminable by either party as provided below (except in jurisdictions where “at will” employment
is not recognized). The Employee’s continued employment with the Company is subject to the
terms and conditions of this Agreement.

Section 2.     Duties

        A.     Employee agrees to devote his full energies, abilities, attention and business time
to the performance of his employment obligations and responsibilities. Employee agrees that he
will not engage in any activity which conflicts or interferes with, or in any way compromises, his
performance of those obligations and responsibilities. Employee will comply with all applicable
Company policies and procedures. Employee will not, either during or outside normal business
hours, directly or indirectly sell, solicit, service, manage or engage in any aspect of the insurance,


                                          Page 1 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 36 of 131 PageID #:346
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California




benefits or wealth management businesses for or on behalf of any person or entity other than the
Company, nor engage in any activity that is not in the best interests of the Company.

         B.     Employee recognizes that, by virtue of his employment by the Company and to
assist him in the solicitation, production, management, and/or servicing of accounts, he will be
provided and granted otherwise prohibited access to certain confidential and proprietary data and
trade secret information of the Company which is not known either to its competitors or within
the industry generally and which has independent economic value to the Company, and is subject to
reasonable efforts that are reasonable under the circumstances to maintain its secrecy. This
information (collectively hereinafter “Confidential Information”) may include, but is not limited to:
data relating to the Company’s unique marketing and servicing programs, procedures and
techniques; investment, wealth management and retirement plan consulting, variable annuities,
and fund investment business and related products and services; underwriting criteria for general
programs; business, management and human resources/personnel strategies and practices; the
criteria and formulae used by the Company in pricing its insurance and benefits products and
claims management, loss control and information management services; the structure and pricing of
special insurance packages negotiated with underwriters; highly sensitive information about the
Company’s agreements and relationships with underwriters; sales data contained in various tools
and resources (including, without limitation, Salesforce.com); lists of prospects; the identity,
authority and responsibilities of key contacts at Company accounts and prospects; the composition
and organization of Company accounts’ businesses; the peculiar risks inherent in the operations
of Company accounts; highly sensitive details concerning the structure, conditions and extent of
existing insurance coverages of Company accounts; policy expiration dates, premium amounts and
commission rates relating to Company accounts; risk management service arrangements relating to
Company accounts; loss histories relating to Company accounts; candidate and placement lists
relating to Company accounts; the Company’s personnel and payroll data including details of
salary, bonus, commission and other compensation arrangements; and other data showing the
particularized insurance or consulting requirements and preferences of Company accounts.
Employee understands that his job duties may include assisting in the development of information
and data that is Confidential Information belonging to the Company. Confidential Information
may be stored in files, documents, dailies, daily reports, renewal information, customer lists,
accounting records, products purchased by customers, customer account and credit data, referral
sources, computer programs and software, customer comments, Company written manuals and
marketing and financial analysis, plans, research and programs. Employee recognizes that this
Confidential Information constitutes valuable property of the Company, developed over a long
period of time and at substantial expense and that the Company takes reasonable efforts to
keep this Confidential Information confidential and made available only to those employees who
need access to such Confidential Information to perform their job functions for the Company.
Employee promises to safeguard such Confidential Information, and agrees that he will not, at any
time during his employment by the Company, divulge such Confidential Information or make use
of it for his own purposes or the purposes of another.

      Notwithstanding this Section 2, or the generality of any prohibition relating to
      Confidential Information appearing in this Agreement, Employee
      acknowledges the following important exceptions under state or federal law:


      1.      Employee is not prohibited from reporting possible violations of federal

                                           Page 2 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 37 of 131 PageID #:347
                                                                                                      Revised 03.15.2021
                                                                                                         Std. Emp. Agmt.
                                                                                                  Not for use in California

             law or regulation to any governmental agency or entity including,
             without limitation, the Department of Justice, the Securities and
             Exchange Commission, the Congress, and any agency Inspector General,
             or making other disclosures that are protected under the whistleblower
             provisions of federal law or regulation.
     2.      The Federal Defend Trade Secrets Act of 2016 provides the following:
             IMMUNITY FROM LIABILITY FOR CONFIDENTIAL DISCLOSURE
             OF A TRADE SECRET TO THE GOVERNMENT OR IN A COURT
             FILING.
             (1)     IMMUNITY. An individual shall not be held criminally or civilly
             liable under any Federal or State trade secret law for the disclosure of a trade
             secret that:
                    (A)     is made
                            (i)     in confidence to a Federal, State, or local government
                                    official, either directly or indirectly, or to an attorney;
                                    and
                            (ii)    solely for the purpose of reporting or investigating a
                                    suspected violation of law; or
                    (B)     is made in a complaint or other document filed in a lawsuit or
                            other proceeding, if such filing is made under seal.
              (2)     USE     OF       TRADE        SECRET         INFORMATION          IN
             ANTIRETALIATION LAWSUIT. An individual who files a lawsuit for
             retaliation by an employer for reporting a suspected violation of law may
             disclose the trade secret to the attorney of the individual and use the trade
             secret information in the court proceeding, if the individual:
                    (A)     files any document containing the trade secret under seal; and
                    (B)     does not disclose the trade secret, except pursuant to court
                            order.

         C.      The Company agrees that, during Employee’s employment with the Company, it
will: (i) provide Employee with certain Confidential Information the Employee did not previously
possess including, without limitation, Confidential Information relating to certain of the
Company’s accounts; (ii) provide Employee with information and access to the Company’s
proprietary insurance and risk management programs; (iii) provide Employee with access to the
Company’s specialized business operations relating to particular aspects of the insurance agency
and risk management business; (iv) maintain specialized training programs to which Employee
will qualify and apply; and (v) provide such other assistance which may reasonably aid Employee
in performing sales, management, technical and/or servicing duties.

        D.     Employee acknowledges and understands that an essential element of the
Company’s business is the development and maintenance of personal contacts and relationships
with its accounts, and that Employee may be provided and allowed access to certain of the
Company’s accounts for the purpose of establishing personal contact and relationships with such
accounts for the benefit of the Company. The Employee acknowledges that the Company
invests considerable time, money, and resources necessary to develop and maintain a relationship

                                           Page 3 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 38 of 131 PageID #:348
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California

between its employees and a client, and in that regard, the Company will pay Employee’s salary,
reimburse reasonably necessary business expenses, provide Employee with certain Confidential
Information, and provide the resources necessary to service the Company accounts managed or
serviced by Employee by making available legal advice, accounting support, advertising and
other corporate services. Moreover, while the Employee recognizes that some Company accounts
may develop greater identification with the Employee than the Company itself, those accounts
remain, at all times and for all purposes, accounts of the Company. By entering this Agreement,
Employee disclaims any interest in such Company accounts.

Section 3.    Compensation and Benefits

        Employee will be entitled to the compensation and benefits agreed to by Employee and
the Company and as noted from time to time in Employee’s official personnel file and records
retained in the Company’s corporate headquarters, which file is incorporated by reference herein to
the extent necessary for evidencing the compensation and benefits to which Employee and the
Company have agreed. The compensation and benefits to which Employee is entitled as of the
Effective Date is noted in Employee’s official personnel file. Employee’s compensation and
benefits is subject to periodic change at the Company’s discretion.

Section 4.    Representations

       Employee represents and warrants to the Company that:

         A.       Employee is not, and will not become, a party to any agreement, contract,
arrangement or understanding, whether of employment or otherwise, that would in any way
restrict him from undertaking or performing his duties in accordance with this Agreement or that
limits his ability to be employed by the Company under this Agreement;

      B.     Employment by the Company will not violate the terms of any policy of any prior
employer of Employee regarding competition, solicitation or confidentiality;

        C.      Employment by the Company in the position contemplated by this Agreement
will not require him to improperly use any trade secrets or confidential or proprietary information
of any prior employer, or any other person or entity for whom he has performed services;

       D.     Employee has not misused, and will not misuse, any confidential or proprietary
information obtained from any prior employer or any other person or entity;

        E.      Employee has not improperly taken or retained in any form whatsoever, or otherwise
retained access to, any confidential or proprietary information of any prior employer or any other
person or entity; and

        F.       Employee is in compliance with any non-competition and/or non-solicitation
agreements, or other restrictive covenant obligations in place between him and any former
employer and will continue to be in compliance, regardless of whether he believes such agreements
and/or restrictive covenants are enforceable or not.

        G.     Employee was provided a reasonable period of time, not less than fourteen (14)
days, to review and consider this Agreement prior to signing it and accepting employment with
the Company. If Employee elects to sign this Agreement sooner than fourteen (14) days prior to the
commencement of employment, he represents and acknowledges that he chose to do so
                                          Page 4 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 39 of 131 PageID #:349
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

voluntarily.

         H.    Employee gives the Company consent to record, videotape and photograph
Employee’s image and/or voice to be used for any internal or external business use (including but not
limited to the Company’s intranet accessible to all employees; on www.ajg.com or any related or
affiliated website or social media; in printed or online newsletters, articles, internal or client
promotional materials or other business communication; or the Company’s annual and periodic
reporting documents). Employee acknowledges that no special compensation will be to Employee
for such consent or use and that while the Company will take reasonable efforts to do so, Employee
may not be informed in advance of any such specific use.

Section 5.     Termination of Employment Relationship

        A.      The Company or the Employee may terminate Employee’s employment at any
time and for any reason upon twenty-one (21) days’ written notice (the “Notice Period”) by the
party wishing to terminate the employment; provided, however, that notice is not required from
the Company for any termination taking place: (1) during the Employee’s first ninety (90) days of
employment (or other applicable Introductory Period pursuant to Company policy); (2) during the
pendency of any Performance Improvement Plan issued pursuant to the Company’s performance
management policies; or (3) as a result of Employee’s commission of any act that would result
in immediate termination under the Company’s Performance Improvement and Management
policies then in effect.

         B.    The Company agrees to continue during the Notice Period the same compensation
and benefits Employee was receiving prior to the Notice Period. Alternatively, where termination
is initiated by the Company, the Company may elect to terminate employment immediately
and provide Employee, in lieu of the Notice Period, a lump sum payment equivalent to Employee’s
base pay for the Notice Period. The parties agree that once the Notice Period expires, the
Employee’s entitlement to compensation and benefits ends.

        C.      Employee agrees that during the Notice Period, he will cooperate fully with the
Company in all matters relating to the winding up of any pending work and/or the orderly
transfer to other Company employees of the accounts for which he has been responsible. Employee
specifically covenants that during the Notice Period (regardless of whether or not active
employment responsibilities are continuing) his duties to the Company, including Employee’s
fiduciary duty of loyalty, will continue in effect. Prior to the expiration of the Notice Period,
Employee promises to return to the Company all originals and copies (whether paper, digital
copies or otherwise) of literature, correspondence, memoranda, reports, summaries, manuals,
proposals, contracts and other documents of any kind which relate in any way to the business of
the Company, including specifically all materials which comprise or refer to the Company’s
Confidential Information. The Employee covenants that he will not retain any copy, facsimile or
note intended to memorialize any such data. Employee further understands and agrees that,
during or at the expiration of the Notice Period, and as part of his assigned job duties, he will
reasonably participate in any meeting the Company may convene to: (i) review the status of any
projects or work Employee has been assigned; (ii) review the status of accounts for which Employee
has been most recently responsible or associated; (iii) ensure that Employee has fully obtained his
entitlements under this Agreement and as provided by law; and/or (iv) confirm that Employee
understands the nature and scope of his post-employment obligations.

        D.     Upon the termination of Employee’s employment for any reason, Employee agrees

                                           Page 5 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 40 of 131 PageID #:350
                                                                                                     Revised 03.15.2021
                                                                                                        Std. Emp. Agmt.
                                                                                                 Not for use in California

that the Secretary of the Company may, as an irrevocable proxy and in Employee’s name and stead,
execute all documents and things which the Company deems necessary and desirable to effect
Employee’s resignation as an officer or director of any company (if applicable) included within the
definition of the Company as used in this Agreement.

        E.      Before accepting any new employment in the insurance, benefits or wealth
management industries, Employee promises to give his prospective new employer a copy of this
Agreement. Employee permits the Company to advise any prospective new employer of Employee
of the existence and terms of this Agreement and to provide it with a copy.

        F.      During employment and after the termination of same Employee agrees to remain
available to the Company and its legal counsel, voluntarily upon the Company’s request and
without the necessity of subpoena or court order, in connection with the Company’s
investigation, preparation, prosecution and/or defense of any actual or potential legal proceeding,
regulatory action, or internal matter. The Employee agrees to cooperate with the Company, to
provide any information reasonably within his recollection and to provide truthful testimony as
required. If Employee is called upon to provide cooperation after employment has been terminated,
the Company will reimburse Employee for reasonable out-of-pocket expenses actually incurred
under this section or, at the Company’s option, will advance Employee’s reasonable expenses
or incur them directly.

        G.      Employee agrees that while he is employed by the Company, and following the
termination of his employment, he will not make any false, defamatory or disparaging statements
about the Company, its officers or directors where such statements are calculated to, or reasonably
likely to cause material damage to the Company, its officers or directors.

Section 6.     The Company’s Right to Injunctive Relief; Attorneys’ Fees

         The Employee acknowledges that his services to the Company are of a unique character
which gives them a special value to the Company, the loss of which cannot reasonably or
adequately be compensated in damages in an action at law should the Employee breach, or
threaten to breach, any post-employment obligations under this Agreement. The Employee
realizes that: (a) it would be difficult to measure precisely the damages to the Company from any
breach by Employee of Sections 7 and/or 8 of this Agreement; (b) injury to the Company from
any such breach would be incalculable and irremediable; and (c) money damages would therefore
be an inadequate remedy for any such breach. Accordingly, in addition to any other remedy the
Company may have at law or in equity, the Company will be entitled to enforce this Agreement
by obtaining a temporary restraining order and preliminary and permanent injunctive relief to
restrain any such breach or further breach by Employee. Employee expressly waives the right to
contest whether a breach of Section 7 or 8 of this Agreement would result in irreparable or
permanent harm to the Company. In addition, Employee agrees that the Company may seek
injunctive relief when and if it elects to do so and any delay in seeking injunctive relief will not
prejudice or waive the Company’s right to do so. Employee expressly waives the right to assert
that the Company is not entitled to injunctive relief because of any delay in seeking such relief.
Employee agrees that he will be responsible for and pay the Company its reasonable attorneys’
fees and other expenses and costs incurred to enforce this Agreement if the Company is the
prevailing party. Employee further agrees that if Employee breaches any covenant contained in
Sections 7 and/or 8 of this Agreement, the Company will be entitled, in addition to all other legal or
equitable remedies it may have, to offset and withhold against any such loss, cost, liability or
expense any amount of any kind that may then be owing or payable by Company to Employee.

                                           Page 6 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 41 of 131 PageID #:351
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California


Section 7.    Trade Secrets and Confidential Information

      A.      Employee acknowledges that the Company’s business depends to a great degree
upon having information which is not generally known to others, and that the profitability of the
Company’s business requires that this information be kept confidential and proprietary within the
Company. Accordingly:

              (1)    Employee agrees that all intellectual property, such as computer programs,
                     systems or software, developed during his employment or as a result of his
                     employment is “work for hire” performed by Employee in the scope of his
                     employment. To the extent that any such intellectual property is
                     determined not to constitute “work for hire,” or if any rights in any such
                     intellectual property do not accrue to the Company as a “work for hire,”
                     Employee’s signature on this Agreement constitutes an assignment
                     (without any further consideration) to the Company of any and all
                     copyrights and other rights, title and interest in and to all such intellectual
                     property. The Company will retain all proprietary rights to any and all
                     such intellectual property. Employee agrees to execute any documents
                     necessary to perfect the Company’s interest in such intellectual property
                     upon the Company’s request.

              (2)     Employee has been advised by this writing and understands that the
                      foregoing provisions of Section 7(A)(1) do not apply to an item of
                      intellectual property for which no equipment, supplies, facilities or
                      Confidential Information of the Company was used and which was
                      developed entirely on Employee’s own time, unless: (a) the item of
                      intellectual property relates to the business of the Company or to the
                      Company’s actual or demonstrably anticipated research and development; or
                      (b) the item of intellectual property results from any work performed by
                      Employee for the Company.

         B.     Employee recognizes the highly sensitive nature of the Confidential Information
he will be given (and to which he will have access throughout his employment) and
acknowledges the Company’s legitimate interest in safeguarding it from disclosure. Accordingly,
in addition to the restrictions provided in Section 8 below, Employee agrees that:

              (1)     after his employment with the Company is terminated, he will not directly or
                      indirectly disclose, use or divulge Confidential Information that constitutes
                      a trade secret of the Company or make use of it for his own purpose or
                      the purpose of another; and

              (2)     for a period of two (2) years following the termination of his employment
                      with the Company, he will not divulge Confidential Information that does
                      not constitute a trade secret of the Company or make use of it for his own
                      purpose or the purpose of another.

              (3)     not all of the Company’s Confidential Information will rise to the level of a
                      trade secret of the Company; even so, all Confidential Information will be
                      entitled to the protections and restrictions provided in this Agreement.


                                          Page 7 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 42 of 131 PageID #:352
                                                                                                        Revised 03.15.2021
                                                                                                           Std. Emp. Agmt.
                                                                                                    Not for use in California

       C.      Employee understands and acknowledges that he will benefit significantly from
having access to and being given Confidential Information. Employee agrees that but for his
promise to safeguard Confidential Information and the further restrictive covenants contained in
Section 8 below, the Company would not agree to provide Employee with Confidential
Information. Further, Employee acknowledges that his breach of any restrictions provided in
Section 8 below will inevitably and necessarily lead to the prohibited disclosure or use of
Confidential Information.

      D.      Notwithstanding the generality of the foregoing restrictions in this Section 7,
employee acknowledges having reviewed the federal Defend Trade Secrets Act notice
appearing in Section 2, above.

Section 8.         Protection of the Company’s Protectable Interests

        A.    To protect the legitimate interests of the Company in, among other things, protecting
its Confidential Information, employment relationships, relationships with Company accounts and
goodwill, and in consideration for, among other things as provided in this Agreement, the
Company’s promise to give Employee certain Confidential Information, some of which constitutes
trade secrets of the Company which Employee did not previously have, and to enforce
Employee’s promise not to disclose such Confidential Information, Employee agrees to the
following restrictive covenants, which Employee acknowledges and agrees are reasonably
necessary and narrowly tailored to protect the Company’s legitimate business interests:

             (1)      For a period of twenty-four (24) months [or, if Employee is principally employed
                      in OREGON or ALABAMA, for a period of eighteen (18) months] following
                      the termination of Employee’s employment with the Company for any reason
                      whatsoever Employee will not, directly or indirectly, solicit, transfer, place,
                      market, accept, aid, counsel or consult in the placement, renewal, discontinuance
                      or replacement of any insurance (including self-insurance) by, or handle self-
                      insurance programs, insurance claims, risk management services, emergency
                      or disaster prevention or management services, or other insurance
                      administrative or service functions (“insurance services”) or provide employee
                      benefit brokerage, consulting, or administration services; in the area of group
                      insurance, defined benefit and defined contribution pension plans, individual life,
                      disability and capital accumulation products; investment advisory services,
                      wealth management, or group retirement services; defined benefit and defined
                      contribution pension services; human resources consulting services, including ,
                      without limitation, compensation consulting, compensation program design,
                      compensation and benefits surveys, and on-site human resources management;
                      and all other employee benefit areas the Company is involved with (“benefit
                      services”), for: (x) any Account of the Company for which Employee
                      performed any of the foregoing functions during any part of the two-year
                      period immediately preceding such termination (referred to hereinafter as
                      “Protected Accounts”), or (y) any Prospective Account of the Company (as
                      defined below).

             (2)      For UTAH Employees Only. Employee and Company agree that this paragraph
                      (A)(2) is necessary given the uniqueness of Utah law, and it will apply only for
                      such period of time, if any, Employee is principally employed in Utah during
                      which time the following activity restrictions will be substituted for those stated
                      in the foregoing paragraph (A)(1):
                                              Page 8 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 43 of 131 PageID #:353
                                                                                             Revised 03.15.2021
                                                                                                Std. Emp. Agmt.
                                                                                         Not for use in California

               (a)     for a period of one (1) year following the termination of
                       Employee’s employment with the Company for any reason
                       whatsoever, provide, service, transfer, place, market, accept, aid,
                       counsel or consult in the placement, renewal, discontinuance or
                       replacement of any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below); and

               (b)     for a period of two (2) years following the termination of Employee’s
                       employment with the Company for any reason whatsoever, directly or
                       indirectly solicit any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below).

      (3)   For OKLAHOMA Employees Only. Employee and Company agree that this
            paragraph (A)(3) is necessary given the uniqueness of Oklahoma law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Oklahoma during which time the following activity restrictions will be substituted
            for those stated in the foregoing paragraph (A)(1): For a period of two (2) years
            following the termination of Employee’s employment with the Company for
            any reason whatsoever, Employee will not engage in any act of solicitation with
            respect to any Protected Accounts (as defined above) which are established
            customers of the Company for the purpose of providing insurance services or
            benefit services.

      (4)   For LOUISIANA Employees Only. Employee and Company agree that this
            paragraph (A)(4) is necessary given the uniqueness of Louisiana law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Louisiana during which time the activity restrictions stated in the foregoing
            paragraph (A)(1) will apply only to activity undertaken by Employee in the
            following designated parishes, counties, municipalities or territories:

                      (Please reference Schedule A)

      (5)   The term “Account of the Company” as used in this paragraph will be
            construed broadly to include all users of insurance services or benefit
            services, including commercial and individual consumers, risk managers,
            carriers, agents and other insurance intermediaries who are customers of the
            Company on the date Employee’s employment with the Company terminates,
            or an insurance carrier offering any custom program for which the Company acts
            as managing general agent, managing general underwriter, program manager or
            underwriting agent, regardless of how the relationship is documented or
            characterized.

      (6)   If an Account of the Company is part of a group of companies which
            conducts business through more than one entity, division or operating unit,
            whether or not separately incorporated (a “Client Group”), the term “Account
            of the Company” as used herein will include products or services within any
            entity, division or operating unit of the Client Group where the same
            management group within the Client Group has the primary decision making

                                    Page 9 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 44 of 131 PageID #:354
                                                                                                      Revised 03.15.2021
                                                                                                         Std. Emp. Agmt.
                                                                                                  Not for use in California

                  authority with respect to contracting for services of the type rendered by the
                  Company. Notwithstanding anything herein to the contrary, the Employee will
                  be free to call on the retail agents of the Company, so long as there is no
                  contact or solicitation of any account, client, or Prospective Account of the
                  Company.

        B.      For the purposes of the covenants set forth in Sections 7 and 8 of this Agreement,
the parties acknowledge and agree that the following will apply:

           (1)    The term “Prospective Account” of the Company, means any entity (other than
                  a then-current account of the Company but including former Company
                  accounts) with respect to whom, at any time during the one year period preceding
                  the termination of Employee’s employment with the Company, Employee: (i)
                  submitted or assisted in the submission of a presentation or proposal of any
                  kind on behalf of the Company, (ii) had material contact or acquired
                  Confidential Information as a result of or in connection with Employee’s
                  employment with the Company, or (iii) incurred travel and/or entertainment
                  expenses which were reimbursed by the Company to Employee; but the term
                  Prospective Account does not include an account that is a customer of
                  Employee’s new employer (for the same type of insurance and/or benefits
                  services for which such customer was a Prospective Account of the Company)
                  at the time of termination of Employee’s employment with the Company.

           (2)    “Direct or indirect solicitation” of a Protected Account or Prospective
                  Account will expressly include, but not be limited to, the following (which is not
                  intended to be an exhaustive list of direct or indirect solicitation, but is meant to
                  provide examples of certain reasonably anticipated scenarios):

                      (a)   The sending of an announcement by Employee or his new employer
                            to any Protected Account or Prospective Account, the purpose of
                            which is to communicate that Employee has either formed his own
                            business enterprise or joined an existing business enterprise that will
                            offer products or services in any way competitive with the Company.

                      (b)   Initiating a communication or contact by Employee or his new
                            employer with any Protected Account or Prospective Account for the
                            purpose of notifying such Protected Account or Prospective Account
                            that Employee has either formed his own business enterprise or joined
                            an existing business enterprise that will offer products or services in
                            any way competitive with the Company.

                      (c)   Communication or contact by Employee or his new employer with any
                            Protected Account or Prospective Account (if such new employer’s
                            communication with a Prospective Account was facilitated by
                            Employee, directly or indirectly, or if Employee will or is intended to
                            benefit, directly or indirectly, by such communication) if the
                            communication in any way relates to insurance or benefits services;
                            provided, however, nothing herein is intended to limit communications
                            or contacts that are unrelated to insurance and/or benefits services.


                                           Page 10 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 45 of 131 PageID #:355
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

                      (d)   The facilitation by Employee, directly or indirectly, of any Protected
                            Accounts’ execution of a broker of record letter replacing the
                            Company as its broker of record.

        C.       Except as otherwise noted above in subparagraph (A)(4), Employee understands and
agrees that many of the accounts for which he will perform insurance and/or benefits services
while employed by the Company are national accounts and that Employee will perform insurance
and/or benefit services for Company accounts throughout the entire country. Employee agrees
and acknowledges that the geographic scope relating to the restrictions provided in this Section 8
will include the entire United States and that since the post-employment restrictions herein provided
are tied directly to Accounts of the Company for whom Employee performed insurance and/or
benefit services during the two-year period immediately preceding termination of his
employment and Prospective Accounts, this geographic limitation is reasonable. Moreover,
Employee acknowledges and agrees that the applicable restrictions contained throughout this
Section 8 do not prohibit Employee from competing ge ne r a lly with the Company or performing
insurance s e r vic e s or benefits services for potential clients throughout the entire world except
for Protected Accounts and Prospective Accounts, and that those restrictions are reasonable and
narrowly tailored to further the Company’s legitimate interest to protect its Confidential
Information, account relationships, and goodwill, and such restrictions will not unduly burden
Employee’s ability to earn a living after his employment with the Company is terminated.

        D.     If, within two (2) years of the termination of Employee’s employment the Employee
engages in, or joins a company or business enterprise engaged in, providing insurance and/or
benefits services, then the Company may advise any Protected Account and/or Prospective
Account of the existence and terms of this Agreement and may give them a copy of this Agreement.

        E.      Employee recognizes that employees of the Company are a valuable resource of
the Company. Accordingly, during Employee’s employment with the Company, Employee will
not, directly or indirectly solicit, induce, entice or recruit any employee of the Company to leave
their employment with the Company. In addition, for a period of two (2) years following the
termination of Employee’s employment with the Company for any reason whatsoever, Employee
will not directly or indirectly, solicit, induce or recruit any employee of the Company who has
been provided Confidential Information to leave the employ of the Company.

Section 9.     Assignment

         Except as provided in Section 10, this Agreement will not be affected by any merger or
consolidation or other reorganization of the Company and will be assignable to, binding upon,
and will inure to the benefit of the continuing entity or to any successor in interest to the
Company including, without limitation, any entity to which the Company sells business, assets
and/or accounts of any branch, business unit or profit center in which Employee is primarily
employed. This Agreement also will inure to the benefit of every affiliate company included in the
definition of “Company” under this Agreement. The Company may assign this Agreement to any
affiliate company of AJG in which case, except for purposes of Section 10 hereof, all
references to “the Company” and all rights of the Company will include and inure to the benefit of
that affiliate. Employee may not assign this Agreement or any obligations hereunder.

Section 10.    Release of Certain Obligations

       Notwithstanding anything herein to the contrary, the obligations of Employee stated in

                                           Page 11 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 46 of 131 PageID #:356
                                                                                                  Revised 03.15.2021
                                                                                                     Std. Emp. Agmt.
                                                                                              Not for use in California

Section 8 will become null and void and have no further effect immediately upon a Hostile
Change in Control of AJG as defined herein. The Company will send written notice to Employee
within ten (10) days of a Hostile Change in Control of AJG, notifying Employee that such event
has taken place. Failure of the Company to send such notice will not preclude the release of
Employee from the obligations contained in Section 8. These definitions apply to Section 10:

        A.     The term “Hostile Change in Control” means a transaction, event or election
constituting a Change in Control which was not approved by or, in an election, the directors
elected were not nominated by, at least two-thirds of the members of the Board of Directors of
AJG in office immediately prior to the Change in Control who have not died or become permanently
disabled.

        B.    The term “Change in Control” of AJG means and includes each and all of the
following occurrences:

              (1)    A Business Combination, unless:

                     (a)     the Business Combination is approved or authorized by the
                             affirmative vote of the holders of not less than 80% of the
                             outstanding shares of voting stock of AJG and the affirmative vote of
                             the holders of not less than 67% of the outstanding shares of the
                             voting stock held by shareholders other than Related Persons; or

                     (b)     the Continuing Directors of AJG by a two-thirds vote: (i) have
                             expressly approved in advance the acquisition of outstanding shares
                             of voting stock of the corporation that caused the Related Person
                             to become a Related Person; or (ii) have approved the Business
                             Combination prior to the Related Person involved in the Business
                             Combination having become a Related Person; or

                     (c)     the Business Combination is solely between AJG and another
                             corporation, 50% or more of the voting stock of which is owned by
                             AJG and none of which is owned by the Related Person; or

                     (d)    all of the following conditions are satisfied:

                                i. The cash or fair market value of the property, securities or
                                “other consideration to be received” per share by holders of
                                common stock in AJG in the Business Combination is not less
                                than the higher of:

                                (A)    the highest per share price (including brokerage
                                       commissions, transfer taxes and soliciting dealers’ fees)
                                       paid by the Related Person in acquiring any of its holdings
                                       of AJG’s common stock, or

                                (B)    an amount that bears that same percentage relationship
                                       to the market price of AJG’s common stock immediately
                                       prior to the announcement of such Business Combination
                                       as the highest per share price determined in (A) above
                                       bears to the market price of AJG’s common stock
                                         Page 12 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 47 of 131 PageID #:357
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

                                        immediately prior to the commencement of the
                                        acquisition of AJG’s voting stock that caused such Related
                                        Person to become a Related Person, or

                                (C)     an amount calculated by multiplying the earnings per
                                        share of AJG’s common stock for the four fiscal quarters
                                        immediately preceding the record date for determination
                                        of stockholders entitled to vote on such Business
                                        Combination by the price/earnings multiple of the
                                        Related Person as of the record date s customarily
                                        computed and reported in the financial press. Appropriate
                                        adjustments will be made with respect to these subsections
                                        (A), (B) and
                                        (C) for recapitalizations and for stock splits, stock
                                        dividends, and like distributions; and

                         ii.    A timely mailing will have been made to the stockholders of
                                AJG showing in a prominent place: (x) any recommendations
                                as to the advisability (or inadvisability) of the Business
                                Combination that the Continuing Directors or Outside Directors
                                may choose to state, if there are at the time any such directors;
                                and (y) the opinion of a reputable nationally recognized
                                investment banking or financial services firm as to the fairness
                                from the financial point of view of the terms of the Business
                                Combination to the stockholders of AJG other than the Related
                                Person (such firm to be engaged solely on behalf of such
                                other stockholders, to be paid a reasonable fee for its services by
                                AJG upon receipt of such opinion, to be a firm that has not
                                previously been significantly associated with the Related Person
                                and, if there are at the time any such directors, to be selected by a
                                majority of the Continuing Directors and Outside Directors).

              (2)     The acquisition of outstanding shares of AJG’s voting stock that causes an
                      individual, a corporation, partnership or other person or entity to become a
                      Related Person.

              (3)     Individuals who at the beginning of any period of three consecutive years
                      constitute the entire Board of Directors of the Company will for any reason
                      other than death or permanent disability during such period cease to
                      constitute a majority thereof.

              (4)     A change in control of a nature that would be required to be reported in
                      response to Item 6(e) of Schedule 14A of Regulation 14A promulgated
                      under the Securities Act of 1934, as amended.

        C.    The term “Business Combination” will mean: (i) any merger or consolidation of
AJG with or into a Related Person; (ii) any sale, lease, exchange, transfer or other dispositio n,
including without limitation a mortgage or any other security device, of all or any Substantial
Part of the assets of the Company to a Related Person; (iii) any merger or consolidation of a
Related Person with or into AJG; (iv) any sale, lease, exchange, transfer or other disposition of

                                         Page 13 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 48 of 131 PageID #:358
                                                                                                   Revised 03.15.2021
                                                                                                      Std. Emp. Agmt.
                                                                                               Not for use in California

all or any Substantial Part of the assets of a Related Person to the Company; (v) the issuance of
any securities of the Company to a Related Person; (vi) the acquisition by the Company of any
securities issued by a Related Person; (vii) any reclassification of securities, recapitalization or
other transaction designed to decrease the number of holders of AJG’s voting securities remaining,
if there is a Related Person; and (viii) any agreement, contract or other arrangement providing for
any of the transactions described in this definition of Business Combination.

       D.       The term “Related Person” will mean and include any individual, corporation,
partnership or other person or entity which, together with their “Affiliates” and “Associates” (as
defined as of November 1, 1983, in Rule 12b-2 under the Securities Exchange Act of 1934),
“Beneficially Owns” (as defined as of November 1, 1983, in Rule 13d-3 under the Securities
Exchange Act of 1934) in the aggregate 20% or more of the outstanding shares of the voting
stock of AJG, and any Affiliate or Associate of any such individual, corporation, partnership or
other person or entity; provided that Related Person will not include any person who beneficially
owned 20% or more of the outstanding shares of the voting stock of AJG on November 1, 1983.
Without limitation, any shares of voting stock of AJG that any Related Person has the right to
acquire pursuant to any agreement, or upon exercise of conversion rights, warrants or options, or
otherwise, will be deemed beneficially owned by the Related Person.

        E.      The term “Substantial Part” will mean more than 30% of the fair market value of
the total assets of the corporation in question, as of the end of its most recent fiscal year ending
prior to the time the determination is being made.

        F.     The term “other consideration to be received” will include, without limitatio n,
capital stock of AJG retained by its existing public stockholders in the event of a Business
Combination in which AJG is the surviving corporation.

        G.      The term “Continuing Director” will mean a director who was a member of the
board of directors of AJG immediately prior to the time that the Related Person involved in a
Business Combination became a Related Person, and the term “Outside Director” will mean a
director who is not: (a) an officer or employee of AJG or any relative of an officer or employee; or
(b) a Related Person or an officer, director, employee, Associate or Affiliate of a Related
Person, or a relative of any of the foregoing.

Section 11.   General

        A.     The captions in this Agreement are for reference only and have no independent
force or effect. If a caption is inconsistent with any part of the Agreement, the caption will be
disregarded.

         B.     NOTE: If Employee is also party to an arbitration agreement with the Company,
this Subsection B is superseded and replaced entirely by the terms of such arbitration
agreement. This Agreement will be governed by and construed in accordance with the laws of the
State in which Employee resides, without giving effect to any of its conflict of law principles. The
parties agree that the chosen state has a material and significant interest in questions concerning
this Agreement and performance thereunder. The parties agree that the sole and exclusive
venue of any dispute between the parties with respect to this Agreement, or any matters
related thereto, will be a state trial or federal district court located within the federal judicial
district in which Employee resides (“Chosen Venue”). Employee agrees that it is neither unfair nor
unreasonable for the Chosen Venue to be selected as the exclusive venue for any dispute

                                          Page 14 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 49 of 131 PageID #:359
                                                                                                    Revised 03.15.2021
                                                                                                       Std. Emp. Agmt.
                                                                                                Not for use in California

between the parties with respect to this Agreement or any matter related thereto and that he will
suffer no undue burden by having to litigate any such disputes in the Chosen Venue. Moreover,
Employee promises not to initiate suit against the Company in any venue other than the above-
selected exclusive Chosen Venue with respect to any dispute between the parties relating to
this Agreement. Employee waives and agrees not to interpose any argument that the Chosen Venue
is an inconvenient forum for litigation.

         C.     Waiver of Jury Trial. NOTE: If Employee is also party to an arbitration
agreement with the Company, this Subsection C is superseded and replaced entirely by the
terms of such arbitration agreement. Because of the time and expense involved in the docketing
of, preparation for and participation in a jury trial, the parties desire that any dispute arising
hereunder will be decided by a judge rather than a jury. Therefore, the parties hereby knowingly,
voluntarily and intentionally waive the right either may have to a trial by jury in respect to any
litigation based on this Agreement or arising out of, under or in conjunction with Employee’s
employment by the Company, this Agreement, or any course of conduct, course of dealing,
verbal or written statement or the actions of either party.

        D.     If Employee is an existing employee of the Company as of the Effective Date and is
subject to any existing employment agreement with the Company, whether an Executive
Agreement, Associate Agreement, or otherwise (collectively “Existing Employee Agreement”),
this Agreement will be considered an Amended and Restated Employee Agreement of such
Existing Employee Agreement. If Employee is an employee of a business enterprise acquired or to
be acquired by the Company as of the Effective Date and is subject to any existing employment
agreement with the acquired business enterprise, then this Agreement will be considered an
Amended and Restated Employment Agreement only if Employee’s employment agreement with
the acquired business enterprise is assigned to the Company.

        E.     This Agreement contains the entire agreement of the parties with respect to the
subject matters covered hereby. The parties agree that all prior negotiations and communications are
of no force or effect. Further, the parties agree that there are no oral agreements, understandings,
undertakings or promises of the parties relating to the subject matters covered by this Agreement.

          F.    Subject to Section 11(G) below, this Agreement may not be amended, altered or
modified without the prior written consent of both parties, and such instrument will acknowledge
that it is an amendment or modification of this Agreement. Waiver of any term or condition of this
Agreement will not be construed as a waiver of any subsequent breach or failure of the same term
or condition, or any other term or condition. Any waiver must be in writing. No amendment,
alteration, modification or waiver may be signed by Employee on behalf of the Company, its
assignees, successors or assigns.

        G.      To the extent that any of the terms set forth in this Agreement or any word,
phrase, clause or sentence is found to be illegal or unenforceable for any reason, it is the
intention of the parties that such word, phrase, clause or sentence will be modified or deleted by a
court of competent jurisdiction so as to afford the Company the fullest protection commensurate
with making this Agreement, as modified, legal and enforceable under applicable laws, and the
balance of this Agreement will not be affected thereby, the balance being construed as severable and
independent.

         H.     All notices given hereunder will be in writing and will be sent by registered or
certified mail or delivered by hand and, if intended for the Company, addressed to it or delivered to

                                           Page 15 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 50 of 131 PageID #:360
                                                                                                 Revised 03.15.2021
                                                                                                    Std. Emp. Agmt.
                                                                                             Not for use in California

its principal office to the attention of the Secretary of the Company. If intended for Employee,
notices will be delivered personally or addressed (if sent by mail) to Employee’s then current
residence address as shown on the Company’s records, or to such other address as Employee
directs in a written notice to the Company. All notices will be deemed to be given on the date
received at the address of the addressee or, if delivered personally, on the date delivered.

        I.        The use of male pronouns throughout this Agreement includes the female gender.
The words “including” or “include” are not to be interpreted as terms of limitation or exclusion,
but rather of illustration.

         J.         This Agreement may be executed in counterparts, each of which is deemed an
original.

          IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
   day and year provided below their respective signatures. The parties agree that the Effective
   Date of this Agreement will be BBBBBBBBBBBBBBBBBB
                                  10/11/21           .


  ARTHUR J. GALLAGHER & CO.,                            EMPLOYEE
  on behalf of itself and its subsidiaries,
  divisions and affiliated and related
                                                            Taylor Gunnells
  companies
                                                        Employee Signature
                                                            Taylor Gunnells
  By:
          Authorized Corporate Signature                Printed Name
         Corporate Officer Signature
         &RUSRUDWH9LFH3UHVLGHQWDQG
  Title: &KLHI+XPDQ5HVRXUFHV2IILFHU+XPDQ5HVRXUFHV
          10/7/21                                                 10/7/21
  Date:                                                 Date:




 FOR PAYROLL USE ONLY:
                5093620
 Employee ID:




                                            Page 16 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 51 of 131 PageID #:361                Revised 03.15.2021
                                                                                                     Std. Emp. Agmt.
                                                                                              Not for use in California

                                               Schedule A
                                      For LOUISIANA Employees Only

 (FOR MANAGERS OF LOUISIANA EMPLOYEES ONLY: Please fully circle designated areas
  as define in Section 8 (4).)

Louisiana Parishes:

Acadia                   East Baton Rouge           Madison                Saint Landry
Allen                    East Carroll               Morehouse              Saint Martin
Ascension                East Feliciana             Natchitoches           Saint Mary
Assumption               Evangeline                 Orleans                Saint Tammany
Avoyelles                Franklin                   Ouachita               Tangipahoa
Beauregard               Grant                      Plaquemines            Tensas
Bienville                Iberia                     Pointe Coupee          Terrebonne
Bossier                  Iberville                  Rapides                Union
Caddo                    Jackson                    Red River              Vermilion
Calcasieu                Jefferson Davis            Richland               Vernon
Caldwell                 Jefferson                  Sabine                 Washington
Cameron                  La Salle                   Saint Bernard          Webster
Catahoula                Lafayette                  Saint Charles          West Baton Rouge
Claiborne                Lafourche                  Saint Helena           West Carroll
Concordia                Lincoln                    Saint James            West Feliciana
De Soto                  Livingston                 St. John the Baptist   Winn
Mississippi:

Hancock                  Hinds                      Madison                Pontotoc
Harrison                 Jackson                    Pearl River            Rankin
Texas:

Dallas                   Harris                     Neuces
Hardin                   Jefferson                  Orange
Arkansas:

Blytheville              Fort Smith                 Texarkana              West Memphis
Forrest City             Jonesboro                  Trumann
Tennessee:

Chattanooga              Knoxville                  Morristown
Jackson                  Lafollette                 Nashville
Kingsport                Lexington                  Shelbyville
Kentucky:

Bowling Green            Hokinsville                Newport                Pikeville
Covington                Lexington                  Paducah                Owensboro
0DQDJHU6HOHFWHG$UHDV




                                             Page 17 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 52 of 131 PageID #:362




                    Exhibit H4
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 53 of 131 PageID #:363
                                                                                               Revised 11.15.2017
                                                                                                 Std. Emp. Agmt.
                                                                                          Not for use in California



                                  EMPLOYEE AGREEMENT

       This Employee Agreement (“Agreement”) is made and entered into as of the Effective
Date (as defined below) by and between Melissa Haggerty              (hereinafter referred to as
“Employee”) and Arthur J. Gallagher & Co., a Delaware corporation with its principal place of
business in 5ROOLQJ 0HDGRZV, Illinois and its subsidiaries, divisions and affiliated and related
companies (hereinafter referred to collectively as “AJG” or the “Company”).

                                            RECITALS

       WHEREAS, Employee has been hired, or is being retained, as a valued key employee
who with the execution of this Agreement will be provided and will continue to be provided
during his employment with valuable confidential and proprietary and trade secret information of
the Company and will have significant managerial, production, administrative, technical and/or
account servicing responsibilities; and

        WHEREAS, the parties hereto acknowledge that the Company has a legitimate interest
in retaining the services of Employee and accepting the covenants herein provided in order to
protect its confidential and proprietary and trade secret information and to preserve the
Company’s goodwill, customer relationships, employment relationships and value of the
business to be handled by Employee as an employee of the Company;

        NOW THEREFORE, in consideration of these recitals and the mutual covenants and
promises set forth below, and for other good and valuable consideration including, but not
limited to, employment with the Company, receipt of the compensation and benefits attendant to
such employment, receipt and the ability to utilize the Company’s confidential, proprietary and
trade secret information, and/or being provided or allowed access to and contact with certain
Company accounts, all of which the parties acknowledge as sufficient consideration for this
Agreement, the parties agree as follows:

Section 1.     Employment.

        The Company agrees to employ Employee and Employee agrees to serve the Company
and perform the duties set forth below beginning on the Effective Date and continuing thereafter
until employment is terminated by either party. The Employee’s employment is “at will” and is
terminable by either party as provided below (except in jurisdictions where “at will” employment
is not recognized). The Employee’s continued employment with the Company is subject to the
terms and conditions of this Agreement.

Section 2.     Duties.

        A.      Employee agrees to devote his full energies, abilities, attention and business time
to the performance of his employment obligations and responsibilities. Employee agrees that he
will not engage in any activity which conflicts or interferes with, or in any way compromises, his
performance of those obligations and responsibilities. Employee will comply with all applicable
Company policies and procedures. Employee will not, either during or outside normal business
hours, directly or indirectly sell, solicit, service, manage or engage in any aspect of the insurance,



                                          Page 1 of 17
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 54 of 131 PageID #:364
                                                                                           Revised 11.15.2017
                                                                                             Std. Emp. Agmt.
                                                                                      Not for use in California




benefits or wealth management businesses for or on behalf of any person or entity other than the
Company, nor engage in any activity that is not in the best interests of the Company.

        B.      Employee recognizes that, by virtue of his employment by the Company and to
assist him in the solicitation, production, management, and/or servicing of accounts, he will be
provided and granted otherwise prohibited access to certain confidential and proprietary data and
trade secret information of the Company which is not known either to its competitors or within
the industry generally and which has independent economic value to the Company, and is subject
to reasonable efforts that are reasonable under the circumstances to maintain its secrecy. This
information (collectively hereinafter “Confidential Information”) may include, but is not limited
to: data relating to the Company’s unique marketing and servicing programs, procedures and
techniques; investment, wealth management and retirement plan consulting, variable annuities,
and fund investment business and related products and services; underwriting criteria for general
programs; business, management and human resources/personnel strategies and practices; the
criteria and formulae used by the Company in pricing its insurance and benefits products and
claims management, loss control and information management services; the structure and pricing
of special insurance packages negotiated with underwriters; highly sensitive information about
the Company’s agreements and relationships with underwriters; sales data contained in various
tools and resources (including, without limitation, Salesforce.com); lists of prospects; the
identity, authority and responsibilities of key contacts at Company accounts and prospects; the
composition and organization of Company accounts’ businesses; the peculiar risks inherent in
the operations of Company accounts; highly sensitive details concerning the structure, conditions
and extent of existing insurance coverages of Company accounts; policy expiration dates,
premium amounts and commission rates relating to Company accounts; risk management service
arrangements relating to Company accounts; loss histories relating to Company accounts;
candidate and placement lists relating to Company accounts; the Company’s personnel and
payroll data including details of salary, bonus, commission and other compensation
arrangements; and other data showing the particularized insurance or consulting requirements
and preferences of Company accounts. Employee understands that his job duties may include
assisting in the development of information and data that is Confidential Information belonging
to the Company. Confidential Information may be stored in files, documents, dailies, daily
reports, renewal information, customer lists, accounting records, products purchased by
customers, customer account and credit data, referral sources, computer programs and software,
customer comments, Company written manuals and marketing and financial analysis, plans,
research and programs. Employee recognizes that this Confidential Information constitutes
valuable property of the Company, developed over a long period of time and at substantial
expense and that the Company takes reasonable efforts to keep this Confidential Information
confidential and made available only to those employees who need access to such Confidential
Information to perform their job functions for the Company. Employee promises to safeguard
such Confidential Information, and agrees that he will not, at any time during his employment by
the Company, divulge such Confidential Information or make use of it for his own purposes or
the purposes of another.

      Notwithstanding this Section 2 (NOTE: this varies by agreement – Section 2 (AJG
      EAs), Paragraph 5 (GB EAs), Section 3 (NDA)), or the generality of any prohibition
      relating to Confidential Information appearing in this Agreement, Employee
      acknowledges the following important exceptions under state or federal law:


                                        Page 2 of 17
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 55 of 131 PageID #:365
                                                                                             Revised 11.15.2017
                                                                                               Std. Emp. Agmt.
                                                                                        Not for use in California

      1.     Employee is not prohibited from reporting possible violations of
             federal law or regulation to any governmental agency or entity
             including, without limitation, the Department of Justice, the Securities
             and Exchange Commission, the Congress, and any agency Inspector
             General, or making other disclosures that are protected under the
             whistleblower provisions of federal law or regulation.
      2.     The Federal Defend Trade Secrets Act of 2016 provides the following:
             IMMUNITY FROM LIABILITY FOR CONFIDENTIAL DISCLOSURE
             OF A TRADE SECRET TO THE GOVERNMENT OR IN A COURT
             FILING.
             (1)     IMMUNITY. An individual shall not be held criminally or civilly
             liable under any Federal or State trade secret law for the disclosure of a
             trade secret that:
                     (A)    is made
                            (i)     in confidence to a Federal, State, or local
                                    government official, either directly or indirectly, or
                                    to an attorney; and
                            (ii)    solely for the purpose of reporting or investigating a
                                    suspected violation of law; or
                     (B)    is made in a complaint or other document filed in a lawsuit
                            or other proceeding, if such filing is made under seal.
              (2)     USE     OF      TRADE         SECRET        INFORMATION           IN
             ANTIRETALIATION LAWSUIT. An individual who files a lawsuit for
             retaliation by an employer for reporting a suspected violation of law may
             disclose the trade secret to the attorney of the individual and use the trade
             secret information in the court proceeding, if the individual:
                     (A)    files any document containing the trade secret under seal;
                            and
                     (B)    does not disclose the trade secret, except pursuant to court
                            order.

        C.     The Company agrees that, during Employee’s employment with the Company, it
will: (i) provide Employee with certain Confidential Information the Employee did not
previously possess including, without limitation, Confidential Information relating to certain of
the Company’s accounts; (ii) provide Employee with information and access to the Company’s
proprietary insurance and risk management programs; (iii) provide Employee with access to the
Company’s specialized business operations relating to particular aspects of the insurance agency
and risk management business; (iv) maintain specialized training programs to which Employee
will qualify and apply; and (v) provide such other assistance which may reasonably aid
Employee in performing sales, management, technical and/or servicing duties.

        D.    Employee acknowledges and understands that an essential element of the
Company’s business is the development and maintenance of personal contacts and relationships
with its accounts, and that Employee may be provided and allowed access to certain of the
Company’s accounts for the purpose of establishing personal contact and relationships with such
accounts for the benefit of the Company. The Employee acknowledges that the Company
                                         Page 3 of 17
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 56 of 131 PageID #:366
                                                                                          Revised 11.15.2017
                                                                                            Std. Emp. Agmt.
                                                                                     Not for use in California

invests considerable time, money, and resources necessary to develop and maintain a relationship
between its employees and a client, and in that regard, the Company will pay Employee’s salary,
reimburse reasonably necessary business expenses, provide Employee with certain Confidential
Information, and provide the resources necessary to service the Company accounts managed or
serviced by Employee by making available legal advice, accounting support, advertising and
other corporate services. Moreover, while the Employee recognizes that some Company
accounts may develop greater identification with the Employee than the Company itself, those
accounts remain, at all times and for all purposes, accounts of the Company. By entering this
Agreement, Employee disclaims any interest in such Company accounts.

Section 3.    Compensation and Benefits.

        Employee will be entitled to the compensation and benefits agreed to by Employee and
the Company and as noted from time to time in Employee’s official personnel file and records
retained in the Company’s corporate headquarters, which file is incorporated by reference herein
to the extent necessary for evidencing the compensation and benefits to which Employee and the
Company have agreed. The compensation and benefits to which Employee is entitled as of the
Effective Date is noted in Employee’s official personnel file. Employee’s compensation and
benefits is subject to periodic change at the Company’s discretion.

Section 4.    Representations.

       Employee represents and warrants to the Company that:

         A.      Employee is not, and will not become, a party to any agreement, contract,
arrangement or understanding, whether of employment or otherwise, that would in any way
restrict him from undertaking or performing his duties in accordance with this Agreement or that
limits his ability to be employed by the Company under this Agreement;




                                        Page 4 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 57 of 131 PageID #:367
                                                                                               Revised 11.15.2017
                                                                                                 Std. Emp. Agmt.
                                                                                          Not for use in California




      B.     Employment by the Company will not violate the terms of any policy of any prior
employer of Employee regarding competition, solicitation or confidentiality;

        C.    Employment by the Company in the position contemplated by this Agreement
will not require him to improperly use any trade secrets or confidential or proprietary
information of any prior employer, or any other person or entity for whom he has performed
services;

       D.     Employee has not misused, and will not misuse, any confidential or proprietary
information obtained from any prior employer or any other person or entity;

       E.      Employee has not improperly taken or retained in any form whatsoever, or
otherwise retained access to, any confidential or proprietary information of any prior employer or
any other person or entity; and

      F.      Employee is in compliance with any non-competition and/or non-solicitation
agreements, or other restrictive covenant obligations in place between him and any former
employer and will continue to be in compliance, regardless of whether he believes such
agreements and/or restrictive covenants are enforceable or not.

        G.     Employee was provided a reasonable period of time, not less than fourteen (14)
days, to review and consider this Agreement prior to signing it and accepting employment with
the Company. If Employee elects to sign this Agreement sooner than fourteen (14) days prior to
the commencement of employment, he represents and acknowledges that he chose to do so
voluntarily.

        H.      Employee gives the Company consent to record, videotape and photograph
Employee’s image and/or voice to be used for any internal or external business use (including but
not limited to the Company’s intranet accessible to all employees; on www.ajg.com or any related
or affiliated website or social media; in printed or online newsletters, articles, internal or client
promotional materials or other business communication; or the Company’s annual and periodic
reporting documents). Employee acknowledges that no special compensation will be to Employee
for such consent or use and that while the Company will take reasonable efforts to do so, Employee
may not be informed in advance of any such specific use.

Section 5.     Termination of Employment Relationship.

       A.     The Company or the Employee may terminate Employee’s employment at any
time and for any reason upon twenty-one (21) days’ written notice (the “Notice Period”) by the
party wishing to terminate the employment; provided, however, that notice is not required from
the Company for any termination taking place: (1) during the Employee’s first ninety (90) days
of employment (or other applicable Introductory Period pursuant to Company policy); (2) during
the pendency of any Performance Improvement Plan issued pursuant to the Company’s
performance management policies; or (3) as a result of Employee’s commission of any act that
would result in immediate termination under the Company’s Performance Improvement and
Management policies then in effect.

      B.     The Company agrees to continue during the Notice Period the same compensation
and benefits Employee was receiving prior to the Notice Period. Alternatively, where
                                           Page 5 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 58 of 131 PageID #:368
                                                                                             Revised 11.15.2017
                                                                                               Std. Emp. Agmt.
                                                                                        Not for use in California

termination is initiated by the Company, the Company may elect to terminate employment
immediately and provide Employee, in lieu of the Notice Period, a lump sum payment equivalent
to Employee’s base pay for the Notice Period. The parties agree that once the Notice Period
expires, the Employee’s entitlement to compensation and benefits ends.

        C.      Employee agrees that during the Notice Period, he will cooperate fully with the
Company in all matters relating to the winding up of any pending work and/or the orderly
transfer to other Company employees of the accounts for which he has been responsible.
Employee specifically covenants that during the Notice Period (regardless of whether or not
active employment responsibilities are continuing) his duties to the Company, including
Employee’s fiduciary duty of loyalty, will continue in effect. Prior to the expiration of the
Notice Period, Employee promises to return to the Company all originals and copies (whether
paper, digital copies or otherwise) of literature, correspondence, memoranda, reports, summaries,
manuals, proposals, contracts and other documents of any kind which relate in any way to the
business of the Company, including specifically all materials which comprise or refer to the
Company’s Confidential Information. The Employee covenants that he will not retain any copy,
facsimile or note intended to memorialize any such data. Employee further understands and
agrees that, during or at the expiration of the Notice Period, and as part of his assigned job
duties, he will reasonably participate in any meeting the Company may convene to: (i) review the
status of any projects or work Employee has been assigned; (ii) review the status of accounts for
which Employee has been most recently responsible or associated; (iii) ensure that Employee has
fully obtained his entitlements under this Agreement and as provided by law; and/or (iv) confirm
that Employee understands the nature and scope of his post-employment obligations.

        D.     Upon the termination of Employee’s employment for any reason, Employee agrees
that the Secretary of the Company may, as an irrevocable proxy and in Employee’s name and
stead, execute all documents and things which the Company deems necessary and desirable to
effect Employee’s resignation as an officer or director of any company (if applicable) included
within the definition of the Company as used in this Agreement.

      E.      Before accepting any new employment in the insurance, benefits or wealth
management industries, Employee promises to give his prospective new employer a copy of this
Agreement. Employee permits the Company to advise any prospective new employer of
Employee of the existence and terms of this Agreement and to provide it with a copy.

        F.      During employment and after the termination of same Employee agrees to remain
available to the Company and its legal counsel, voluntarily upon the Company’s request and
without the necessity of subpoena or court order, in connection with the Company’s
investigation, preparation, prosecution and/or defense of any actual or potential legal proceeding,
regulatory action, or internal matter. The Employee agrees to cooperate with the Company, to
provide any information reasonably within his recollection and to provide truthful testimony as
required. If Employee is called upon to provide cooperation after employment has been
terminated, the Company will reimburse Employee for reasonable out-of-pocket expenses
actually incurred under this section or, at the Company’s option, will advance Employee’s
reasonable expenses or incur them directly.

       G.      Employee agrees that while he is employed by the Company, and following the
termination of his employment, he will not make any false, defamatory or disparaging statements
about the Company, its officers or directors where such statements are calculated to, or
reasonably likely to cause material damage to the Company, its officers or directors.

                                          Page 6 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 59 of 131 PageID #:369
                                                                                               Revised 11.15.2017
                                                                                                 Std. Emp. Agmt.
                                                                                          Not for use in California




Section 6.     The Company’s Right to Injunctive Relief; Attorneys’ Fees.

         The Employee acknowledges that his services to the Company are of a unique character
which gives them a special value to the Company, the loss of which cannot reasonably or
adequately be compensated in damages in an action at law should the Employee breach, or
threaten to breach, any post-employment obligations under this Agreement. The Employee
realizes that: (a) it would be difficult to measure precisely the damages to the Company from any
breach by Employee of Sections 7 and/or 8 of this Agreement; (b) injury to the Company from
any such breach would be incalculable and irremediable; and (c) money damages would
therefore be an inadequate remedy for any such breach. Accordingly, in addition to any other
remedy the Company may have at law or in equity, the Company will be entitled to enforce this
Agreement by obtaining a temporary restraining order and preliminary and permanent injunctive
relief to restrain any such breach or further breach by Employee. Employee expressly waives the
right to contest whether a breach of Section 7 or 8 of this Agreement would result in irreparable
or permanent harm to the Company. In addition, Employee agrees that the Company may seek
injunctive relief when and if it elects to do so and any delay in seeking injunctive relief will not
prejudice or waive the Company’s right to do so. Employee expressly waives the right to assert
that the Company is not entitled to injunctive relief because of any delay in seeking such relief.
Employee agrees that he will be responsible for and pay the Company its reasonable attorneys’
fees and other expenses and costs incurred to enforce this Agreement if the Company is the
prevailing party. Employee further agrees that if Employee breaches any covenant contained in
Sections 7 and/or 8 of this Agreement, the Company will be entitled, in addition to all other legal
or equitable remedies it may have, to offset and withhold against any such loss, cost, liability or
expense any amount of any kind that may then be owing or payable by Company to Employee.

Section 7.     Trade Secrets and Confidential Information.

      A.      Employee acknowledges that the Company’s business depends to a great degree
upon having information which is not generally known to others, and that the profitability of the
Company’s business requires that this information be kept confidential and proprietary within the
Company. Accordingly:

               (1)    Employee agrees that all intellectual property, such as computer programs,
                      systems or software, developed during his employment or as a result of his
                      employment is “work for hire” performed by Employee in the scope of his
                      employment. To the extent that any such intellectual property is
                      determined not to constitute “work for hire,” or if any rights in any such
                      intellectual property do not accrue to the Company as a “work for hire,”
                      Employee’s signature on this Agreement constitutes an assignment
                      (without any further consideration) to the Company of any and all
                      copyrights and other rights, title and interest in and to all such intellectual
                      property. The Company will retain all proprietary rights to any and all
                      such intellectual property. Employee agrees to execute any documents
                      necessary to perfect the Company’s interest in such intellectual property
                      upon the Company’s request.

               (2)    Employee has been advised by this writing and understands that the
                      foregoing provisions of Section 7(A)(1) do not apply to an item of
                      intellectual property for which no equipment, supplies, facilities or
                                           Page 7 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 60 of 131 PageID #:370
                                                                                                 Revised 11.15.2017
                                                                                                   Std. Emp. Agmt.
                                                                                            Not for use in California

                            Confidential Information of the Company was used and which was
                            developed entirely on Employee’s own time, unless: (a) the item of
                            intellectual property relates to the business of the Company or to the
                            Company’s actual or demonstrably anticipated research and development;
                            or (b) the item of intellectual property results from any work performed by
                            Employee for the Company.

      B.       Employee recognizes the highly sensitive nature of the Confidential Information
he will be given (and to which he will have access throughout his employment) and
acknowledges the Company’s legitimate interest in safeguarding it from disclosure.
Accordingly, in addition to the restrictions provided in Section 8 below, Employee agrees that:

                   (1)      after his employment with the Company is terminated, he will not directly
                            or indirectly disclose, use or divulge Confidential Information that
                            constitutes a trade secret of the Company or make use of it for his own
                            purpose or the purpose of another; and

                   (2)      for a period of two (2) years following the termination of his employment
                            with the Company, he will not divulge Confidential Information that does
                            not constitute a trade secret of the Company or make use of it for his own
                            purpose or the purpose of another.

                   (3)      not all of the Company’s Confidential Information will rise to the level of
                            a trade secret of the Company; even so, all Confidential Information will
                            be entitled to the protections and restrictions provided in this Agreement.

       C.      Employee understands and acknowledges that he will benefit significantly from
having access to and being given Confidential Information. Employee agrees that but for his
promise to safeguard Confidential Information and the further restrictive covenants contained in
Section 8 below, the Company would not agree to provide Employee with Confidential
Information. Further, Employee acknowledges that his breach of any restrictions provided in
Section 8 below will inevitably and necessarily lead to the prohibited disclosure or use of
Confidential Information.

      D.      Notwithstanding the generality of the foregoing restrictions in this Section 7,
employee acknowledges having reviewed the federal Defend Trade Secrets Act notice
appearing in Section 2, above.

Section 8.         Protection of the Company’s Protectable Interests.

        A.    To protect the legitimate interests of the Company in, among other things, protecting
its Confidential Information, employment relationships, relationships with Company accounts and
goodwill, and in consideration for, among other things as provided in this Agreement, the
Company’s promise to give Employee certain Confidential Information, some of which
constitutes trade secrets of the Company which Employee did not previously have, and to
enforce Employee’s promise not to disclose such Confidential Information, Employee agrees to
the following restrictive covenants, which Employee acknowledges and agrees are reasonably
necessary and narrowly tailored to protect the Company’s legitimate business interests:

             (1)         For a period of twenty-four (24) months [or, if Employee is principally
                         employed in OREGON or ALABAMA, for a period of eighteen (18)

                                               Page 8 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 61 of 131 PageID #:371
                                                                                         Revised 11.15.2017
                                                                                           Std. Emp. Agmt.
                                                                                    Not for use in California

            months] following the termination of Employee’s employment with the
            Company for any reason whatsoever Employee will not, directly or indirectly,
            solicit, transfer, place, market, accept, aid, counsel or consult in the placement,
            renewal, discontinuance or replacement of any insurance (including self-
            insurance) by, or handle self-insurance programs, insurance claims, risk
            management services, emergency or disaster prevention or management
            services, or other insurance administrative or service functions (“insurance
            services”) or provide employee benefit brokerage, consulting, or
            administration services; in the area of group insurance, defined benefit and
            defined contribution pension plans, individual life, disability and capital
            accumulation products; investment advisory services, wealth management, or
            group retirement services; defined benefit and defined contribution pension
            services; human resources consulting services, including, without limitation,
            compensation consulting, compensation program design, compensation and
            benefits surveys, and on-site human resources management; and all other
            employee benefit areas the Company is involved with (“benefit services”),
            for: (x) any Account of the Company for which Employee performed any of
            the foregoing functions during any part of the two-year period immediately
            preceding such termination (referred to hereinafter as “Protected Accounts”),
            or (y) any Prospective Account of the Company (as defined below).

     (2)    For UTAH Employees Only. Employee and Company agree that this
            paragraph (A)(2) is necessary given the uniqueness of Utah law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Utah during which time the following activity restrictions will be substituted for
            those stated in the foregoing paragraph (A)(1):

                (a)    for a period of one (1) year following the termination of
                       Employee’s employment with the Company for any reason
                       whatsoever, provide, service, transfer, place, market, accept, aid,
                       counsel or consult in the placement, renewal, discontinuance or
                       replacement of any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below); and

                (b)    for a period of two (2) years following the termination of Employee’s
                       employment with the Company for any reason whatsoever, directly
                       or indirectly solicit any insurance services or benefit services for any
                       Protected Accounts (as defined above) or any Prospective Account
                       of the Company (as defined below).

     (3)    For OKLAHOMA Employees Only. Employee and Company agree that this
            paragraph (A)(3) is necessary given the uniqueness of Oklahoma law, and it will
            apply only for such period of time, if any, Employee is principally employed in
            Oklahoma during which time the following activity restrictions will be
            substituted for those stated in the foregoing paragraph (A)(1): For a period of
            two (2) years following the termination of Employee’s employment with the
            Company for any reason whatsoever, Employee will not engage in any act of
            solicitation with respect to any Protected Accounts (as defined above)
            which are established customers of the Company for the purpose of
            providing insurance services or benefit services.
                                     Page 9 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 62 of 131 PageID #:372
                                                                                              Revised 11.15.2017
                                                                                                Std. Emp. Agmt.
                                                                                         Not for use in California

           (4)    For LOUISIANA Employees Only. Employee and Company agree that this
                  paragraph (A)(4) is necessary given the uniqueness of Louisiana law, and it will
                  apply only for such period of time, if any, Employee is principally employed in
                  Louisiana during which time the activity restrictions stated in the foregoing
                  paragraph (A)(1) will apply only to activity undertaken by Employee in the
                  following designated parishes, counties, municipalities or territories:

                             (Please reference Schedule A)

           (5)    The term “Account of the Company” as used in this paragraph will be
                  construed broadly to include all users of insurance services or benefit
                  services, including commercial and individual consumers, risk managers,
                  carriers, agents and other insurance intermediaries who are customers of the
                  Company on the date Employee’s employment with the Company
                  terminates, or an insurance carrier offering any custom program for which the
                  Company acts as managing general agent, managing general underwriter,
                  program manager or underwriting agent, regardless of how the relationship is
                  documented or characterized.

           (6)    If an Account of the Company is part of a group of companies which
                  conducts business through more than one entity, division or operating unit,
                  whether or not separately incorporated (a “Client Group”), the term “Account
                  of the Company” as used herein will include products or services within any
                  entity, division or operating unit of the Client Group where the same
                  management group within the Client Group has the primary decision making
                  authority with respect to contracting for services of the type rendered by the
                  Company. Notwithstanding anything herein to the contrary, the Employee will
                  be free to call on the retail agents of the Company, so long as there is no
                  contact or solicitation of any account, client, or Prospective Account of the
                  Company.

        B.      For the purposes of the covenants set forth in Sections 7 and 8 of this Agreement,
the parties acknowledge and agree that the following will apply:

           (1)    The term “Prospective Account” of the Company, means any entity (other than
                  a then-current account of the Company but including former Company
                  accounts) with respect to whom, at any time during the one year period
                  preceding the termination of Employee’s employment with the Company,
                  Employee: (i) submitted or assisted in the submission of a presentation or
                  proposal of any kind on behalf of the Company, (ii) had material contact or
                  acquired Confidential Information as a result of or in connection with
                  Employee’s employment with the Company, or (iii) incurred travel and/or
                  entertainment expenses which were reimbursed by the Company to
                  Employee; but the term Prospective Account does not include an account
                  that is a customer of Employee’s new employer (for the same type of
                  insurance and/or benefits services for which such customer was a Prospective
                  Account of the Company) at the time of termination of Employee’s
                  employment with the Company.

           (2)    “Direct or indirect solicitation” of a Protected Account or Prospective

                                           Page 10 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 63 of 131 PageID #:373
                                                                                            Revised 11.15.2017
                                                                                              Std. Emp. Agmt.
                                                                                       Not for use in California

                  Account will expressly include, but not be limited to, the following (which is
                  not intended to be an exhaustive list of direct or indirect solicitation, but is
                  meant to provide examples of certain reasonably anticipated scenarios):

                     (a)   The sending of an announcement by Employee or his new
                           employer to any Protected Account or Prospective Account, the
                           purpose of which is to communicate that Employee has either formed
                           his own business enterprise or joined an existing business enterprise
                           that will offer products or services in any way competitive with
                           the Company.

                     (b)   Initiating a communication or contact by Employee or his new
                           employer with any Protected Account or Prospective Account for the
                           purpose of notifying such Protected Account or Prospective
                           Account that Employee has either formed his own business
                           enterprise or joined an existing business enterprise that will offer
                           products or services in any way competitive with the Company.

                     (c)   Communication or contact by Employee or his new employer with
                           any Protected Account or Prospective Account (if such new
                           employer’s communication with a Prospective Account was
                           facilitated by Employee, directly or indirectly, or if Employee will or
                           is intended to benefit, directly or indirectly, by such communication)
                           if the communication in any way relates to insurance or benefits
                           services; provided, however, nothing herein is intended to limit
                           communications or contacts that are unrelated to insurance and/or
                           benefits services.

                     (d)   The facilitation by Employee, directly or indirectly, of any
                           Protected Accounts’ execution of a broker of record letter
                           replacing the Company as its broker of record.

       C.     Except as otherwise noted above in subparagraph (A)(4), Employee understands
and agrees that many of the accounts for which he will perform insurance and/or benefits
services while employed by the Company are national accounts and that Employee will perform
insurance and/or benefit services for Company accounts throughout the entire country.
Employee agrees and acknowledges that the geographic scope relating to the restrictions
provided in this Section 8 will include the entire United States and that since the post-
employment restrictions herein provided are tied directly to Accounts of the Company for
whom Employee performed insurance and/or benefit services during the two-year period
immediately preceding termination of his employment and Prospective Accounts, this
geographic limitation is reasonable. Moreover, Employee acknowledges and agrees that the
applicable restrictions contained throughout this Section 8 do not prohibit Employee from
competing gen er al l y with the Company or performing insurance s e r v i c e s or benefits
services for potential clients throughout the entire world except for Protected Accounts and
Prospective Accounts, and that those restrictions are reasonable and narrowly tailored to further
the Company’s legitimate interest to protect its Confidential Information, account relationships,
and goodwill, and such restrictions will not unduly burden Employee’s ability to earn a living
after his employment with the Company is terminated.


                                          Page 11 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 64 of 131 PageID #:374
                                                                                             Revised 11.15.2017
                                                                                               Std. Emp. Agmt.
                                                                                        Not for use in California

       D.     If, within two (2) years of the termination of Employee’s employment the
Employee engages in, or joins a company or business enterprise engaged in, providing insurance
and/or benefits services, then the Company may advise any Protected Account and/or
Prospective Account of the existence and terms of this Agreement and may give them a copy of
this Agreement.

        E.      Employee recognizes that employees of the Company are a valuable resource of
the Company. Accordingly, during Employee’s employment with the Company, Employee will
not, directly or indirectly solicit, induce, entice or recruit any employee of the Company to leave
their employment with the Company. In addition, for a period of two (2) years following the
termination of Employee’s employment with the Company for any reason whatsoever, Employee
will not directly or indirectly, solicit, induce or recruit any employee of the Company who has
been provided Confidential Information to leave the employ of the Company.

Section 9.    Assignment.

        Except as provided in Section 10, this Agreement will not be affected by any merger or
consolidation or other reorganization of the Company and will be assignable to, binding upon,
and will inure to the benefit of the continuing entity or to any successor in interest to the
Company including, without limitation, any entity to which the Company sells business, assets
and/or accounts of any branch, business unit or profit center in which Employee is primarily
employed. This Agreement also will inure to the benefit of every affiliate company included in
the definition of “Company” under this Agreement. The Company may assign this Agreement to
any affiliate company of AJG in which case, except for purposes of Section 10 hereof, all
references to “the Company” and all rights of the Company will include and inure to the benefit
of that affiliate. Employee may not assign this Agreement or any obligations hereunder.

Section 10.   Release of Certain Obligations.

       Notwithstanding anything herein to the contrary, the obligations of Employee stated in
Section 8 will become null and void and have no further effect immediately upon a Hostile
Change in Control of AJG as defined herein. The Company will send written notice to Employee
within ten (10) days of a Hostile Change in Control of AJG, notifying Employee that such event
has taken place. Failure of the Company to send such notice will not preclude the release of
Employee from the obligations contained in Section 8. These definitions apply to Section 10:

        A.     The term “Hostile Change in Control” means a transaction, event or election
constituting a Change in Control which was not approved by or, in an election, the directors
elected were not nominated by, at least two-thirds of the members of the Board of Directors of
AJG in office immediately prior to the Change in Control who have not died or become
permanently disabled.

       B.     The term “Change in Control” of AJG means and includes each and all of the
following occurrences:

              (1)     A Business Combination, unless:

                      (a)    the Business Combination is approved or authorized by the
                             affirmative vote of the holders of not less than 80% of the
                             outstanding shares of voting stock of AJG and the affirmative vote
                             of the holders of not less than 67% of the outstanding shares of the
                                          Page 12 of 17
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 65 of 131 PageID #:375
                                                                                          Revised 11.15.2017
                                                                                            Std. Emp. Agmt.
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                           voting stock held by shareholders other than Related Persons; or

               (b)         the Continuing Directors of AJG by a two-thirds vote: (i) have
                           expressly approved in advance the acquisition of outstanding
                           shares of voting stock of the corporation that caused the Related
                           Person to become a Related Person; or (ii) have approved the
                           Business Combination prior to the Related Person involved in the
                           Business Combination having become a Related Person; or

               (c)         the Business Combination is solely between AJG and another
                           corporation, 50% or more of the voting stock of which is owned by
                           AJG and none of which is owned by the Related Person; or

               (d)         all of the following conditions are satisfied:

                              i. The cash or fair market value of the property, securities or
                              “other consideration to be received” per share by holders of
                              common stock in AJG in the Business Combination is not less
                              than the higher of:

                              (A)     the highest per share price (including brokerage
                                      commissions, transfer taxes and soliciting dealers’ fees)
                                      paid by the Related Person in acquiring any of its
                                      holdings of AJG’s common stock, or

                              (B)     an amount that bears that same percentage relationship
                                      to the market price of AJG’s common stock
                                      immediately prior to the announcement of such Business
                                      Combination as the highest per share price determined
                                      in (A) above bears to the market price of AJG’s
                                      common stock immediately prior to the commencement
                                      of the acquisition of AJG’s voting stock that caused such
                                      Related Person to become a Related Person, or

                              (C)     an amount calculated by multiplying the earnings per
                                      share of AJG’s common stock for the four fiscal quarters
                                      immediately preceding the record date for determination
                                      of stockholders entitled to vote on such Business
                                      Combination by the price/earnings multiple of the
                                      Related Person as of the record date s customarily
                                      computed and reported in the financial press.
                                      Appropriate adjustments will be made with respect to
                                      these subsections (A), (B) and
                                      (C) for recapitalizations and for stock splits, stock
                                      dividends, and like distributions; and

                     ii.      A timely mailing will have been made to the stockholders of
                              AJG showing in a prominent place: (x) any recommendations
                              as to the advisability (or inadvisability) of the Business
                              Combination that the Continuing Directors or Outside Directors
                              may choose to state, if there are at the time any such directors;
                                        Page 13 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 66 of 131 PageID #:376
                                                                                              Revised 11.15.2017
                                                                                                Std. Emp. Agmt.
                                                                                         Not for use in California

                                 and (y) the opinion of a reputable nationally recognized
                                 investment banking or financial services firm as to the fairness
                                 from the financial point of view of the terms of the Business
                                 Combination to the stockholders of AJG other than the
                                 Related Person (such firm to be engaged solely on behalf of
                                 such other stockholders, to be paid a reasonable fee for its
                                 services by AJG upon receipt of such opinion, to be a firm that
                                 has not previously been significantly associated with the
                                 Related Person and, if there are at the time any such directors, to
                                 be selected by a majority of the Continuing Directors and
                                 Outside Directors).

               (2)    The acquisition of outstanding shares of AJG’s voting stock that causes an
                      individual, a corporation, partnership or other person or entity to become a
                      Related Person.

               (3)    Individuals who at the beginning of any period of three consecutive years
                      constitute the entire Board of Directors of the Company will for any
                      reason other than death or permanent disability during such period cease
                      to constitute a majority thereof.

               (4)    A change in control of a nature that would be required to be reported in
                      response to Item 6(e) of Schedule 14A of Regulation 14A promulgated
                      under the Securities Act of 1934, as amended.

        C.      The term “Business Combination” will mean: (i) any merger or consolidation of
AJG with or into a Related Person; (ii) any sale, lease, exchange, transfer or other disposition,
including without limitation a mortgage or any other security device, of all or any Substantial
Part of the assets of the Company to a Related Person; (iii) any merger or consolidation of a
Related Person with or into AJG; (iv) any sale, lease, exchange, transfer or other disposition of
all or any Substantial Part of the assets of a Related Person to the Company; (v) the issuance of
any securities of the Company to a Related Person; (vi) the acquisition by the Company of any
securities issued by a Related Person; (vii) any reclassification of securities, recapitalization or
other transaction designed to decrease the number of holders of AJG’s voting securities
remaining, if there is a Related Person; and (viii) any agreement, contract or other arrangement
providing for any of the transactions described in this definition of Business Combination.

       D.      The term “Related Person” will mean and include any individual, corporation,
partnership or other person or entity which, together with their “Affiliates” and “Associates” (as
defined as of November 1, 1983, in Rule 12b-2 under the Securities Exchange Act of 1934),
“Beneficially Owns” (as defined as of November 1, 1983, in Rule 13d-3 under the Securities
Exchange Act of 1934) in the aggregate 20% or more of the outstanding shares of the voting
stock of AJG, and any Affiliate or Associate of any such individual, corporation, partnership or
other person or entity; provided that Related Person will not include any person who beneficially
owned 20% or more of the outstanding shares of the voting stock of AJG on November 1, 1983.
Without limitation, any shares of voting stock of AJG that any Related Person has the right to
acquire pursuant to any agreement, or upon exercise of conversion rights, warrants or options, or
otherwise, will be deemed beneficially owned by the Related Person.

       E.      The term “Substantial Part” will mean more than 30% of the fair market value of

                                           Page 14 of 17
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 67 of 131 PageID #:377
                                                                                              Revised 11.15.2017
                                                                                                Std. Emp. Agmt.
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the total assets of the corporation in question, as of the end of its most recent fiscal year ending
prior to the time the determination is being made.

        F.    The term “other consideration to be received” will include, without limitation,
capital stock of AJG retained by its existing public stockholders in the event of a Business
Combination in which AJG is the surviving corporation.

       G.       The term “Continuing Director” will mean a director who was a member of the
board of directors of AJG immediately prior to the time that the Related Person involved in a
Business Combination became a Related Person, and the term “Outside Director” will mean a
director who is not: (a) an officer or employee of AJG or any relative of an officer or employee;
or (b) a Related Person or an officer, director, employee, Associate or Affiliate of a Related
Person, or a relative of any of the foregoing.

Section 11.    General.

       A.      The captions in this Agreement are for reference only and have no independent
force or effect. If a caption is inconsistent with any part of the Agreement, the caption will be
disregarded.

        B.       This Agreement will be governed by and construed in accordance with the laws of
the State in which Employee resides, without giving effect to any of its conflict of law principles.
The parties agree that the chosen state has a material and significant interest in questions
concerning this Agreement and performance thereunder. The parties agree that the sole and
exclusive venue of any dispute between the parties with respect to this Agreement, or any
matters related thereto, will be a state trial or federal district court located within the federal
judicial district in which Employee resides (“Chosen Venue”). Employee agrees that it is neither
unfair nor unreasonable for the Chosen Venue to be selected as the exclusive venue for any
dispute between the parties with respect to this Agreement or any matter related thereto and that
he will suffer no undue burden by having to litigate any such disputes in the Chosen Venue.
Moreover, Employee promises not to initiate suit against the Company in any venue other than
the above-selected exclusive Chosen Venue with respect to any dispute between the parties
relating to this Agreement. Employee waives and agrees not to interpose any argument that the
Chosen Venue is an inconvenient forum for litigation.

         C.     Waiver of Jury Trial. Because of the time and expense involved in the docketing
of, preparation for and participation in a jury trial, the parties desire that any dispute arising
hereunder will be decided by a judge rather than a jury. Therefore, the parties hereby knowingly,
voluntarily and intentionally waive the right either may have to a trial by jury in respect to any
litigation based on this Agreement or arising out of, under or in conjunction with Employee’s
employment by the Company, this Agreement, or any course of conduct, course of dealing,
verbal or written statement or the actions of either party.

       D.     If Employee is an existing employee of the Company as of the Effective Date and
is subject to any existing employment agreement with the Company, whether an Executive
Agreement, Associate Agreement, or otherwise (collectively “Existing Employee Agreement”),
this Agreement will be considered an Amended and Restated Employee Agreement of such
Existing Employee Agreement. If Employee is an employee of a business enterprise acquired or
to be acquired by the Company as of the Effective Date and is subject to any existing
employment agreement with the acquired business enterprise, then this Agreement will be
considered an Amended and Restated Employment Agreement only if Employee’s employment
                                           Page 15 of 17
    Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 68 of 131 PageID #:378
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agreement with the acquired business enterprise is assigned to the Company.

        E.     This Agreement contains the entire agreement of the parties with respect to the
subject matters covered hereby. The parties agree that all prior negotiations and communications
are of no force or effect. Further, the parties agree that there are no oral agreements,
understandings, undertakings or promises of the parties relating to the subject matters covered by
this Agreement.

         F.     Subject to Section 11(G) below, this Agreement may not be amended, altered or
modified without the prior written consent of both parties, and such instrument will acknowledge
that it is an amendment or modification of this Agreement. Waiver of any term or condition of
this Agreement will not be construed as a waiver of any subsequent breach or failure of the same
term or condition, or any other term or condition. Any waiver must be in writing. No amendment,
alteration, modification or waiver may be signed by Employee on behalf of the Company, its
assignees, successors or assigns.

        G.      To the extent that any of the terms set forth in this Agreement or any word,
phrase, clause or sentence is found to be illegal or unenforceable for any reason, it is the
intention of the parties that such word, phrase, clause or sentence will be modified or deleted by a
court of competent jurisdiction so as to afford the Company the fullest protection
commensurate with making this Agreement, as modified, legal and enforceable under applicable
laws, and the balance of this Agreement will not be affected thereby, the balance being construed
as severable and independent.

         H.      All notices given hereunder will be in writing and will be sent by registered or
certified mail or delivered by hand and, if intended for the Company, addressed to it or delivered
to its principal office to the attention of the Secretary of the Company. If intended for Employee,
notices will be delivered personally or addressed (if sent by mail) to Employee’s then current
residence address as shown on the Company’s records, or to such other address as
Employee directs in a written notice to the Company. All notices will be deemed to be given on
the date received at the address of the addressee or, if delivered personally, on the date delivered.

        I.       The use of male pronouns throughout this Agreement includes the female gender.
The words “including” or “include” are not to be interpreted as terms of limitation or exclusion,
but rather of illustration.

        J.     This Agreement may be executed in counterparts, each of which is deemed an
original.

         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
  day and year provided below their respective signatures. The parties agree that the Effective
  Date of this Agreement will be 11/9/20, 8:00 AM , 20  .


  ARTHUR J. GALLAGHER & CO.,                           EMPLOYEE
  on behalf of itself and its subsidiaries,
  divisions and affiliated and related
                                                           Melissa Haggerty
  companies
                                                       Employee Signature
                                                           Melissa Haggerty
  By:
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Corporate Officer SignatureDocument #: 9-8 Filed: 07/28/22 Page 69 of 131 PageID #:379
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                                                      Printed Name

 Title:
          10/27/20                                        1310 W Howard St
 Date:
                                                      Chicago                Illinois     60626

                                                      Address
                                                                10/27/20
                                                      Date:



FOR PAYROLL USE ONLY:
                 5000872
Employee ID:




                                          Page 17 of 17
           Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 70 of 131 PageID #:380
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Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 71 of 131 PageID #:381




                    Exhibit H5
   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 72 of 131 PageID #:382



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   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 73 of 131 PageID #:383



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LQFOXGHDVVLVWLQJLQWKHGHYHORSPHQWRILQIRUPDWLRQDQGGDWDWKDWLV&RQILGHQWLDO,QIRUPDWLRQEHORQJLQJWR
WKH&RPSDQ\&RQILGHQWLDO,QIRUPDWLRQPD\EHVWRUHGLQILOHVGRFXPHQWVGDLOLHVGDLO\UHSRUWVUHQHZDO
LQIRUPDWLRQFXVWRPHUOLVWVDFFRXQWLQJUHFRUGVSURGXFWVSXUFKDVHGE\FXVWRPHUVFXVWRPHUDFFRXQWDQG
FUHGLWGDWDUHIHUUDOVRXUFHVFRPSXWHUSURJUDPVDQGVRIWZDUHFXVWRPHUFRPPHQWV&RPSDQ\ZULWWHQ
PDQXDOVDQGPDUNHWLQJDQGILQDQFLDODQDO\VLVSODQVUHVHDUFKDQGSURJUDPV(PSOR\HHUHFRJQL]HVWKDW
WKLV&RQILGHQWLDO,QIRUPDWLRQFRQVWLWXWHVYDOXDEOHSURSHUW\RIWKH&RPSDQ\GHYHORSHGRYHUDORQJSHULRG
RIWLPHDQGDWVXEVWDQWLDOH[SHQVHDQGWKDWWKH&RPSDQ\WDNHVUHDVRQDEOHHIIRUWVWRNHHSWKLV&RQILGHQWLDO
,QIRUPDWLRQFRQILGHQWLDODQGPDGHDYDLODEOHRQO\WRWKRVHHPSOR\HHVZKRQHHGDFFHVVWRVXFK
&RQILGHQWLDO,QIRUPDWLRQWRSHUIRUPWKHLUMREIXQFWLRQVIRUWKH&RPSDQ\(PSOR\HHSURPLVHVWR
VDIHJXDUGVXFK&RQILGHQWLDO,QIRUPDWLRQDQGDJUHHVWKDWKHZLOOQRWDWDQ\WLPHGXULQJKLVHPSOR\PHQW
E\WKH&RPSDQ\GLYXOJHVXFK&RQILGHQWLDO,QIRUPDWLRQRUPDNHXVHRILWIRUKLVRZQSXUSRVHVRUWKH
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         &     7KH&RPSDQ\DJUHHVWKDWGXULQJ(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\LWZLOO L 
SURYLGH(PSOR\HHZLWKFHUWDLQ&RQILGHQWLDO,QIRUPDWLRQWKH(PSOR\HHGLGQRWSUHYLRXVO\SRVVHVV
LQFOXGLQJZLWKRXWOLPLWDWLRQ&RQILGHQWLDO,QIRUPDWLRQUHODWLQJWRFHUWDLQRIWKH&RPSDQ\¶VDFFRXQWV LL 
SURYLGH(PSOR\HHZLWKLQIRUPDWLRQDQGDFFHVVWRWKH&RPSDQ\¶VSURSULHWDU\LQVXUDQFHDQGULVN
PDQDJHPHQWSURJUDPV LLL SURYLGH(PSOR\HHZLWKDFFHVVWRWKH&RPSDQ\¶VVSHFLDOL]HGEXVLQHVV
RSHUDWLRQVUHODWLQJWRSDUWLFXODUDVSHFWVRIWKHLQVXUDQFHDJHQF\DQGULVNPDQDJHPHQWEXVLQHVV LY 
PDLQWDLQVSHFLDOL]HGWUDLQLQJSURJUDPVWRZKLFK(PSOR\HHZLOOTXDOLI\DQGDSSO\DQG Y SURYLGHVXFK
RWKHUDVVLVWDQFHZKLFKPD\UHDVRQDEO\DLG(PSOR\HHLQSHUIRUPLQJVDOHVPDQDJHPHQWWHFKQLFDODQGRU
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         '      (PSOR\HHDFNQRZOHGJHVDQGXQGHUVWDQGVWKDWDQHVVHQWLDOHOHPHQWRIWKH&RPSDQ\¶V
EXVLQHVVLVWKHGHYHORSPHQWDQGPDLQWHQDQFHRISHUVRQDOFRQWDFWVDQGUHODWLRQVKLSVZLWKLWVDFFRXQWVDQG
WKDW(PSOR\HHPD\EHSURYLGHGDQGDOORZHGDFFHVVWRFHUWDLQRIWKH&RPSDQ\¶VDFFRXQWVIRUWKHSXUSRVH
RIHVWDEOLVKLQJSHUVRQDOFRQWDFWDQGUHODWLRQVKLSVZLWKVXFKDFFRXQWVIRUWKHEHQHILWRIWKH&RPSDQ\7KH
(PSOR\HHDFNQRZOHGJHVWKDWWKH&RPSDQ\LQYHVWVFRQVLGHUDEOHWLPHPRQH\DQGUHVRXUFHVQHFHVVDU\WR
GHYHORSDQGPDLQWDLQDUHODWLRQVKLSEHWZHHQLWVHPSOR\HHVDQGDFOLHQWDQGLQWKDWUHJDUGWKH&RPSDQ\
ZLOOSD\(PSOR\HH¶VVDODU\UHLPEXUVHUHDVRQDEO\QHFHVVDU\EXVLQHVVH[SHQVHVSURYLGH(PSOR\HHZLWK
FHUWDLQ&RQILGHQWLDO,QIRUPDWLRQDQGSURYLGHWKHUHVRXUFHVQHFHVVDU\WRVHUYLFHWKH&RPSDQ\DFFRXQWV
PDQDJHGRUVHUYLFHGE\(PSOR\HHE\PDNLQJDYDLODEOHOHJDODGYLFHDFFRXQWLQJVXSSRUWDGYHUWLVLQJDQG
RWKHUFRUSRUDWHVHUYLFHV0RUHRYHUZKLOHWKH(PSOR\HHUHFRJQL]HVWKDWVRPH&RPSDQ\DFFRXQWVPD\
GHYHORSJUHDWHULGHQWLILFDWLRQZLWKWKH(PSOR\HHWKDQWKH&RPSDQ\LWVHOIWKRVHDFFRXQWVUHPDLQDWDOO
WLPHVDQGIRUDOOSXUSRVHVDFFRXQWVRIWKH&RPSDQ\%\HQWHULQJWKLV$JUHHPHQW(PSOR\HHGLVFODLPV
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   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 74 of 131 PageID #:384



6HFWLRQ      &RPSHQVDWLRQDQG%HQHILWV
         (PSOR\HHZLOOEHHQWLWOHGWRWKHFRPSHQVDWLRQDQGEHQHILWVDJUHHGWRE\(PSOR\HHDQGWKH
&RPSDQ\DQGDVQRWHGIURPWLPHWRWLPHLQ(PSOR\HH¶VRIILFLDOSHUVRQQHOILOHDQGUHFRUGVUHWDLQHGLQWKH
&RPSDQ\¶VFRUSRUDWHKHDGTXDUWHUVZKLFKILOHLVLQFRUSRUDWHGE\UHIHUHQFHKHUHLQWRWKHH[WHQWQHFHVVDU\
IRUHYLGHQFLQJWKHFRPSHQVDWLRQDQGEHQHILWVWRZKLFK(PSOR\HHDQGWKH&RPSDQ\KDYHDJUHHG7KH
FRPSHQVDWLRQDQGEHQHILWVWRZKLFK(PSOR\HHLVHQWLWOHGDVRIWKH(IIHFWLYH'DWHLVQRWHGLQ(PSOR\HH¶V
RIILFLDOSHUVRQQHOILOH(PSOR\HH¶VFRPSHQVDWLRQDQGEHQHILWVLVVXEMHFWWRSHULRGLFFKDQJHDWWKH
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         $     +HLVQRWDQGZLOOQRWEHFRPHDSDUW\WRDQ\DJUHHPHQWFRQWUDFWDUUDQJHPHQWRU
XQGHUVWDQGLQJZKHWKHURIHPSOR\PHQWRURWKHUZLVHWKDWZRXOGLQDQ\ZD\UHVWULFWKLPIURPXQGHUWDNLQJ
RUSHUIRUPLQJKLVGXWLHVLQDFFRUGDQFHZLWKWKLV$JUHHPHQWRUWKDWOLPLWVKLVDELOLW\WREHHPSOR\HGE\
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         %     (PSOR\PHQWE\WKH&RPSDQ\ZLOOQRWYLRODWHWKHWHUPVRIDQ\SROLF\RIDQ\SULRU
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         &     +LVHPSOR\PHQWE\WKH&RPSDQ\LQWKHSRVLWLRQFRQWHPSODWHGE\WKLV$JUHHPHQWZLOO
QRWUHTXLUHKLPWRLPSURSHUO\XVHDQ\WUDGHVHFUHWVRUFRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRIDQ\SULRU
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         '     +HKDVQRWPLVXVHGDQGZLOOQRWPLVXVHDQ\FRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQ
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         (     +HKDVQRWLPSURSHUO\WDNHQRUUHWDLQHGLQDQ\IRUPZKDWVRHYHURURWKHUZLVHUHWDLQHG
DFFHVVWRDQ\FRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRIDQ\SULRUHPSOR\HURUDQ\RWKHUSHUVRQRUHQWLW\
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         )     +HLVLQFRPSOLDQFHZLWKDQ\QRQFRPSHWLWLRQDQGRUQRQVROLFLWDWLRQDJUHHPHQWVRU
RWKHUUHVWULFWLYHFRYHQDQWREOLJDWLRQVLQSODFHEHWZHHQKLPDQGDQ\IRUPHUHPSOR\HUDQGZLOOFRQWLQXHWR
EHLQFRPSOLDQFHUHJDUGOHVVRIZKHWKHUKHEHOLHYHVVXFKDJUHHPHQWVDQGRUUHVWULFWLYHFRYHQDQWVDUH
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IRUDQ\UHDVRQXSRQWZHQW\RQH  GD\V¶ZULWWHQQRWLFH WKH³1RWLFH3HULRG´ E\WKHSDUW\ZLVKLQJWR
WHUPLQDWHWKHHPSOR\PHQWSURYLGHGKRZHYHUWKDWQRWLFHLVQRWUHTXLUHGIURPWKH&RPSDQ\IRUDQ\
WHUPLQDWLRQWDNLQJSODFH  GXULQJWKH(PSOR\HH¶VILUVWQLQHW\  GD\VRIHPSOR\PHQW RURWKHU
DSSOLFDEOH,QWURGXFWRU\3HULRGSXUVXDQWWR&RPSDQ\SROLF\ RU  GXULQJWKHSHQGHQF\RIDQ\
3HUIRUPDQFH,PSURYHPHQW3ODQLVVXHGSXUVXDQWWRWKH&RPSDQ\¶VSHUIRUPDQFHPDQDJHPHQWSROLFLHV
         %     7KH&RPSDQ\DJUHHVWRFRQWLQXHGXULQJWKH1RWLFH3HULRGWKHVDPHFRPSHQVDWLRQDQG
EHQHILWV(PSOR\HHZDVUHFHLYLQJSULRUWRWKH1RWLFH3HULRG7KHSDUWLHVDJUHHWKDWRQFHWKH1RWLFH3HULRG
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         &     (PSOR\HHDJUHHVWKDWGXULQJWKH1RWLFH3HULRGKHZLOOFRRSHUDWHIXOO\ZLWKWKH&RPSDQ\
LQDOOPDWWHUVUHODWLQJWRWKHZLQGLQJXSRIDQ\SHQGLQJZRUNDQGRUWKHRUGHUO\WUDQVIHUWRRWKHU&RPSDQ\
HPSOR\HHVRIWKHDFFRXQWVIRUZKLFKKHKDVEHHQUHVSRQVLEOH(PSOR\HHVSHFLILFDOO\FRYHQDQWVWKDW
GXULQJWKH1RWLFH3HULRG UHJDUGOHVVRIZKHWKHURUQRWDFWLYHHPSOR\PHQWUHVSRQVLELOLWLHVDUHFRQWLQXLQJ 
KLVGXWLHVWRWKH&RPSDQ\LQFOXGLQJ(PSOR\HH¶VILGXFLDU\GXW\RIOR\DOW\ZLOOFRQWLQXHLQHIIHFW3ULRU
WRWKHH[SLUDWLRQRIWKH1RWLFH3HULRG(PSOR\HHSURPLVHVWRUHWXUQWRWKH&RPSDQ\DOORULJLQDOVDQG
FRSLHV ZKHWKHUSDSHUGLJLWDOFRSLHVRURWKHUZLVH RIOLWHUDWXUHFRUUHVSRQGHQFHPHPRUDQGDUHSRUWV
VXPPDULHVPDQXDOVSURSRVDOVFRQWUDFWVDQGRWKHUGRFXPHQWVRIDQ\NLQGZKLFKUHODWHLQDQ\ZD\WRWKH
EXVLQHVVRIWKH&RPSDQ\LQFOXGLQJVSHFLILFDOO\DOOPDWHULDOVZKLFKFRPSULVHRUUHIHUWRWKH&RPSDQ\¶V
&RQILGHQWLDO,QIRUPDWLRQ7KH(PSOR\HHFRYHQDQWVWKDWKHZLOOQRWUHWDLQDQ\FRS\IDFVLPLOHRUQRWH
LQWHQGHGWRPHPRULDOL]HDQ\VXFKGDWD(PSOR\HHIXUWKHUXQGHUVWDQGVDQGDJUHHVWKDWGXULQJRUDWWKH
H[SLUDWLRQRIWKH1RWLFH3HULRGDQGDVSDUWRIKLVDVVLJQHGMREGXWLHVKHZLOOUHDVRQDEO\SDUWLFLSDWHLQ
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DQ\PHHWLQJWKH&RPSDQ\PD\FRQYHQHWR L UHYLHZWKHVWDWXVRIDQ\SURMHFWVRUZRUN(PSOR\HHKDV
EHHQDVVLJQHG LL UHYLHZWKHVWDWXVRIDFFRXQWVIRUZKLFK(PSOR\HHKDVEHHQPRVWUHFHQWO\UHVSRQVLEOH
RUDVVRFLDWHG LLL HQVXUHWKDW(PSOR\HHKDVIXOO\REWDLQHGKLVHQWLWOHPHQWVXQGHUWKLV$JUHHPHQWDQGDV
SURYLGHGE\ODZDQGRU LY FRQILUPWKDW(PSOR\HHXQGHUVWDQGVWKHQDWXUHDQGVFRSHRIKLVSRVW
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WKH6HFUHWDU\RIWKH&RPSDQ\PD\DVDQLUUHYRFDEOHSUR[\DQGLQ(PSOR\HH¶VQDPHDQGVWHDGH[HFXWH
DOOGRFXPHQWVDQGWKLQJVZKLFKWKH&RPSDQ\GHHPVQHFHVVDU\DQGGHVLUDEOHWRHIIHFW(PSOR\HH¶V
UHVLJQDWLRQDVDQRIILFHURUGLUHFWRURIDQ\FRPSDQ\ LIDSSOLFDEOH LQFOXGHGZLWKLQWKHGHILQLWLRQRIWKH
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         (     %HIRUHDFFHSWLQJDQ\QHZHPSOR\PHQWLQWKHLQVXUDQFHEHQHILWVRUZHDOWKPDQDJHPHQW
LQGXVWULHV(PSOR\HHSURPLVHVWRJLYHKLVSURVSHFWLYHQHZHPSOR\HUDFRS\RIWKLV$JUHHPHQW(PSOR\HH
SHUPLWVWKH&RPSDQ\WRDGYLVHDQ\SURVSHFWLYHQHZHPSOR\HURI(PSOR\HHRIWKHH[LVWHQFHDQGWHUPVRI
WKLV$JUHHPHQWDQGWRSURYLGHLWZLWKDFRS\
         )     'XULQJHPSOR\PHQWDQGDIWHUWKHWHUPLQDWLRQRIVDPH(PSOR\HHDJUHHVWRUHPDLQ
DYDLODEOHWRWKH&RPSDQ\DQGLWVOHJDOFRXQVHOYROXQWDULO\XSRQWKH&RPSDQ\¶VUHTXHVWDQGZLWKRXWWKH
QHFHVVLW\RIVXESRHQDRUFRXUWRUGHULQFRQQHFWLRQZLWKWKH&RPSDQ\¶VLQYHVWLJDWLRQSUHSDUDWLRQ
SURVHFXWLRQDQGRUGHIHQVHRIDQ\DFWXDORUSRWHQWLDOOHJDOSURFHHGLQJUHJXODWRU\DFWLRQRULQWHUQDO
PDWWHU7KH(PSOR\HHDJUHHVWRFRRSHUDWHZLWKWKH&RPSDQ\WRSURYLGHDQ\LQIRUPDWLRQUHDVRQDEO\
ZLWKLQKLVUHFROOHFWLRQDQGWRSURYLGHWUXWKIXOWHVWLPRQ\DVUHTXLUHG,I(PSOR\HHLVFDOOHGXSRQWR
SURYLGHFRRSHUDWLRQDIWHUHPSOR\PHQWKDVEHHQWHUPLQDWHGWKH&RPSDQ\ZLOOUHLPEXUVH(PSOR\HHIRU
UHDVRQDEOHRXWRISRFNHWH[SHQVHVDFWXDOO\LQFXUUHGXQGHUWKLVVHFWLRQRUDWWKH&RPSDQ\¶VRSWLRQZLOO
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WHUPLQDWLRQRIKLVHPSOR\PHQWKHZLOOQRWPDNHDQ\IDOVHGHIDPDWRU\RUGLVSDUDJLQJVWDWHPHQWVDERXW
WKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUVZKHUHVXFKVWDWHPHQWVDUHFDOFXODWHGWRRUUHDVRQDEO\OLNHO\WR
FDXVHPDWHULDOGDPDJHWRWKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUV
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         7KH(PSOR\HHDFNQRZOHGJHVWKDWKLVVHUYLFHVWRWKH&RPSDQ\DUHRIDXQLTXHFKDUDFWHUZKLFK
JLYHVWKHPDVSHFLDOYDOXHWRWKH&RPSDQ\WKHORVVRIZKLFKFDQQRWUHDVRQDEO\RUDGHTXDWHO\EH
FRPSHQVDWHGLQGDPDJHVLQDQDFWLRQDWODZVKRXOGWKH(PSOR\HHEUHDFKRUWKUHDWHQWREUHDFKDQ\SRVW
HPSOR\PHQWREOLJDWLRQVXQGHUWKLV$JUHHPHQW7KH(PSOR\HHUHDOL]HVWKDW D LWZRXOGEHGLIILFXOWWR
PHDVXUHSUHFLVHO\WKHGDPDJHVWRWKH&RPSDQ\IURPDQ\EUHDFKE\(PSOR\HHRI6HFWLRQVDQGRURI
WKLV$JUHHPHQW E LQMXU\WRWKH&RPSDQ\IURPDQ\VXFKEUHDFKZRXOGEHLQFDOFXODEOHDQGLUUHPHGLDEOH
DQG F PRQH\GDPDJHVZRXOGWKHUHIRUHEHDQLQDGHTXDWHUHPHG\IRUDQ\VXFKEUHDFK$FFRUGLQJO\LQ
DGGLWLRQWRDQ\RWKHUUHPHG\WKH&RPSDQ\PD\KDYHDWODZRULQHTXLW\WKH&RPSDQ\ZLOOEHHQWLWOHGWR
HQIRUFHWKLV$JUHHPHQWE\REWDLQLQJDWHPSRUDU\UHVWUDLQLQJRUGHUDQGSUHOLPLQDU\DQGSHUPDQHQW
LQMXQFWLYHUHOLHIWRUHVWUDLQDQ\VXFKEUHDFKRUIXUWKHUEUHDFKE\(PSOR\HH(PSOR\HHH[SUHVVO\ZDLYHV
WKHULJKWWRFRQWHVWZKHWKHUDEUHDFKRI6HFWLRQRURIWKLV$JUHHPHQWZRXOGUHVXOWLQLUUHSDUDEOHRU
SHUPDQHQWKDUPWRWKH&RPSDQ\,QDGGLWLRQ(PSOR\HHDJUHHVWKDWWKH&RPSDQ\PD\VHHNLQMXQFWLYH
UHOLHIZKHQDQGLILWHOHFWVWRGRVRDQGDQ\GHOD\LQVHHNLQJLQMXQFWLYHUHOLHIZLOOQRWSUHMXGLFHRUZDLYH
WKH&RPSDQ\¶VULJKWWRGRVR(PSOR\HHH[SUHVVO\ZDLYHVWKHULJKWWRDVVHUWWKDWWKH&RPSDQ\LVQRW
HQWLWOHGWRLQMXQFWLYHUHOLHIEHFDXVHRIDQ\GHOD\LQVHHNLQJVXFKUHOLHI(PSOR\HHDJUHHVWKDWKHZLOOEH
UHVSRQVLEOHIRUDQGSD\WKH&RPSDQ\LWVUHDVRQDEOHDWWRUQH\V¶IHHVDQGRWKHUH[SHQVHVDQGFRVWVLQFXUUHG
WRHQIRUFHWKLV$JUHHPHQWLIWKH&RPSDQ\LVWKHSUHYDLOLQJSDUW\(PSOR\HHIXUWKHUDJUHHVWKDWLI
(PSOR\HHEUHDFKHVDQ\FRYHQDQWFRQWDLQHGLQ6HFWLRQVDQGRURIWKLV$JUHHPHQWWKH&RPSDQ\ZLOO
EHHQWLWOHGLQDGGLWLRQWRDOORWKHUOHJDORUHTXLWDEOHUHPHGLHVLWPD\KDYHWRRIIVHWDQGZLWKKROGDJDLQVW
DQ\VXFKORVVFRVWOLDELOLW\RUH[SHQVHDQ\DPRXQWRIDQ\NLQGWKDWPD\WKHQEHRZLQJRUSD\DEOHE\
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   Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 76 of 131 PageID #:386



6HFWLRQ      7UDGH6HFUHWVDQG&RQILGHQWLDO,QIRUPDWLRQ
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DFFUXHWRWKH&RPSDQ\DVD³ZRUNIRUKLUH´(PSOR\HH¶VVLJQDWXUHRQWKLV$JUHHPHQWFRQVWLWXWHVDQ
DVVLJQPHQW ZLWKRXWDQ\IXUWKHUFRQVLGHUDWLRQ WRWKH&RPSDQ\RIDQ\DQGDOOFRS\ULJKWVDQGRWKHUULJKWV
WLWOHDQGLQWHUHVWLQDQGWRDOOVXFKLQWHOOHFWXDOSURSHUW\7KH&RPSDQ\ZLOOUHWDLQDOOSURSULHWDU\ULJKWVWR
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&RPSDQ\RUWRWKH&RPSDQ\¶VDFWXDORUGHPRQVWUDEO\DQWLFLSDWHGUHVHDUFKDQGGHYHORSPHQWRU E WKH
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DFNQRZOHGJHVWKDWKLVEUHDFKRIDQ\UHVWULFWLRQVSURYLGHGLQ6HFWLRQEHORZZLOOLQHYLWDEO\DQG
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ZKLFK(PSOR\HHGLGQRWSUHYLRXVO\KDYHDQGWRHQIRUFH(PSOR\HH¶VSURPLVHQRWWRGLVFORVHVXFK
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VROLFLWWUDQVIHUSODFHPDUNHWDFFHSWDLGFRXQVHORUFRQVXOWLQWKHSODFHPHQWUHQHZDOGLVFRQWLQXDQFHRU
UHSODFHPHQWRIDQ\LQVXUDQFH LQFOXGLQJVHOILQVXUDQFH E\RUKDQGOHVHOILQVXUDQFHSURJUDPVLQVXUDQFH
FODLPVULVNPDQDJHPHQWVHUYLFHVHPHUJHQF\RUGLVDVWHUSUHYHQWLRQRUPDQDJHPHQWVHUYLFHVRURWKHU
LQVXUDQFHDGPLQLVWUDWLYHRUVHUYLFHIXQFWLRQV ³LQVXUDQFHVHUYLFHV´ RUSURYLGHHPSOR\HHEHQHILW
EURNHUDJHFRQVXOWLQJRUDGPLQLVWUDWLRQVHUYLFHVLQWKHDUHDRIJURXSLQVXUDQFHGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQSODQVLQGLYLGXDOOLIHGLVDELOLW\DQGFDSLWDODFFXPXODWLRQSURGXFWV
LQYHVWPHQWDGYLVRU\VHUYLFHVZHDOWKPDQDJHPHQWRUJURXSUHWLUHPHQWVHUYLFHVGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQVHUYLFHVKXPDQUHVRXUFHVFRQVXOWLQJVHUYLFHVLQFOXGLQJZLWKRXWOLPLWDWLRQ
FRPSHQVDWLRQFRQVXOWLQJFRPSHQVDWLRQSURJUDPGHVLJQFRPSHQVDWLRQDQGEHQHILWVVXUYH\VDQGRQVLWH
KXPDQUHVRXUFHVPDQDJHPHQWDQGDOORWKHUHPSOR\HHEHQHILWDUHDVWKH&RPSDQ\LVLQYROYHGZLWK
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IRUHJRLQJIXQFWLRQVGXULQJDQ\SDUWRIWKHWZR\HDUSHULRGLPPHGLDWHO\SUHFHGLQJVXFKWHUPLQDWLRQ
  UHIHUUHGWRKHUHLQDIWHUDV³3URWHFWHG$FFRXQWV´ RU \ DQ\3URVSHFWLYH$FFRXQWRIWKH&RPSDQ\ DV
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                       7KHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGLQWKLVSDUDJUDSKZLOOEHFRQVWUXHG
EURDGO\WRLQFOXGHDOOXVHUVRILQVXUDQFHVHUYLFHVRUEHQHILWVHUYLFHVLQFOXGLQJFRPPHUFLDODQGLQGLYLGXDO
FRQVXPHUVULVNPDQDJHUVFDUULHUVDJHQWVDQGRWKHULQVXUDQFHLQWHUPHGLDULHVZKRDUHFXVWRPHUVRIWKH
&RPSDQ\RQWKHGDWH(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\WHUPLQDWHVRUDQLQVXUDQFHFDUULHU
RIIHULQJDQ\FXVWRPSURJUDPIRUZKLFKWKH&RPSDQ\DFWVDVPDQDJLQJJHQHUDODJHQWPDQDJLQJJHQHUDO
XQGHUZULWHUSURJUDPPDQDJHURUXQGHUZULWLQJDJHQWUHJDUGOHVVRIKRZWKHUHODWLRQVKLSLVGRFXPHQWHGRU
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EXVLQHVVWKURXJKPRUHWKDQRQHHQWLW\GLYLVLRQRURSHUDWLQJXQLWZKHWKHURUQRWVHSDUDWHO\LQFRUSRUDWHG
  D³&OLHQW*URXS´ WKHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGKHUHLQZLOOLQFOXGHSURGXFWVRUVHUYLFHV
ZLWKLQDQ\HQWLW\GLYLVLRQRURSHUDWLQJXQLWRIWKH&OLHQW*URXSZKHUHWKHVDPHPDQDJHPHQWJURXS
ZLWKLQWKH&OLHQW*URXSKDVWKHSULPDU\GHFLVLRQPDNLQJDXWKRULW\ZLWKUHVSHFWWRFRQWUDFWLQJIRUVHUYLFHV
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EHIUHHWRFDOORQWKHUHWDLODJHQWVRIWKH&RPSDQ\VRORQJDVWKHUHLVQRFRQWDFWRUVROLFLWDWLRQRIDQ\
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RQEHKDOIRIWKH&RPSDQ\ LL KDGPDWHULDOFRQWDFWRUDFTXLUHG&RQILGHQWLDO,QIRUPDWLRQDVDUHVXOWRIRU
LQFRQQHFWLRQZLWK(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\RU LLL LQFXUUHGWUDYHODQGRU
HQWHUWDLQPHQWH[SHQVHVZKLFKZHUHUHLPEXUVHGE\WKH&RPSDQ\WR(PSOR\HHEXWWKHWHUP3URVSHFWLYH
$FFRXQWGRHVQRWLQFOXGHDQDFFRXQWWKDWLVDFXVWRPHURI(PSOR\HH¶VQHZHPSOR\HU IRUWKHVDPHW\SH
RILQVXUDQFHDQGRUEHQHILWVVHUYLFHVIRUZKLFKVXFKFXVWRPHUZDVD3URVSHFWLYH$FFRXQWRIWKH
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ZLOOH[SUHVVO\LQFOXGHEXWQRWEHOLPLWHGWRWKHIROORZLQJ ZKLFKLVQRWLQWHQGHGWREHDQH[KDXVWLYHOLVW
RIGLUHFWRULQGLUHFWVROLFLWDWLRQEXWLVPHDQWWRSURYLGHH[DPSOHVRIFHUWDLQUHDVRQDEO\DQWLFLSDWHG
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3URWHFWHG$FFRXQWRU3URVSHFWLYH$FFRXQWWKHSXUSRVHRIZKLFKLVWRFRPPXQLFDWHWKDW(PSOR\HHKDV
HLWKHUIRUPHGKLVRZQEXVLQHVVHQWHUSULVHRUMRLQHGDQH[LVWLQJEXVLQHVVHQWHUSULVHWKDWZLOORIIHUSURGXFWV
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EXVLQHVVHQWHUSULVHWKDWZLOORIIHUSURGXFWVRUVHUYLFHVLQDQ\ZD\FRPSHWLWLYHZLWKWKH&RPSDQ\
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IDFLOLWDWHGE\(PSOR\HHGLUHFWO\RULQGLUHFWO\RULI(PSOR\HHZLOORULVLQWHQGHGWREHQHILWGLUHFWO\RU
LQGLUHFWO\E\VXFKFRPPXQLFDWLRQ LIWKHFRPPXQLFDWLRQLQDQ\ZD\UHODWHVWRLQVXUDQFHRUEHQHILWV
VHUYLFHVSURYLGHGKRZHYHUQRWKLQJKHUHLQLVLQWHQGHGWROLPLWFRPPXQLFDWLRQVRUFRQWDFWVWKDWDUH
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LIDQ\(PSOR\HHLVSULQFLSDOO\HPSOR\HGLQ/RXLVLDQDWKLV6HFWLRQ & ZLOOQRWEHFRQVLGHUHGSDUWRI
WKLV$JUHHPHQWDQGZLOOEHUHSODFHGLQLWVHQWLUHW\E\WKHDWWDFKHG6FKHGXOHZKLFKLVLQFRUSRUDWHGE\
UHIHUHQFH(PSOR\HHXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWWKHXVHRI6FKHGXOHLVQHFHVVLWDWHGE\WKH
UHTXLUHPHQWVDQGSHFXOLDULWLHVRIWKHODZVRI/RXLVLDQD6FKHGXOHZLOODSSO\RQO\LILWLVDWWDFKHGDQG
LQLWLDOHGE\WKH&RPSDQ\DQG(PSOR\HH
                ,Q$//27+(567$7(6
                (PSOR\HHXQGHUVWDQGVDQGDJUHHVWKDWPDQ\RIWKHDFFRXQWVIRUZKLFKKHZLOOSHUIRUP
LQVXUDQFHDQGRUEHQHILWVVHUYLFHVZKLOHHPSOR\HGE\WKH&RPSDQ\DUHQDWLRQDODFFRXQWVDQGWKDW
(PSOR\HHZLOOSHUIRUPLQVXUDQFHDQGRUEHQHILWVHUYLFHVIRU&RPSDQ\DFFRXQWVWKURXJKRXWWKHHQWLUH
FRXQWU\(PSOR\HHDJUHHVDQGDFNQRZOHGJHVWKDWWKHJHRJUDSKLFVFRSHUHODWLQJWRWKHUHVWULFWLRQV
SURYLGHGLQWKLV6HFWLRQZLOOLQFOXGHWKHHQWLUH8QLWHG6WDWHVDQGWKDWVLQFHWKHSRVWHPSOR\PHQW
UHVWULFWLRQVKHUHLQSURYLGHGDUHWLHGGLUHFWO\WR$FFRXQWVRIWKH&RPSDQ\IRUZKRP(PSOR\HHSHUIRUPHG
LQVXUDQFHDQGRUEHQHILWVHUYLFHVGXULQJWKHWZR\HDUSHULRGLPPHGLDWHO\SUHFHGLQJWHUPLQDWLRQRIKLV
HPSOR\PHQWDQG3URVSHFWLYH$FFRXQWVWKLVJHRJUDSKLFOLPLWDWLRQLVUHDVRQDEOH0RUHRYHU(PSOR\HH
DFNQRZOHGJHVDQGDJUHHVWKDWWKHUHVWULFWLRQVFRQWDLQHGLQWKLV6HFWLRQGRQRWSURKLELW(PSOR\HHIURP
FRPSHWLQJZLWKWKH&RPSDQ\RUSHUIRUPLQJLQVXUDQFHRUEHQHILWVVHUYLFHVIRUSRWHQWLDOFOLHQWVWKURXJKRXW
WKHHQWLUHZRUOGH[FHSWIRU3URWHFWHG$FFRXQWVDQG3URVSHFWLYH$FFRXQWVDQGWKDWWKRVHUHVWULFWLRQVDUH
UHDVRQDEOHDQGQDUURZO\WDLORUHGWRIXUWKHUWKH&RPSDQ\¶VOHJLWLPDWHLQWHUHVWWRSURWHFWLWV&RQILGHQWLDO
,QIRUPDWLRQDFFRXQWUHODWLRQVKLSVDQGJRRGZLOODQGVXFKUHVWULFWLRQVZLOOQRWXQGXO\EXUGHQ
(PSOR\HH¶VDELOLW\WRHDUQDOLYLQJDIWHUKLVHPSOR\PHQWZLWKWKH&RPSDQ\LVWHUPLQDWHG
         '    ,IZLWKLQWZR  \HDUVRIWKHWHUPLQDWLRQRI(PSOR\HH¶VHPSOR\PHQWWKH(PSOR\HH
HQJDJHVLQRUMRLQVDFRPSDQ\RUEXVLQHVVHQWHUSULVHHQJDJHGLQSURYLGLQJLQVXUDQFHDQGRUEHQHILWV
VHUYLFHVWKHQWKH&RPSDQ\PD\DGYLVHDQ\3URWHFWHG$FFRXQWDQGRU3URVSHFWLYH$FFRXQWRIWKH
H[LVWHQFHDQGWHUPVRIWKLV$JUHHPHQWDQGPD\JLYHWKHPDFRS\RIWKLV$JUHHPHQW
         (    (PSOR\HHUHFRJQL]HVWKDWHPSOR\HHVRIWKH&RPSDQ\DUHDYDOXDEOHUHVRXUFHRIWKH
&RPSDQ\$FFRUGLQJO\GXULQJ(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\(PSOR\HHZLOOQRWGLUHFWO\
RULQGLUHFWO\VROLFLWLQGXFHHQWLFHRUUHFUXLWDQ\HPSOR\HHRIWKH&RPSDQ\WROHDYHWKHLUHPSOR\PHQW
ZLWKWKH&RPSDQ\,QDGGLWLRQIRUDSHULRGRIWZR  \HDUVIROORZLQJWKHWHUPLQDWLRQRI(PSOR\HH¶V
HPSOR\PHQWZLWKWKH&RPSDQ\IRUDQ\UHDVRQZKDWVRHYHU(PSOR\HHZLOOQRWGLUHFWO\RULQGLUHFWO\
VROLFLWLQGXFHRUUHFUXLWDQ\HPSOR\HHRIWKH&RPSDQ\ZKRKDVEHHQSURYLGHG&RQILGHQWLDO,QIRUPDWLRQ
WROHDYHWKHHPSOR\RIWKH&RPSDQ\
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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6HFWLRQ      $VVLJQPHQW
        ([FHSWDVSURYLGHGLQ6HFWLRQWKLV$JUHHPHQWZLOOQRWEHDIIHFWHGE\DQ\PHUJHURU
FRQVROLGDWLRQRURWKHUUHRUJDQL]DWLRQRIWKH&RPSDQ\DQGZLOOEHDVVLJQDEOHWRELQGLQJXSRQDQGZLOO
LQXUHWRWKHEHQHILWRIWKHFRQWLQXLQJHQWLW\RUWRDQ\VXFFHVVRULQLQWHUHVWWRWKH&RPSDQ\LQFOXGLQJ
ZLWKRXWOLPLWDWLRQDQ\HQWLW\WRZKLFKWKH&RPSDQ\VHOOVEXVLQHVVDVVHWVDQGRUDFFRXQWVRIDQ\EUDQFK
EXVLQHVVXQLWRUSURILWFHQWHULQZKLFK(PSOR\HHLVSULPDULO\HPSOR\HG7KLV$JUHHPHQWDOVRZLOOLQXUHWR
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&RPSDQ\PD\DVVLJQWKLV$JUHHPHQWWRDQ\DIILOLDWHFRPSDQ\RI$-*LQZKLFKFDVHH[FHSWIRUSXUSRVHV
RI6HFWLRQKHUHRIDOOUHIHUHQFHVWR³WKH&RPSDQ\´DQGDOOULJKWVRIWKH&RPSDQ\ZLOOLQFOXGHDQG
LQXUHWRWKHEHQHILWRIWKDWDIILOLDWH(PSOR\HHPD\QRWDVVLJQWKLV$JUHHPHQWRUDQ\REOLJDWLRQV
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        1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\WKHREOLJDWLRQVRI(PSOR\HHVWDWHGLQ6HFWLRQ
ZLOOEHFRPHQXOODQGYRLGDQGKDYHQRIXUWKHUHIIHFWLPPHGLDWHO\XSRQD+RVWLOH&KDQJHLQ&RQWURORI
$-*DVGHILQHGKHUHLQ7KH&RPSDQ\ZLOOVHQGZULWWHQQRWLFHWR(PSOR\HHZLWKLQWHQ  GD\VRID
+RVWLOH&KDQJHLQ&RQWURORI$-*QRWLI\LQJ(PSOR\HHWKDWVXFKHYHQWKDVWDNHQSODFH)DLOXUHRIWKH
&RPSDQ\WRVHQGVXFKQRWLFHZLOOQRWSUHFOXGHWKHUHOHDVHRI(PSOR\HHIURPWKHREOLJDWLRQVFRQWDLQHGLQ
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D&KDQJHLQ&RQWUROZKLFKZDVQRWDSSURYHGE\RULQDQHOHFWLRQWKHGLUHFWRUVHOHFWHGZHUHQRW
QRPLQDWHGE\DWOHDVWWZRWKLUGVRIWKHPHPEHUVRIWKH%RDUGRI'LUHFWRUVRI$-*LQRIILFHLPPHGLDWHO\
SULRUWRWKH&KDQJHLQ&RQWUROZKRKDYHQRWGLHGRUEHFRPHSHUPDQHQWO\GLVDEOHG
        %     7KHWHUP³&KDQJHLQ&RQWURO´RI$-*PHDQVDQGLQFOXGHVHDFKDQGDOORIWKHIROORZLQJ
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DIILUPDWLYHYRWHRIWKHKROGHUVRIQRWOHVVWKDQRIWKHRXWVWDQGLQJVKDUHVRIWKHYRWLQJVWRFNKHOGE\
VKDUHKROGHUVRWKHUWKDQ5HODWHG3HUVRQVRU
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DSSURYHGLQDGYDQFHWKHDFTXLVLWLRQRIRXWVWDQGLQJVKDUHVRIYRWLQJVWRFNRIWKHFRUSRUDWLRQWKDWFDXVHG
WKH5HODWHG3HUVRQWREHFRPHD5HODWHG3HUVRQRU LL KDYHDSSURYHGWKH%XVLQHVV&RPELQDWLRQSULRUWR
WKH5HODWHG3HUVRQLQYROYHGLQWKH%XVLQHVV&RPELQDWLRQKDYLQJEHFRPHD5HODWHG3HUVRQRU
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FRUSRUDWLRQRUPRUHRIWKHYRWLQJVWRFNRIZKLFKLVRZQHGE\$-*DQGQRQHRIZKLFKLVRZQHGE\
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FRQVLGHUDWLRQWREHUHFHLYHG´SHUVKDUHE\KROGHUVRIFRPPRQVWRFNLQ$-*LQWKH%XVLQHVV&RPELQDWLRQ
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FRPPLVVLRQVWUDQVIHUWD[HVDQGVROLFLWLQJGHDOHUV¶IHHV SDLGE\WKH5HODWHG3HUVRQLQDFTXLULQJDQ\RILWV
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WRWKHPDUNHWSULFHRI$-*¶VFRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHDQQRXQFHPHQWRIVXFK%XVLQHVV
&RPELQDWLRQDVWKHKLJKHVWSHUVKDUHSULFHGHWHUPLQHGLQL DERYHEHDUVWRWKHPDUNHWSULFHRI$-*¶V
FRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHFRPPHQFHPHQWRIWKHDFTXLVLWLRQRI$-*¶VYRWLQJVWRFNWKDW
FDXVHGVXFK5HODWHG3HUVRQWREHFRPHD5HODWHG3HUVRQRU
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VKDUHRI$-*¶VFRPPRQVWRFNIRUWKHIRXUILVFDOTXDUWHUVLPPHGLDWHO\SUHFHGLQJWKHUHFRUGGDWHIRU
GHWHUPLQDWLRQRIVWRFNKROGHUVHQWLWOHGWRYRWHRQVXFK%XVLQHVV&RPELQDWLRQE\WKHSULFHHDUQLQJV
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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PXOWLSOHRIWKH5HODWHG3HUVRQDVRIWKHUHFRUGGDWHDVFXVWRPDULO\FRPSXWHGDQGUHSRUWHGLQWKHILQDQFLDO
SUHVV$SSURSULDWHDGMXVWPHQWVZLOOEHPDGHZLWKUHVSHFWWRWKHVHVXEVHFWLRQVL LL DQGLLL IRU
UHFDSLWDOL]DWLRQVDQGIRUVWRFNVSOLWVVWRFNGLYLGHQGVDQGOLNHGLVWULEXWLRQVDQG
                                ,,    $WLPHO\PDLOLQJZLOOKDYHEHHQPDGHWRWKHVWRFNKROGHUVRI
$-*VKRZLQJLQDSURPLQHQWSODFH [ DQ\UHFRPPHQGDWLRQVDVWRWKHDGYLVDELOLW\ RULQDGYLVDELOLW\ RI
WKH%XVLQHVV&RPELQDWLRQWKDWWKH&RQWLQXLQJ'LUHFWRUVRU2XWVLGH'LUHFWRUVPD\FKRRVHWRVWDWHLIWKHUH
DUHDWWKHWLPHDQ\VXFKGLUHFWRUVDQG \ WKHRSLQLRQRIDUHSXWDEOHQDWLRQDOO\UHFRJQL]HGLQYHVWPHQW
EDQNLQJRUILQDQFLDOVHUYLFHVILUPDVWRWKHIDLUQHVVIURPWKHILQDQFLDOSRLQWRIYLHZRIWKHWHUPVRIWKH
%XVLQHVV&RPELQDWLRQWRWKHVWRFNKROGHUVRI$-*RWKHUWKDQWKH5HODWHG3HUVRQ VXFKILUPWREHHQJDJHG
VROHO\RQEHKDOIRIVXFKRWKHUVWRFNKROGHUVWREHSDLGDUHDVRQDEOHIHHIRULWVVHUYLFHVE\$-*XSRQ
UHFHLSWRIVXFKRSLQLRQWREHDILUPWKDWKDVQRWSUHYLRXVO\EHHQVLJQLILFDQWO\DVVRFLDWHGZLWKWKH5HODWHG
3HUVRQDQGLIWKHUHDUHDWWKHWLPHDQ\VXFKGLUHFWRUVWREHVHOHFWHGE\DPDMRULW\RIWKH&RQWLQXLQJ
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LQGLYLGXDODFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\WREHFRPHD5HODWHG3HUVRQ
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FRQVWLWXWHWKHHQWLUH%RDUGRI'LUHFWRUVRIWKH&RPSDQ\ZLOOIRUDQ\UHDVRQRWKHUWKDQGHDWKRUSHUPDQHQW
GLVDELOLW\GXULQJVXFKSHULRGFHDVHWRFRQVWLWXWHDPDMRULW\WKHUHRI
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WR,WHP H RI6FKHGXOH$RI5HJXODWLRQ$SURPXOJDWHGXQGHUWKH6HFXULWLHV$FWRIDV
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ZLWKRULQWRD5HODWHG3HUVRQ LL DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQLQFOXGLQJ
ZLWKRXWOLPLWDWLRQDPRUWJDJHRUDQ\RWKHUVHFXULW\GHYLFHRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRI
WKH&RPSDQ\WRD5HODWHG3HUVRQ LLL DQ\PHUJHURUFRQVROLGDWLRQRID5HODWHG3HUVRQZLWKRULQWR$-*
  LY DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRID
5HODWHG3HUVRQWRWKH&RPSDQ\ Y WKHLVVXDQFHRIDQ\VHFXULWLHVRIWKH&RPSDQ\WRD5HODWHG3HUVRQ
  YL WKHDFTXLVLWLRQE\WKH&RPSDQ\RIDQ\VHFXULWLHVLVVXHGE\D5HODWHG3HUVRQ YLL DQ\UHFODVVLILFDWLRQ
RIVHFXULWLHVUHFDSLWDOL]DWLRQRURWKHUWUDQVDFWLRQGHVLJQHGWRGHFUHDVHWKHQXPEHURIKROGHUVRI$-*¶V
YRWLQJVHFXULWLHVUHPDLQLQJLIWKHUHLVD5HODWHG3HUVRQDQG YLLL DQ\DJUHHPHQWFRQWUDFWRURWKHU
DUUDQJHPHQWSURYLGLQJIRUDQ\RIWKHWUDQVDFWLRQVGHVFULEHGLQWKLVGHILQLWLRQRI%XVLQHVV&RPELQDWLRQ
         '     7KHWHUP³5HODWHG3HUVRQ´ZLOOPHDQDQGLQFOXGHDQ\LQGLYLGXDOFRUSRUDWLRQ
SDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\ZKLFKWRJHWKHUZLWKWKHLU³$IILOLDWHV´DQG³$VVRFLDWHV´ DVGHILQHG
DVRI1RYHPEHULQ5XOHEXQGHUWKH6HFXULWLHV([FKDQJH$FWRI ³%HQHILFLDOO\2ZQV´
  DVGHILQHGDVRI1RYHPEHULQ5XOHGXQGHUWKH6HFXULWLHV([FKDQJH$FWRI LQWKH
DJJUHJDWHRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKHYRWLQJVWRFNRI$-*DQGDQ\$IILOLDWHRU
$VVRFLDWHRIDQ\VXFKLQGLYLGXDOFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\SURYLGHGWKDW5HODWHG
3HUVRQZLOOQRWLQFOXGHDQ\SHUVRQZKREHQHILFLDOO\RZQHGRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKH
YRWLQJVWRFNRI$-*RQ1RYHPEHU:LWKRXWOLPLWDWLRQDQ\VKDUHVRIYRWLQJVWRFNRI$-*WKDWDQ\
5HODWHG3HUVRQKDVWKHULJKWWRDFTXLUHSXUVXDQWWRDQ\DJUHHPHQWRUXSRQH[HUFLVHRIFRQYHUVLRQULJKWV
ZDUUDQWVRURSWLRQVRURWKHUZLVHZLOOEHGHHPHGEHQHILFLDOO\RZQHGE\WKH5HODWHG3HUVRQ
         (     7KHWHUP³6XEVWDQWLDO3DUW´ZLOOPHDQPRUHWKDQRIWKHIDLUPDUNHWYDOXHRIWKHWRWDO
DVVHWVRIWKHFRUSRUDWLRQLQTXHVWLRQDVRIWKHHQGRILWVPRVWUHFHQWILVFDO\HDUHQGLQJSULRUWRWKHWLPH
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VWRFNRI$-*UHWDLQHGE\LWVH[LVWLQJSXEOLFVWRFNKROGHUVLQWKHHYHQWRID%XVLQHVV&RPELQDWLRQLQZKLFK
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      2UOHDQV                2XDFKLWD               3ODTXHPLQHV            3RLQWH
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                    Exhibit H6
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 86 of 131 PageID #:396
                                                                                 Revised 8.27.2015



                                  EMPLOYEE AGREEMENT

       This Employee Agreement (“Agreement”) is made and entered into as of the Effective
Date (as defined below) by and between Jordan Laeyendecker               (hereinafter referred to as
“Employee”) and Arthur J. Gallagher & Co., a Delaware corporation with its principal place of
business in Itasca, Illinois and its subsidiaries, divisions and affiliated and related companies
(hereinafter referred to collectively as “AJG” or the “Company”).

                                            RECITALS

       WHEREAS, Employee has been hired, or is being retained, as a valued key employee
who with the execution of this Agreement will be provided and will continue to be provided
during his employment with valuable confidential and proprietary and trade secret information of
the Company and will have significant managerial, production, administrative, technical and/or
account servicing responsibilities; and

        WHEREAS, the parties hereto acknowledge that the Company has a legitimate interest
in retaining the services of Employee and accepting the covenants herein provided in order to
protect its confidential and proprietary and trade secret information and to preserve the
Company’s goodwill, customer relationships, employment relationships and value of the
business to be handled by Employee as an employee of the Company;

        NOW THEREFORE, in consideration of these recitals and the mutual covenants and
promises set forth below, and for other good and valuable consideration including, but not
limited to, employment with the Company, receipt of the compensation and benefits attendant to
such employment, receipt and the ability to utilize the Company’s confidential, proprietary and
trade secret information, and/or being provided or allowed access to and contact with certain
Company accounts, all of which the parties acknowledge as sufficient consideration for this
Agreement, the parties agree as follows:

Section 1.     Employment.

        The Company agrees to employ Employee and Employee agrees to serve the Company
and perform the duties set forth below beginning on the Effective Date and continuing thereafter
until employment is terminated by either party. The Employee’s employment is “at will” and is
terminable by either party as provided below (except in jurisdictions where “at will” employment
is not recognized). The Employee’s continued employment with the Company is subject to the
terms and conditions of this Agreement.

Section 2.     Duties.

        A.      Employee agrees to devote his full energies, abilities, attention and business time
to the performance of his employment obligations and responsibilities. Employee agrees that he
will not engage in any activity which conflicts or interferes with, or in any way compromises, his
performance of those obligations and responsibilities. Employee will comply with all applicable
Company policies and procedures. Employee will not, either during or outside normal business
hours, directly or indirectly sell, solicit, service, manage or engage in any aspect of the insurance,



                                           Page 1 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 87 of 131 PageID #:397
                                                                             Revised 8.27.2015



benefits or wealth management businesses for or on behalf of any person or entity other than the
Company, nor engage in any activity that is not in the best interests of the Company.

        B.      Employee recognizes that, by virtue of his employment by the Company and to
assist him in the solicitation, production, management, and/or servicing of accounts, he will be
provided and granted otherwise prohibited access to certain confidential and proprietary data and
trade secret information of the Company which is not known either to its competitors or within
the industry generally and which has independent economic value to the Company, and is subject
to reasonable efforts that are reasonable under the circumstances to maintain its secrecy. This
information (collectively hereinafter “Confidential Information”) may include, but is not limited
to: data relating to the Company’s unique marketing and servicing programs, procedures and
techniques; investment, wealth management and retirement plan consulting, variable annuities,
and fund investment business and related products and services; underwriting criteria for general
programs; business, management and human resources/personnel strategies and practices; the
criteria and formulae used by the Company in pricing its insurance and benefits products and
claims management, loss control and information management services; the structure and pricing
of special insurance packages negotiated with underwriters; highly sensitive information about
the Company’s agreements and relationships with underwriters; sales data contained in various
tools and resources (including, without limitation, Salesforce.com); lists of prospects; the
identity, authority and responsibilities of key contacts at Company accounts and prospects; the
composition and organization of Company accounts’ businesses; the peculiar risks inherent in
the operations of Company accounts; highly sensitive details concerning the structure, conditions
and extent of existing insurance coverages of Company accounts; policy expiration dates,
premium amounts and commission rates relating to Company accounts; risk management service
arrangements relating to Company accounts; loss histories relating to Company accounts;
candidate and placement lists relating to Company accounts; the Company’s personnel and
payroll data including details of salary, bonus, commission and other compensation
arrangements; and other data showing the particularized insurance or consulting requirements
and preferences of Company accounts. Employee understands that his job duties may include
assisting in the development of information and data that is Confidential Information belonging
to the Company. Confidential Information may be stored in files, documents, dailies, daily
reports, renewal information, customer lists, accounting records, products purchased by
customers, customer account and credit data, referral sources, computer programs and software,
customer comments, Company written manuals and marketing and financial analysis, plans,
research and programs. Employee recognizes that this Confidential Information constitutes
valuable property of the Company, developed over a long period of time and at substantial
expense and that the Company takes reasonable efforts to keep this Confidential Information
confidential and made available only to those employees who need access to such Confidential
Information to perform their job functions for the Company. Employee promises to safeguard
such Confidential Information, and agrees that he will not, at any time during his employment by
the Company, divulge such Confidential Information or make use of it for his own purposes or
the purposes of another.

       Notwithstanding the generality of these prohibitions relating to Confidential
       Information, Employee acknowledges that nothing in this Section 2, or in this
       Agreement, prohibits Employee from reporting possible violations of federal
       law or regulation to any governmental agency or entity including, without
       limitation, the Department of Justice, the Securities and Exchange


                                         Page 2 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 88 of 131 PageID #:398
                                                                             Revised 8.27.2015



       Commission, the Congress, and any agency Inspector General, or making
       other disclosures that are protected under the whistleblower provisions of
       federal law or regulation.

        C.     The Company agrees that, during Employee’s employment with the Company, it
will: (i) provide Employee with certain Confidential Information the Employee did not
previously possess including, without limitation, Confidential Information relating to certain of
the Company’s accounts; (ii) provide Employee with information and access to the Company’s
proprietary insurance and risk management programs; (iii) provide Employee with access to the
Company’s specialized business operations relating to particular aspects of the insurance agency
and risk management business; (iv) maintain specialized training programs to which Employee
will qualify and apply; and (v) provide such other assistance which may reasonably aid
Employee in performing sales, management, technical and/or servicing duties.

        D.     Employee acknowledges and understands that an essential element of the
Company’s business is the development and maintenance of personal contacts and relationships
with its accounts, and that Employee may be provided and allowed access to certain of the
Company’s accounts for the purpose of establishing personal contact and relationships with such
accounts for the benefit of the Company. The Employee acknowledges that the Company
invests considerable time, money, and resources necessary to develop and maintain a relationship
between its employees and a client, and in that regard, the Company will pay Employee’s salary,
reimburse reasonably necessary business expenses, provide Employee with certain Confidential
Information, and provide the resources necessary to service the Company accounts managed or
serviced by Employee by making available legal advice, accounting support, advertising and
other corporate services. Moreover, while the Employee recognizes that some Company
accounts may develop greater identification with the Employee than the Company itself, those
accounts remain, at all times and for all purposes, accounts of the Company. By entering this
Agreement, Employee disclaims any interest in such Company accounts.

Section 3.    Compensation and Benefits.

        Employee will be entitled to the compensation and benefits agreed to by Employee and
the Company and as noted from time to time in Employee’s official personnel file and records
retained in the Company’s corporate headquarters, which file is incorporated by reference herein
to the extent necessary for evidencing the compensation and benefits to which Employee and the
Company have agreed. The compensation and benefits to which Employee is entitled as of the
Effective Date is noted in Employee’s official personnel file. Employee’s compensation and
benefits is subject to periodic change at the Company’s discretion.

Section 4.    Representations.

       Employee represents and warrants to the Company that:

         A.      Employee is not, and will not become, a party to any agreement, contract,
arrangement or understanding, whether of employment or otherwise, that would in any way
restrict him from undertaking or performing his duties in accordance with this Agreement or that
limits his ability to be employed by the Company under this Agreement;



                                         Page 3 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 89 of 131 PageID #:399
                                                                              Revised 8.27.2015



      B.     Employment by the Company will not violate the terms of any policy of any prior
employer of Employee regarding competition, solicitation or confidentiality;

       C.     Employment by the Company in the position contemplated by this Agreement
will not require him to improperly use any trade secrets or confidential or proprietary
information of any prior employer, or any other person or entity for whom he has performed
services;

       D.     Employee has not misused, and will not misuse, any confidential or proprietary
information obtained from any prior employer or any other person or entity;

       E.      Employee has not improperly taken or retained in any form whatsoever, or
otherwise retained access to, any confidential or proprietary information of any prior employer or
any other person or entity; and

      F.      EMployee is in compliance with any non-competition and/or non-solicitation
agreements, or other restrictive covenant obligations in place between him and any former
employer and will continue to be in compliance, regardless of whether he believes such
agreements and/or restrictive covenants are enforceable or not.

        G.     Employee was provided a reasonable period of time, not less than fourteen (14)
days, to review and consider this Agreement prior to signing it and accepting employment with
the Company. If Employee elects to sign this Agreement sooner than fourteen (14) days prior to
the commencement of employment, he represents and acknowledges that he chose to do so
voluntarily.

Section 5.     Termination of Employment Relationship.

       A.      The Company or the Employee may terminate Employee’s employment at any
time and for any reason upon twenty-one (21) days’ written notice (the “Notice Period”) by the
party wishing to terminate the employment; provided, however, that notice is not required from
the Company for any termination taking place: (1) during the Employee’s first ninety (90) days
of employment (or other applicable Introductory Period pursuant to Company policy); (2) during
the pendency of any Performance Improvement Plan issued pursuant to the Company’s
performance management policies; or (3) as a result of Employee’s commission of any act that
would result in immediate termination under the Company’s Performance Improvement and
Management policies then in effect.

       B.      The Company agrees to continue during the Notice Period the same compensation
and benefits Employee was receiving prior to the Notice Period. Alternatively, where
termination is initiated by the Company, the Company may elect to terminate employment
immediately and provide Employee, in lieu of the Notice Period, a lump sum payment equivalent
to Employee’s base pay for the Notice Period. The parties agree that once the Notice Period
expires, the Employee’s entitlement to compensation and benefits ends.

        C.     Employee agrees that during the Notice Period, he will cooperate fully with the
Company in all matters relating to the winding up of any pending work and/or the orderly
transfer to other Company employees of the accounts for which he has been responsible.
Employee specifically covenants that during the Notice Period (regardless of whether or not


                                         Page 4 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 90 of 131 PageID #:400
                                                                               Revised 8.27.2015



active employment responsibilities are continuing) his duties to the Company, including
Employee’s fiduciary duty of loyalty, will continue in effect. Prior to the expiration of the
Notice Period, Employee promises to return to the Company all originals and copies (whether
paper, digital copies or otherwise) of literature, correspondence, memoranda, reports, summaries,
manuals, proposals, contracts and other documents of any kind which relate in any way to the
business of the Company, including specifically all materials which comprise or refer to the
Company’s Confidential Information. The Employee covenants that he will not retain any copy,
facsimile or note intended to memorialize any such data. Employee further understands and
agrees that, during or at the expiration of the Notice Period, and as part of his assigned job
duties, he will reasonably participate in any meeting the Company may convene to: (i) review the
status of any projects or work Employee has been assigned; (ii) review the status of accounts for
which Employee has been most recently responsible or associated; (iii) ensure that Employee has
fully obtained his entitlements under this Agreement and as provided by law; and/or (iv) confirm
that Employee understands the nature and scope of his post-employment obligations.

        D.      Upon the termination of Employee’s employment for any reason, Employee
agrees that the Secretary of the Company may, as an irrevocable proxy and in Employee’s name
and stead, execute all documents and things which the Company deems necessary and desirable
to effect Employee’s resignation as an officer or director of any company (if applicable) included
within the definition of the Company as used in this Agreement.

      E.      Before accepting any new employment in the insurance, benefits or wealth
management industries, Employee promises to give his prospective new employer a copy of this
Agreement. Employee permits the Company to advise any prospective new employer of
Employee of the existence and terms of this Agreement and to provide it with a copy.

        F.      During employment and after the termination of same Employee agrees to remain
available to the Company and its legal counsel, voluntarily upon the Company’s request and
without the necessity of subpoena or court order, in connection with the Company’s
investigation, preparation, prosecution and/or defense of any actual or potential legal proceeding,
regulatory action, or internal matter. The Employee agrees to cooperate with the Company, to
provide any information reasonably within his recollection and to provide truthful testimony as
required. If Employee is called upon to provide cooperation after employment has been
terminated, the Company will reimburse Employee for reasonable out-of-pocket expenses
actually incurred under this section or, at the Company’s option, will advance Employee’s
reasonable expenses or incur them directly.

       G.      Employee agrees that while he is employed by the Company, and following the
termination of his employment, he will not make any false, defamatory or disparaging statements
about the Company, its officers or directors where such statements are calculated to, or
reasonably likely to cause material damage to the Company, its officers or directors.

Section 6.     The Company’s Right to Injunctive Relief; Attorneys’ Fees.

        The Employee acknowledges that his services to the Company are of a unique character
which gives them a special value to the Company, the loss of which cannot reasonably or
adequately be compensated in damages in an action at law should the Employee breach, or
threaten to breach, any post-employment obligations under this Agreement. The Employee


                                          Page 5 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 91 of 131 PageID #:401
                                                                                 Revised 8.27.2015



realizes that: (a) it would be difficult to measure precisely the damages to the Company from any
breach by Employee of Sections 7 and/or 8 of this Agreement; (b) injury to the Company from
any such breach would be incalculable and irremediable; and (c) money damages would
therefore be an inadequate remedy for any such breach. Accordingly, in addition to any other
remedy the Company may have at law or in equity, the Company will be entitled to enforce this
Agreement by obtaining a temporary restraining order and preliminary and permanent injunctive
relief to restrain any such breach or further breach by Employee. Employee expressly waives the
right to contest whether a breach of Section 7 or 8 of this Agreement would result in irreparable
or permanent harm to the Company. In addition, Employee agrees that the Company may seek
injunctive relief when and if it elects to do so and any delay in seeking injunctive relief will not
prejudice or waive the Company’s right to do so. Employee expressly waives the right to assert
that the Company is not entitled to injunctive relief because of any delay in seeking such relief.
Employee agrees that he will be responsible for and pay the Company its reasonable attorneys’
fees and other expenses and costs incurred to enforce this Agreement if the Company is the
prevailing party. Employee further agrees that if Employee breaches any covenant contained in
Sections 7 and/or 8 of this Agreement, the Company will be entitled, in addition to all other legal
or equitable remedies it may have, to offset and withhold against any such loss, cost, liability or
expense any amount of any kind that may then be owing or payable by Company to Employee.

Section 7.     Trade Secrets and Confidential Information.

      A.      Employee acknowledges that the Company’s business depends to a great degree
upon having information which is not generally known to others, and that the profitability of the
Company’s business requires that this information be kept confidential and proprietary within the
Company. Accordingly:

               (1)     Employee agrees that all intellectual property, such as computer programs,
                       systems or software, developed during his employment or as a result of his
                       employment is “work for hire” performed by Employee in the scope of his
                       employment. To the extent that any such intellectual property is
                       determined not to constitute “work for hire,” or if any rights in any such
                       intellectual property do not accrue to the Company as a “work for hire,”
                       Employee’s signature on this Agreement constitutes an assignment
                       (without any further consideration) to the Company of any and all
                       copyrights and other rights, title and interest in and to all such intellectual
                       property. The Company will retain all proprietary rights to any and all
                       such intellectual property. Employee agrees to execute any documents
                       necessary to perfect the Company’s interest in such intellectual property
                       upon the Company’s request.

               (2)     Employee has been advised by this writing and understands that the
                       foregoing provisions of Section 7(A)(1) do not apply to an item of
                       intellectual property for which no equipment, supplies, facilities or
                       Confidential Information of the Company was used and which was
                       developed entirely on Employee’s own time, unless: (a) the item of
                       intellectual property relates to the business of the Company or to the
                       Company’s actual or demonstrably anticipated research and development;



                                           Page 6 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 92 of 131 PageID #:402
                                                                              Revised 8.27.2015



                      or (b) the item of intellectual property results from any work performed by
                      Employee for the Company.

      B.      Employee recognizes the highly sensitive nature of the Confidential Information
he will be given (and to which he will have access throughout his employment) and
acknowledges the Company’s legitimate interest in safeguarding it from disclosure.
Accordingly, in addition to the restrictions provided in Section 8 below, Employee agrees that:

               (1)    after his employment with the Company is terminated, he will not directly
                      or indirectly disclose, use or divulge Confidential Information that
                      constitutes a trade secret of the Company or make use of it for his own
                      purpose or the purpose of another; and

               (2)    for a period of two (2) years following the termination of his employment
                      with the Company, he will not divulge Confidential Information that does
                      not constitute a trade secret of the Company or make use of it for his own
                      purpose or the purpose of another.

               (3)    not all of the Company’s Confidential Information will rise to the level of
                      a trade secret of the Company; even so, all Confidential Information will
                      be entitled to the protections and restrictions provided in this Agreement.

       C.      Employee understands and acknowledges that he will benefit significantly from
having access to and being given Confidential Information. Employee agrees that but for his
promise to safeguard Confidential Information and the further restrictive covenants contained in
Section 8 below, the Company would not agree to provide Employee with Confidential
Information. Further, Employee acknowledges that his breach of any restrictions provided in
Section 8 below will inevitably and necessarily lead to the prohibited disclosure or use of
Confidential Information.

Section 8.     Protection of the Company’s Protectable Interests.

        To protect the legitimate interests of the Company in, among other things, protecting its
Confidential Information, employment relationships, relationships with Company accounts and
goodwill, and in consideration for, among other things as provided in this Agreement, the
Company’s promise to give Employee certain Confidential Information, some of which
constitutes trade secrets of the Company which Employee did not previously have, and to
enforce Employee’s promise not to disclose such Confidential Information, Employee agrees to
the following restrictive covenants, which Employee acknowledges and agrees are reasonably
necessary and narrowly tailored to protect the Company’s legitimate business interests:

        A.      In OKLAHOMA only: Employee and the Company agree that during the period
of time, if any, Employee is principally employed in OKLAHOMA, this subsection Section 8(A)
will not be considered part of this Agreement and will be replaced in its entirety by the attached
Schedule 1, which is incorporated by reference. Employee understands and acknowledges that
the use of Schedule 1 is necessitated by the requirements and peculiarities of the laws of
Oklahoma.

               In ALL OTHER STATES (excluding California):

                                         Page 7 of 18
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 93 of 131 PageID #:403
                                                                            Revised 8.27.2015




          (1)    For a period of two (2) years [or, if Employee is principally employed in
                 the State of OREGON or the State of ALABAMA, for eighteen (18)
                 months] following the termination of Employee’s employment with the
                 Company for any reason whatsoever Employee will not, directly or
                 indirectly, solicit, transfer, place, market, accept, aid, counsel or consult in
                 the placement, renewal, discontinuance or replacement of any insurance
                 (including self-insurance) by, or handle self-insurance programs,
                 insurance claims, risk management services, emergency or disaster
                 prevention or management services, or other insurance administrative or
                 service functions (“insurance services”) or provide employee benefit
                 brokerage, consulting, or administration services; in the area of group
                 insurance, defined benefit and defined contribution pension plans,
                 individual life, disability and capital accumulation products; investment
                 advisory services, wealth management, or group retirement services;
                 defined benefit and defined contribution pension services; human
                 resources consulting services, including, without limitation, compensation
                 consulting, compensation program design, compensation and benefits
                 surveys, and on-site human resources management; and all other employee
                 benefit areas the Company is involved with (“benefit services”), for: (x)
                 any Account of the Company for which Employee performed any of the
                 foregoing functions during any part of the two-year period immediately
                 preceding such termination (referred to hereinafter as “Protected
                 Accounts”), or (y) any Prospective Account of the Company (as defined
                 below).

          (2)    The term “Account of the Company” as used in this paragraph will be
                 construed broadly to include all users of insurance services or benefit
                 services, including commercial and individual consumers, risk managers,
                 carriers, agents and other insurance intermediaries who are customers of
                 the Company on the date Employee’s employment with the Company
                 terminates, or an insurance carrier offering any custom program for which
                 the Company acts as managing general agent, managing general
                 underwriter, program manager or underwriting agent, regardless of how
                 the relationship is documented or characterized.

          (3)    If an Account of the Company is part of a group of companies which
                 conducts business through more than one entity, division or operating unit,
                 whether or not separately incorporated (a “Client Group”), the term
                 “Account of the Company” as used herein will include products or
                 services within any entity, division or operating unit of the Client Group
                 where the same management group within the Client Group has the
                 primary decision making authority with respect to contracting for services
                 of the type rendered by the Company. Notwithstanding anything herein to
                 the contrary, the Employee will be free to call on the retail agents of the
                 Company, so long as there is no contact or solicitation of any account,
                 client, or Prospective Account of the Company.



                                     Page 8 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 94 of 131 PageID #:404
                                                                                 Revised 8.27.2015



        B.     For the purposes of the covenants set forth in Sections 7 and 8 of this Agreement,
the parties acknowledge and agree that the following will apply:

              (1)     The term “Prospective Account” of the Company, means any entity (other
                      than a then-current account of the Company but including former
                      Company accounts) with respect to whom, at any time during the one year
                      period preceding the termination of Employee’s employment with the
                      Company, Employee: (i) submitted or assisted in the submission of a
                      presentation or proposal of any kind on behalf of the Company, (ii) had
                      material contact or acquired Confidential Information as a result of or in
                      connection with Employee’s employment with the Company, or (iii)
                      incurred travel and/or entertainment expenses which were reimbursed by
                      the Company to Employee; but the term Prospective Account does not
                      include an account that is a customer of Employee’s new employer (for
                      the same type of insurance and/or benefits services for which such
                      customer was a Prospective Account of the Company) at the time of
                      termination of Employee’s employment with the Company.

              (2)     “Direct or indirect solicitation” of a Protected Account or Prospective
                      Account will expressly include, but not be limited to, the following (which
                      is not intended to be an exhaustive list of direct or indirect solicitation, but
                      is meant to provide examples of certain reasonably anticipated scenarios):

                      (a)    The sending of an announcement by Employee or his new
                             employer to any Protected Account or Prospective Account, the
                             purpose of which is to communicate that Employee has either
                             formed his own business enterprise or joined an existing business
                             enterprise that will offer products or services in any way
                             competitive with the Company.

                      (b)    Initiating a communication or contact by Employee or his new
                             employer with any Protected Account or Prospective Account for
                             the purpose of notifying such Protected Account or Prospective
                             Account that Employee has either formed his own business
                             enterprise or joined an existing business enterprise that will offer
                             products or services in any way competitive with the Company.

                      (c)    Communication or contact by Employee or his new employer with
                             any Protected Account or Prospective Account (if such new
                             employer’s communication with a Prospective Account was
                             facilitated by Employee, directly or indirectly, or if Employee will
                             or is intended to benefit, directly or indirectly, by such
                             communication) if the communication in any way relates to
                             insurance or benefits services; provided, however, nothing herein
                             is intended to limit communications or contacts that are unrelated
                             to insurance and/or benefits services.




                                          Page 9 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 95 of 131 PageID #:405
                                                                               Revised 8.27.2015



                       (d)    The facilitation by Employee, directly or indirectly, of any
                              Protected Accounts’ execution of a broker of record letter
                              replacing the Company as its broker of record.

       C.      In LOUISIANA only: Employee and the Company agree that during the period
of time, if any, Employee is principally employed in Louisiana, this Section 8(C) will not be
considered part of this Agreement and will be replaced in its entirety by the attached Schedule 2,
which is incorporated by reference. Employee understands and acknowledges that the use of
Schedule 2 is necessitated by the requirements and peculiarities of the laws of Louisiana.

               In ALL OTHER STATES: Employee understands and agrees that many of the
accounts for which he will perform insurance and/or benefits services while employed by the
Company are national accounts and that Employee will perform insurance and/or benefit services
for Company accounts throughout the entire country. Employee agrees and acknowledges that
the geographic scope relating to the restrictions provided in this Section 8 will include the entire
United States and that since the post-employment restrictions herein provided are tied directly to
Accounts of the Company for whom Employee performed insurance and/or benefit services
during the two-year period immediately preceding termination of his employment and
Prospective Accounts, this geographic limitation is reasonable. Moreover, Employee
acknowledges and agrees that the restrictions contained in this Section 8 do not prohibit
Employee from competing with the Company or performing insurance or benefits services for
potential clients throughout the entire world except for Protected Accounts and Prospective
Accounts, and that those restrictions are reasonable and narrowly tailored to further the
Company’s legitimate interest to protect its Confidential Information, account relationships, and
goodwill, and such restrictions will not unduly burden Employee’s ability to earn a living after
his employment with the Company is terminated.

       D.     If, within two (2) years of the termination of Employee’s employment the
Employee engages in, or joins a company or business enterprise engaged in, providing insurance
and/or benefits services, then the Company may advise any Protected Account and/or
Prospective Account of the existence and terms of this Agreement and may give them a copy of
this Agreement.

        E.      Employee recognizes that employees of the Company are a valuable resource of
the Company. Accordingly, during Employee’s employment with the Company, Employee will
not, directly or indirectly solicit, induce, entice or recruit any employee of the Company to leave
their employment with the Company. In addition, for a period of two (2) years following the
termination of Employee’s employment with the Company for any reason whatsoever, Employee
will not directly or indirectly, solicit, induce or recruit any employee of the Company who has
been provided Confidential Information to leave the employ of the Company.

Section 9.     Assignment.

       Except as provided in Section 10, this Agreement will not be affected by any merger or
consolidation or other reorganization of the Company and will be assignable to, binding upon,
and will inure to the benefit of the continuing entity or to any successor in interest to the
Company including, without limitation, any entity to which the Company sells business, assets
and/or accounts of any branch, business unit or profit center in which Employee is primarily


                                          Page 10 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 96 of 131 PageID #:406
                                                                              Revised 8.27.2015



employed. This Agreement also will inure to the benefit of every affiliate company included in
the definition of “Company” under this Agreement. The Company may assign this Agreement to
any affiliate company of AJG in which case, except for purposes of Section 10 hereof, all
references to “the Company” and all rights of the Company will include and inure to the benefit
of that affiliate. Employee may not assign this Agreement or any obligations hereunder.

Section 10.   Release of Certain Obligations.

        Notwithstanding anything herein to the contrary, the obligations of Employee stated in
Section 8 will become null and void and have no further effect immediately upon a Hostile
Change in Control of AJG as defined herein. The Company will send written notice to
Employee within ten (10) days of a Hostile Change in Control of AJG, notifying Employee that
such event has taken place. Failure of the Company to send such notice will not preclude the
release of Employee from the obligations contained in Section 8. These definitions apply to
Section 10:

        A.     The term “Hostile Change in Control” means a transaction, event or election
constituting a Change in Control which was not approved by or, in an election, the directors
elected were not nominated by, at least two-thirds of the members of the Board of Directors of
AJG in office immediately prior to the Change in Control who have not died or become
permanently disabled.

       B.     The term “Change in Control” of AJG means and includes each and all of the
following occurrences:

              (1)    A Business Combination, unless:

                     (a)     the Business Combination is approved or authorized by the
                             affirmative vote of the holders of not less than 80% of the
                             outstanding shares of voting stock of AJG and the affirmative vote
                             of the holders of not less than 67% of the outstanding shares of the
                             voting stock held by shareholders other than Related Persons; or

                     (b)     the Continuing Directors of AJG by a two-thirds vote: (i) have
                             expressly approved in advance the acquisition of outstanding
                             shares of voting stock of the corporation that caused the Related
                             Person to become a Related Person; or (ii) have approved the
                             Business Combination prior to the Related Person involved in the
                             Business Combination having become a Related Person; or

                     (c)     the Business Combination is solely between AJG and another
                             corporation, 50% or more of the voting stock of which is owned by
                             AJG and none of which is owned by the Related Person; or

                     (d)     all of the following conditions are satisfied:

                             i.     The cash or fair market value of the property, securities or
                                    “other consideration to be received” per share by holders of



                                        Page 11 of 18
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 97 of 131 PageID #:407
                                                                        Revised 8.27.2015



                             common stock in AJG in the Business Combination is not
                             less than the higher of:

                             (A)       the highest per share price (including brokerage
                                       commissions, transfer taxes and soliciting dealers’
                                       fees) paid by the Related Person in acquiring any of
                                       its holdings of AJG’s common stock, or

                             (B)       an amount that bears that same percentage
                                       relationship to the market price of AJG’s common
                                       stock immediately prior to the announcement of
                                       such Business Combination as the highest per share
                                       price determined in (A) above bears to the market
                                       price of AJG’s common stock immediately prior to
                                       the commencement of the acquisition of AJG’s
                                       voting stock that caused such Related Person to
                                       become a Related Person, or

                             (C)       an amount calculated by multiplying the earnings
                                       per share of AJG’s common stock for the four fiscal
                                       quarters immediately preceding the record date for
                                       determination of stockholders entitled to vote on
                                       such Business Combination by the price/earnings
                                       multiple of the Related Person as of the record date
                                       s customarily computed and reported in the
                                       financial press. Appropriate adjustments will be
                                       made with respect to these subsections (A), (B) and
                                       (C) for recapitalizations and for stock splits, stock
                                       dividends, and like distributions; and

                       ii.   A timely mailing will have been made to the stockholders
                             of AJG showing in a prominent place: (x) any
                             recommendations as to the advisability (or inadvisability)
                             of the Business Combination that the Continuing Directors
                             or Outside Directors may choose to state, if there are at the
                             time any such directors; and (y) the opinion of a reputable
                             nationally recognized investment banking or financial
                             services firm as to the fairness from the financial point of
                             view of the terms of the Business Combination to the
                             stockholders of AJG other than the Related Person (such
                             firm to be engaged solely on behalf of such other
                             stockholders, to be paid a reasonable fee for its services by
                             AJG upon receipt of such opinion, to be a firm that has not
                             previously been significantly associated with the Related
                             Person and, if there are at the time any such directors, to be
                             selected by a majority of the Continuing Directors and
                             Outside Directors).



                                   Page 12 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 98 of 131 PageID #:408
                                                                               Revised 8.27.2015



               (2)     The acquisition of outstanding shares of AJG’s voting stock that causes an
                       individual, a corporation, partnership or other person or entity to become a
                       Related Person.

               (3)     Individuals who at the beginning of any period of three consecutive years
                       constitute the entire Board of Directors of the Company will for any
                       reason other than death or permanent disability during such period cease
                       to constitute a majority thereof.

               (4)     A change in control of a nature that would be required to be reported in
                       response to Item 6(e) of Schedule 14A of Regulation 14A promulgated
                       under the Securities Act of 1934, as amended.

        C.      The term “Business Combination” will mean: (i) any merger or consolidation of
AJG with or into a Related Person; (ii) any sale, lease, exchange, transfer or other disposition,
including without limitation a mortgage or any other security device, of all or any Substantial
Part of the assets of the Company to a Related Person; (iii) any merger or consolidation of a
Related Person with or into AJG; (iv) any sale, lease, exchange, transfer or other disposition of
all or any Substantial Part of the assets of a Related Person to the Company; (v) the issuance of
any securities of the Company to a Related Person; (vi) the acquisition by the Company of any
securities issued by a Related Person; (vii) any reclassification of securities, recapitalization or
other transaction designed to decrease the number of holders of AJG’s voting securities
remaining, if there is a Related Person; and (viii) any agreement, contract or other arrangement
providing for any of the transactions described in this definition of Business Combination.

       D.      The term “Related Person” will mean and include any individual, corporation,
partnership or other person or entity which, together with their “Affiliates” and “Associates” (as
defined as of November 1, 1983, in Rule 12b-2 under the Securities Exchange Act of 1934),
“Beneficially Owns” (as defined as of November 1, 1983, in Rule 13d-3 under the Securities
Exchange Act of 1934) in the aggregate 20% or more of the outstanding shares of the voting
stock of AJG, and any Affiliate or Associate of any such individual, corporation, partnership or
other person or entity; provided that Related Person will not include any person who beneficially
owned 20% or more of the outstanding shares of the voting stock of AJG on November 1, 1983.
Without limitation, any shares of voting stock of AJG that any Related Person has the right to
acquire pursuant to any agreement, or upon exercise of conversion rights, warrants or options, or
otherwise, will be deemed beneficially owned by the Related Person.

        E.      The term “Substantial Part” will mean more than 30% of the fair market value of
the total assets of the corporation in question, as of the end of its most recent fiscal year ending
prior to the time the determination is being made.

        F.     The term “other consideration to be received” will include, without limitation,
capital stock of AJG retained by its existing public stockholders in the event of a Business
Combination in which AJG is the surviving corporation.

        G.     The term “Continuing Director” will mean a director who was a member of the
board of directors of AJG immediately prior to the time that the Related Person involved in a
Business Combination became a Related Person, and the term “Outside Director” will mean a
director who is not: (a) an officer or employee of AJG or any relative of an officer or employee;

                                          Page 13 of 18
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 99 of 131 PageID #:409
                                                                               Revised 8.27.2015



or (b) a Related Person or an officer, director, employee, Associate or Affiliate of a Related
Person, or a relative of any of the foregoing.

Section 11.    General.

       A.       The captions in this Agreement are for reference only and have no independent
force or effect. If a caption is inconsistent with any part of the Agreement, the caption will be
disregarded.

        B.       This Agreement will be governed by and construed in accordance with the laws of
the State in which Employee resides, without giving effect to any of its conflict of law principles.
The parties agree that the chosen state has a material and significant interest in questions
concerning this Agreement and performance thereunder. The parties agree that the sole and
exclusive venue of any dispute between the parties with respect to this Agreement, or any
matters related thereto, will be a state trial or federal district court located within the federal
judicial district in which Employee resides (“Chosen Venue”). Employee agrees that it is neither
unfair nor unreasonable for the Chosen Venue to be selected as the exclusive venue for any
dispute between the parties with respect to this Agreement or any matter related thereto and that
he will suffer no undue burden by having to litigate any such disputes in the Chosen Venue.
Moreover, Employee promises not to initiate suit against the Company in any venue other than
the above-selected exclusive Chosen Venue with respect to any dispute between the parties
relating to this Agreement. Employee waives and agrees not to interpose any argument that the
Chosen Venue is an inconvenient forum for litigation.

         C.     Waiver of Jury Trial. Because of the time and expense involved in the docketing
of, preparation for and participation in a jury trial, the parties desire that any dispute arising
hereunder will be decided by a judge rather than a jury. Therefore, the parties hereby knowingly,
voluntarily and intentionally waive the right either may have to a trial by jury in respect to any
litigation based on this Agreement or arising out of, under or in conjunction with Employee’s
employment by the Company, this Agreement, or any course of conduct, course of dealing,
verbal or written statement or the actions of either party.

       D.      If Employee is an existing employee of the Company as of the Effective Date and
is subject to any existing employment agreement with the Company, whether an Executive
Agreement, Associate Agreement, or otherwise (collectively “Existing Employee Agreement”),
this Agreement will be considered an Amended and Restated Employee Agreement of such
Existing Employee Agreement. If Employee is an employee of a business enterprise acquired or
to be acquired by the Company as of the Effective Date and is subject to any existing
employment agreement with the acquired business enterprise, then this Agreement will be
considered an Amended and Restated Employment Agreement only if Employee’s employment
agreement with the acquired business enterprise is assigned to the Company.

        E.     This Agreement contains the entire agreement of the parties with respect to the
subject matters covered hereby. The parties agree that all prior negotiations and communications
are of no force or effect. Further, the parties agree that there are no oral agreements,
understandings, undertakings or promises of the parties relating to the subject matters covered by
this Agreement.



                                          Page 14 of 18
 Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 100 of 131 PageID #:410
                                                                                Revised 8.27.2015



         F.     Subject to Section 11(G) below, this Agreement may not be amended, altered or
modified without the prior written consent of both parties, and such instrument will acknowledge
that it is an amendment or modification of this Agreement. Waiver of any term or condition of
this Agreement will not be construed as a waiver of any subsequent breach or failure of the same
term or condition, or any other term or condition. Any waiver must be in writing. No
amendment, alteration, modification or waiver may be signed by Employee on behalf of the
Company, its assignees, successors or assigns.

        G.      To the extent that any of the terms set forth in this Agreement or any word,
phrase, clause or sentence is found to be illegal or unenforceable for any reason, it is the
intention of the parties that such word, phrase, clause or sentence will be modified or deleted by
a court of competent jurisdiction so as to afford the Company the fullest protection
commensurate with making this Agreement, as modified, legal and enforceable under applicable
laws, and the balance of this Agreement will not be affected thereby, the balance being construed
as severable and independent.

        H.      All notices given hereunder will be in writing and will be sent by registered or
certified mail or delivered by hand and, if intended for the Company, addressed to it or delivered
to it’s principal office to the attention of the Secretary of the Company. If intended for
Employee, notices will be delivered personally or addressed (if sent by mail) to Employee’s then
current residence address as shown on the Company’s records, or to such other address as
Employee directs in a written notice to the Company. All notices will be deemed to be given on
the date received at the address of the addressee or, if delivered personally, on the date delivered.

        I.       The use of male pronouns throughout this Agreement includes the female gender.
The words “including” or “include” are not to be interpreted as terms of limitation or exclusion,
but rather of illustration.

        J.     This Agreement may be executed in counterparts, each of which is deemed an
original.

       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
day and year provided below their respective signatures. The parties agree that the Effective
Date of this Agreement will be 1/18/16, 9:00 AM   .




                                          Page 15 of 18
 Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 101 of 131 PageID #:411
                                                                                         Revised 8.27.2015




ARTHUR J. GALLAGHER & CO.,                              EMPLOYEE
on behalf of itself and its subsidiaries,
divisions and affiliated and related
                                                        Jordan Laeyendecker
companies
                                                        Employee Signature
                                                        Jordan Laeyendecker
By:
      Corporate Officer Signature – Itasca              Printed Name
      Corporate Vice President and                      2970 N. Sheridan Rd
Title: Chief Human Resources Officer, Human Resources
                                                        Chicago               Illinois
Date: 1/18/16, 9:00 AM                                                                                  60657

                                                        Address

                                                        Date: 1/11/16



FOR PAYROLL USE ONLY:
               41465
Employee ID:




                                            Page 16 of 18
 Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 102 of 131 PageID #:412
                                                                                    Revised 8.27.2015



                                              Schedule 1

        The following provision will replace Section 8(A) in its entirety:

        For a period of two (2) years following the termination of Employee’s employment with the

Company for any reason whatsoever, Employee will not, directly or indirectly, solicit any Protected

Accounts or Prospective Accounts of the Company (as such accounts are defined above) for the purpose

of providing Insurance Services or Benefit Services. “Insurance Services” is defined as the sale, placing,

marketing, counseling or consulting in the placement, renewal, discontinuance or replacement of any

insurance (including self-insurance) or handling self-insurance programs, insurance claims, risk

management services, emergency or disaster prevention or management services or other insurance

administrative service functions. “Benefit Services” is defined as providing employee benefit brokerage,

consulting, or administrative services, in the area of group insurance, defined benefit and defined

contribution pension plans, human resources and staffing services, individual life, disability and capital

accumulation products, and all other employee benefit areas. “Protected Accounts” mean any and all

accounts of the Company for which Employee performed any Insurance or Benefit Services during any

part of the two-year period immediately preceding termination of Employee’s employment with the

Company. The term “Account of the Company” as used in this paragraph will be construed broadly to

include all users of insurance or benefit services including commercial and individual consumers, risk

managers, carriers, agents and other insurance intermediaries who are customers of the Company on the

date Employee’s employment with the Company terminates. If an Account of the Company is part of a

group of companies which conducts business through more than one entity, division or operating unit,

whether or not separately incorporated (a “Client Group”), the term “Account of the Company” as used

herein will include products or services within any entity, division or operating unit of the Client Group

where the same management group in the Client Group has the primary decision making authority to

contract for services of the type rendered by the Company.


Employee Signature                                               Hiring Manager Signature


MANAGER: Do not complete this schedule UNLESS the employee is to be principally employed in
         OKLAHOMA.


                                            Page 17 of 18
 Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 103 of 131 PageID #:413
                                                                                     Revised 8.27.2015



                                               Schedule 2

        The following provision will replace Section 8(C) in its entirety:

        The obligations set forth in Section 8 above will be effective in the parishes specifically

designated on this Schedule, and in which the Company carries on the business of providing insurance

services and/or benefit services. The parties agree that this Schedule may be amended and modified upon

written acknowledgment of the Employee and the Company without the need to modify or amend any

other provision of this Agreement. (MANAGER: Please fully circle designated parishes.)




     Abbeville                  Acadia                          Allen                 Ascension
    Assumption                 Avoyelles                     Beauregard               Bienville
       Bossier                   Caddo                        Calcasieu               Caldwell
      Cameron                  Catahoula                      Claiborne               Concordia
      De Soto              East Baton Rouge                  East Carroll           East Feliciana
     Evangeline                 Franklin                        Grant                    Iberia
      Iberville                 Jackson                 Jefferson Davis               Jefferson
      La Salle                 Lafayette                     Lafourche                 Lincoln
     Livingston                 Madison                      Morehouse              Natchitoches
      Orleans                  Ouachita                  Plaquemines                    Pointe
      Rapides                  Red River                      Richland                  Sabine
   Saint Bernard             Saint Charles               Saint Helena                Saint James
 St. John the Baptist         Saint Landry               Saint Martin                Saint Mary
  Saint Tammany               Tangipahoa                       Tensas                Terrebonne
       Union                   Vermilion                       Vernon                Washington
      Webster              West Baton Rouge              West Carroll               West Feliciana
        Winn




Employee Signature                                                   Hiring Manager Signature

MANAGER: Do not complete this schedule UNLESS the employee is to be principally employed in
         LOUISIANA.




                                             Page 18 of 18
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 104 of 131 PageID #:414




                     Exhibit H7
  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 105 of 131 PageID #:415



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  Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 106 of 131 PageID #:416



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FRYHUDJHVRI&RPSDQ\DFFRXQWVSROLF\H[SLUDWLRQGDWHVSUHPLXPDPRXQWVDQGFRPPLVVLRQUDWHV
UHODWLQJWR&RPSDQ\DFFRXQWVULVNPDQDJHPHQWVHUYLFHDUUDQJHPHQWVUHODWLQJWR&RPSDQ\DFFRXQWVORVV
KLVWRULHVUHODWLQJWR&RPSDQ\DFFRXQWVFDQGLGDWHDQGSODFHPHQWOLVWVUHODWLQJWR&RPSDQ\DFFRXQWVWKH
&RPSDQ\¶VSHUVRQQHODQGSD\UROOGDWDLQFOXGLQJGHWDLOVRIVDODU\ERQXVFRPPLVVLRQDQGRWKHU
FRPSHQVDWLRQDUUDQJHPHQWVDQGRWKHUGDWDVKRZLQJWKHSDUWLFXODUL]HGLQVXUDQFHRUFRQVXOWLQJ
UHTXLUHPHQWVDQGSUHIHUHQFHVRI&RPSDQ\DFFRXQWV(PSOR\HHXQGHUVWDQGVWKDWKLVMREGXWLHVPD\
LQFOXGHDVVLVWLQJLQWKHGHYHORSPHQWRILQIRUPDWLRQDQGGDWDWKDWLV&RQILGHQWLDO,QIRUPDWLRQEHORQJLQJWR
WKH&RPSDQ\&RQILGHQWLDO,QIRUPDWLRQPD\EHVWRUHGLQILOHVGRFXPHQWVGDLOLHVGDLO\UHSRUWVUHQHZDO
LQIRUPDWLRQFXVWRPHUOLVWVDFFRXQWLQJUHFRUGVSURGXFWVSXUFKDVHGE\FXVWRPHUVFXVWRPHUDFFRXQWDQG
FUHGLWGDWDUHIHUUDOVRXUFHVFRPSXWHUSURJUDPVDQGVRIWZDUHFXVWRPHUFRPPHQWV&RPSDQ\ZULWWHQ
PDQXDOVDQGPDUNHWLQJDQGILQDQFLDODQDO\VLVSODQVUHVHDUFKDQGSURJUDPV(PSOR\HHUHFRJQL]HVWKDW
WKLV&RQILGHQWLDO,QIRUPDWLRQFRQVWLWXWHVYDOXDEOHSURSHUW\RIWKH&RPSDQ\GHYHORSHGRYHUDORQJSHULRG
RIWLPHDQGDWVXEVWDQWLDOH[SHQVHDQGWKDWWKH&RPSDQ\WDNHVUHDVRQDEOHHIIRUWVWRNHHSWKLV&RQILGHQWLDO
,QIRUPDWLRQFRQILGHQWLDODQGPDGHDYDLODEOHRQO\WRWKRVHHPSOR\HHVZKRQHHGDFFHVVWRVXFK
&RQILGHQWLDO,QIRUPDWLRQWRSHUIRUPWKHLUMREIXQFWLRQVIRUWKH&RPSDQ\(PSOR\HHSURPLVHVWR
VDIHJXDUGVXFK&RQILGHQWLDO,QIRUPDWLRQDQGDJUHHVWKDWKHZLOOQRWDWDQ\WLPHGXULQJKLVHPSOR\PHQW
E\WKH&RPSDQ\GLYXOJHVXFK&RQILGHQWLDO,QIRUPDWLRQRUPDNHXVHRILWIRUKLVRZQSXUSRVHVRUWKH
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         &     7KH&RPSDQ\DJUHHVWKDWGXULQJ(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\LWZLOO L 
SURYLGH(PSOR\HHZLWKFHUWDLQ&RQILGHQWLDO,QIRUPDWLRQWKH(PSOR\HHGLGQRWSUHYLRXVO\SRVVHVV
LQFOXGLQJZLWKRXWOLPLWDWLRQ&RQILGHQWLDO,QIRUPDWLRQUHODWLQJWRFHUWDLQRIWKH&RPSDQ\¶VDFFRXQWV LL 
SURYLGH(PSOR\HHZLWKLQIRUPDWLRQDQGDFFHVVWRWKH&RPSDQ\¶VSURSULHWDU\LQVXUDQFHDQGULVN
PDQDJHPHQWSURJUDPV LLL SURYLGH(PSOR\HHZLWKDFFHVVWRWKH&RPSDQ\¶VVSHFLDOL]HGEXVLQHVV
RSHUDWLRQVUHODWLQJWRSDUWLFXODUDVSHFWVRIWKHLQVXUDQFHDJHQF\DQGULVNPDQDJHPHQWEXVLQHVV LY 
PDLQWDLQVSHFLDOL]HGWUDLQLQJSURJUDPVWRZKLFK(PSOR\HHZLOOTXDOLI\DQGDSSO\DQG Y SURYLGHVXFK
RWKHUDVVLVWDQFHZKLFKPD\UHDVRQDEO\DLG(PSOR\HHLQSHUIRUPLQJVDOHVPDQDJHPHQWWHFKQLFDODQGRU
VHUYLFLQJGXWLHV
         '      (PSOR\HHDFNQRZOHGJHVDQGXQGHUVWDQGVWKDWDQHVVHQWLDOHOHPHQWRIWKH&RPSDQ\¶V
EXVLQHVVLVWKHGHYHORSPHQWDQGPDLQWHQDQFHRISHUVRQDOFRQWDFWVDQGUHODWLRQVKLSVZLWKLWVDFFRXQWVDQG
WKDW(PSOR\HHPD\EHSURYLGHGDQGDOORZHGDFFHVVWRFHUWDLQRIWKH&RPSDQ\¶VDFFRXQWVIRUWKHSXUSRVH
RIHVWDEOLVKLQJSHUVRQDOFRQWDFWDQGUHODWLRQVKLSVZLWKVXFKDFFRXQWVIRUWKHEHQHILWRIWKH&RPSDQ\7KH
(PSOR\HHDFNQRZOHGJHVWKDWWKH&RPSDQ\LQYHVWVFRQVLGHUDEOHWLPHPRQH\DQGUHVRXUFHVQHFHVVDU\WR
GHYHORSDQGPDLQWDLQDUHODWLRQVKLSEHWZHHQLWVHPSOR\HHVDQGDFOLHQWDQGLQWKDWUHJDUGWKH&RPSDQ\
ZLOOSD\(PSOR\HH¶VVDODU\UHLPEXUVHUHDVRQDEO\QHFHVVDU\EXVLQHVVH[SHQVHVSURYLGH(PSOR\HHZLWK
FHUWDLQ&RQILGHQWLDO,QIRUPDWLRQDQGSURYLGHWKHUHVRXUFHVQHFHVVDU\WRVHUYLFHWKH&RPSDQ\DFFRXQWV
PDQDJHGRUVHUYLFHGE\(PSOR\HHE\PDNLQJDYDLODEOHOHJDODGYLFHDFFRXQWLQJVXSSRUWDGYHUWLVLQJDQG
RWKHUFRUSRUDWHVHUYLFHV0RUHRYHUZKLOHWKH(PSOR\HHUHFRJQL]HVWKDWVRPH&RPSDQ\DFFRXQWVPD\
GHYHORSJUHDWHULGHQWLILFDWLRQZLWKWKH(PSOR\HHWKDQWKH&RPSDQ\LWVHOIWKRVHDFFRXQWVUHPDLQDWDOO
WLPHVDQGIRUDOOSXUSRVHVDFFRXQWVRIWKH&RPSDQ\%\HQWHULQJWKLV$JUHHPHQW(PSOR\HHGLVFODLPV
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6HFWLRQ      &RPSHQVDWLRQDQG%HQHILWV
         (PSOR\HHZLOOEHHQWLWOHGWRWKHFRPSHQVDWLRQDQGEHQHILWVDJUHHGWRE\(PSOR\HHDQGWKH
&RPSDQ\DQGDVQRWHGIURPWLPHWRWLPHLQ(PSOR\HH¶VRIILFLDOSHUVRQQHOILOHDQGUHFRUGVUHWDLQHGLQWKH
&RPSDQ\¶VFRUSRUDWHKHDGTXDUWHUVZKLFKILOHLVLQFRUSRUDWHGE\UHIHUHQFHKHUHLQWRWKHH[WHQWQHFHVVDU\
IRUHYLGHQFLQJWKHFRPSHQVDWLRQDQGEHQHILWVWRZKLFK(PSOR\HHDQGWKH&RPSDQ\KDYHDJUHHG7KH
FRPSHQVDWLRQDQGEHQHILWVWRZKLFK(PSOR\HHLVHQWLWOHGDVRIWKH(IIHFWLYH'DWHLVQRWHGLQ(PSOR\HH¶V
RIILFLDOSHUVRQQHOILOH(PSOR\HH¶VFRPSHQVDWLRQDQGEHQHILWVLVVXEMHFWWRSHULRGLFFKDQJHDWWKH
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         $     +HLVQRWDQGZLOOQRWEHFRPHDSDUW\WRDQ\DJUHHPHQWFRQWUDFWDUUDQJHPHQWRU
XQGHUVWDQGLQJZKHWKHURIHPSOR\PHQWRURWKHUZLVHWKDWZRXOGLQDQ\ZD\UHVWULFWKLPIURPXQGHUWDNLQJ
RUSHUIRUPLQJKLVGXWLHVLQDFFRUGDQFHZLWKWKLV$JUHHPHQWRUWKDWOLPLWVKLVDELOLW\WREHHPSOR\HGE\
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         %     (PSOR\PHQWE\WKH&RPSDQ\ZLOOQRWYLRODWHWKHWHUPVRIDQ\SROLF\RIDQ\SULRU
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         &     +LVHPSOR\PHQWE\WKH&RPSDQ\LQWKHSRVLWLRQFRQWHPSODWHGE\WKLV$JUHHPHQWZLOO
QRWUHTXLUHKLPWRLPSURSHUO\XVHDQ\WUDGHVHFUHWVRUFRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRIDQ\SULRU
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         '     +HKDVQRWPLVXVHGDQGZLOOQRWPLVXVHDQ\FRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQ
REWDLQHGIURPDQ\SULRUHPSOR\HURUDQ\RWKHUSHUVRQRUHQWLW\
         (     +HKDVQRWLPSURSHUO\WDNHQRUUHWDLQHGLQDQ\IRUPZKDWVRHYHURURWKHUZLVHUHWDLQHG
DFFHVVWRDQ\FRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRIDQ\SULRUHPSOR\HURUDQ\RWKHUSHUVRQRUHQWLW\
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         )     +HLVLQFRPSOLDQFHZLWKDQ\QRQFRPSHWLWLRQDQGRUQRQVROLFLWDWLRQDJUHHPHQWVRU
RWKHUUHVWULFWLYHFRYHQDQWREOLJDWLRQVLQSODFHEHWZHHQKLPDQGDQ\IRUPHUHPSOR\HUDQGZLOOFRQWLQXHWR
EHLQFRPSOLDQFHUHJDUGOHVVRIZKHWKHUKHEHOLHYHVVXFKDJUHHPHQWVDQGRUUHVWULFWLYHFRYHQDQWVDUH
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         $     7KH&RPSDQ\RUWKH(PSOR\HHPD\WHUPLQDWH(PSOR\HH¶VHPSOR\PHQWDWDQ\WLPHDQG
IRUDQ\UHDVRQXSRQWZHQW\RQH  GD\V¶ZULWWHQQRWLFH WKH³1RWLFH3HULRG´ E\WKHSDUW\ZLVKLQJWR
WHUPLQDWHWKHHPSOR\PHQWSURYLGHGKRZHYHUWKDWQRWLFHLVQRWUHTXLUHGIURPWKH&RPSDQ\IRUDQ\
WHUPLQDWLRQWDNLQJSODFH  GXULQJWKH(PSOR\HH¶VILUVWQLQHW\  GD\VRIHPSOR\PHQW RURWKHU
DSSOLFDEOH,QWURGXFWRU\3HULRGSXUVXDQWWR&RPSDQ\SROLF\ RU  GXULQJWKHSHQGHQF\RIDQ\
3HUIRUPDQFH,PSURYHPHQW3ODQLVVXHGSXUVXDQWWRWKH&RPSDQ\¶VSHUIRUPDQFHPDQDJHPHQWSROLFLHV
         %     7KH&RPSDQ\DJUHHVWRFRQWLQXHGXULQJWKH1RWLFH3HULRGWKHVDPHFRPSHQVDWLRQDQG
EHQHILWV(PSOR\HHZDVUHFHLYLQJSULRUWRWKH1RWLFH3HULRG7KHSDUWLHVDJUHHWKDWRQFHWKH1RWLFH3HULRG
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         &     (PSOR\HHDJUHHVWKDWGXULQJWKH1RWLFH3HULRGKHZLOOFRRSHUDWHIXOO\ZLWKWKH&RPSDQ\
LQDOOPDWWHUVUHODWLQJWRWKHZLQGLQJXSRIDQ\SHQGLQJZRUNDQGRUWKHRUGHUO\WUDQVIHUWRRWKHU&RPSDQ\
HPSOR\HHVRIWKHDFFRXQWVIRUZKLFKKHKDVEHHQUHVSRQVLEOH(PSOR\HHVSHFLILFDOO\FRYHQDQWVWKDW
GXULQJWKH1RWLFH3HULRG UHJDUGOHVVRIZKHWKHURUQRWDFWLYHHPSOR\PHQWUHVSRQVLELOLWLHVDUHFRQWLQXLQJ 
KLVGXWLHVWRWKH&RPSDQ\LQFOXGLQJ(PSOR\HH¶VILGXFLDU\GXW\RIOR\DOW\ZLOOFRQWLQXHLQHIIHFW3ULRU
WRWKHH[SLUDWLRQRIWKH1RWLFH3HULRG(PSOR\HHSURPLVHVWRUHWXUQWRWKH&RPSDQ\DOORULJLQDOVDQG
FRSLHV ZKHWKHUSDSHUGLJLWDOFRSLHVRURWKHUZLVH RIOLWHUDWXUHFRUUHVSRQGHQFHPHPRUDQGDUHSRUWV
VXPPDULHVPDQXDOVSURSRVDOVFRQWUDFWVDQGRWKHUGRFXPHQWVRIDQ\NLQGZKLFKUHODWHLQDQ\ZD\WRWKH
EXVLQHVVRIWKH&RPSDQ\LQFOXGLQJVSHFLILFDOO\DOOPDWHULDOVZKLFKFRPSULVHRUUHIHUWRWKH&RPSDQ\¶V
&RQILGHQWLDO,QIRUPDWLRQ7KH(PSOR\HHFRYHQDQWVWKDWKHZLOOQRWUHWDLQDQ\FRS\IDFVLPLOHRUQRWH
LQWHQGHGWRPHPRULDOL]HDQ\VXFKGDWD(PSOR\HHIXUWKHUXQGHUVWDQGVDQGDJUHHVWKDWGXULQJRUDWWKH
H[SLUDWLRQRIWKH1RWLFH3HULRGDQGDVSDUWRIKLVDVVLJQHGMREGXWLHVKHZLOOUHDVRQDEO\SDUWLFLSDWHLQ
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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DQ\PHHWLQJWKH&RPSDQ\PD\FRQYHQHWR L UHYLHZWKHVWDWXVRIDQ\SURMHFWVRUZRUN(PSOR\HHKDV
EHHQDVVLJQHG LL UHYLHZWKHVWDWXVRIDFFRXQWVIRUZKLFK(PSOR\HHKDVEHHQPRVWUHFHQWO\UHVSRQVLEOH
RUDVVRFLDWHG LLL HQVXUHWKDW(PSOR\HHKDVIXOO\REWDLQHGKLVHQWLWOHPHQWVXQGHUWKLV$JUHHPHQWDQGDV
SURYLGHGE\ODZDQGRU LY FRQILUPWKDW(PSOR\HHXQGHUVWDQGVWKHQDWXUHDQGVFRSHRIKLVSRVW
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WKH6HFUHWDU\RIWKH&RPSDQ\PD\DVDQLUUHYRFDEOHSUR[\DQGLQ(PSOR\HH¶VQDPHDQGVWHDGH[HFXWH
DOOGRFXPHQWVDQGWKLQJVZKLFKWKH&RPSDQ\GHHPVQHFHVVDU\DQGGHVLUDEOHWRHIIHFW(PSOR\HH¶V
UHVLJQDWLRQDVDQRIILFHURUGLUHFWRURIDQ\FRPSDQ\ LIDSSOLFDEOH LQFOXGHGZLWKLQWKHGHILQLWLRQRIWKH
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         (     %HIRUHDFFHSWLQJDQ\QHZHPSOR\PHQWLQWKHLQVXUDQFHEHQHILWVRUZHDOWKPDQDJHPHQW
LQGXVWULHV(PSOR\HHSURPLVHVWRJLYHKLVSURVSHFWLYHQHZHPSOR\HUDFRS\RIWKLV$JUHHPHQW(PSOR\HH
SHUPLWVWKH&RPSDQ\WRDGYLVHDQ\SURVSHFWLYHQHZHPSOR\HURI(PSOR\HHRIWKHH[LVWHQFHDQGWHUPVRI
WKLV$JUHHPHQWDQGWRSURYLGHLWZLWKDFRS\
         )     'XULQJHPSOR\PHQWDQGDIWHUWKHWHUPLQDWLRQRIVDPH(PSOR\HHDJUHHVWRUHPDLQ
DYDLODEOHWRWKH&RPSDQ\DQGLWVOHJDOFRXQVHOYROXQWDULO\XSRQWKH&RPSDQ\¶VUHTXHVWDQGZLWKRXWWKH
QHFHVVLW\RIVXESRHQDRUFRXUWRUGHULQFRQQHFWLRQZLWKWKH&RPSDQ\¶VLQYHVWLJDWLRQSUHSDUDWLRQ
SURVHFXWLRQDQGRUGHIHQVHRIDQ\DFWXDORUSRWHQWLDOOHJDOSURFHHGLQJUHJXODWRU\DFWLRQRULQWHUQDO
PDWWHU7KH(PSOR\HHDJUHHVWRFRRSHUDWHZLWKWKH&RPSDQ\WRSURYLGHDQ\LQIRUPDWLRQUHDVRQDEO\
ZLWKLQKLVUHFROOHFWLRQDQGWRSURYLGHWUXWKIXOWHVWLPRQ\DVUHTXLUHG,I(PSOR\HHLVFDOOHGXSRQWR
SURYLGHFRRSHUDWLRQDIWHUHPSOR\PHQWKDVEHHQWHUPLQDWHGWKH&RPSDQ\ZLOOUHLPEXUVH(PSOR\HHIRU
UHDVRQDEOHRXWRISRFNHWH[SHQVHVDFWXDOO\LQFXUUHGXQGHUWKLVVHFWLRQRUDWWKH&RPSDQ\¶VRSWLRQZLOO
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WHUPLQDWLRQRIKLVHPSOR\PHQWKHZLOOQRWPDNHDQ\IDOVHGHIDPDWRU\RUGLVSDUDJLQJVWDWHPHQWVDERXW
WKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUVZKHUHVXFKVWDWHPHQWVDUHFDOFXODWHGWRRUUHDVRQDEO\OLNHO\WR
FDXVHPDWHULDOGDPDJHWRWKH&RPSDQ\LWVRIILFHUVRUGLUHFWRUV
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         7KH(PSOR\HHDFNQRZOHGJHVWKDWKLVVHUYLFHVWRWKH&RPSDQ\DUHRIDXQLTXHFKDUDFWHUZKLFK
JLYHVWKHPDVSHFLDOYDOXHWRWKH&RPSDQ\WKHORVVRIZKLFKFDQQRWUHDVRQDEO\RUDGHTXDWHO\EH
FRPSHQVDWHGLQGDPDJHVLQDQDFWLRQDWODZVKRXOGWKH(PSOR\HHEUHDFKRUWKUHDWHQWREUHDFKDQ\SRVW
HPSOR\PHQWREOLJDWLRQVXQGHUWKLV$JUHHPHQW7KH(PSOR\HHUHDOL]HVWKDW D LWZRXOGEHGLIILFXOWWR
PHDVXUHSUHFLVHO\WKHGDPDJHVWRWKH&RPSDQ\IURPDQ\EUHDFKE\(PSOR\HHRI6HFWLRQVDQGRURI
WKLV$JUHHPHQW E LQMXU\WRWKH&RPSDQ\IURPDQ\VXFKEUHDFKZRXOGEHLQFDOFXODEOHDQGLUUHPHGLDEOH
DQG F PRQH\GDPDJHVZRXOGWKHUHIRUHEHDQLQDGHTXDWHUHPHG\IRUDQ\VXFKEUHDFK$FFRUGLQJO\LQ
DGGLWLRQWRDQ\RWKHUUHPHG\WKH&RPSDQ\PD\KDYHDWODZRULQHTXLW\WKH&RPSDQ\ZLOOEHHQWLWOHGWR
HQIRUFHWKLV$JUHHPHQWE\REWDLQLQJDWHPSRUDU\UHVWUDLQLQJRUGHUDQGSUHOLPLQDU\DQGSHUPDQHQW
LQMXQFWLYHUHOLHIWRUHVWUDLQDQ\VXFKEUHDFKRUIXUWKHUEUHDFKE\(PSOR\HH(PSOR\HHH[SUHVVO\ZDLYHV
WKHULJKWWRFRQWHVWZKHWKHUDEUHDFKRI6HFWLRQRURIWKLV$JUHHPHQWZRXOGUHVXOWLQLUUHSDUDEOHRU
SHUPDQHQWKDUPWRWKH&RPSDQ\,QDGGLWLRQ(PSOR\HHDJUHHVWKDWWKH&RPSDQ\PD\VHHNLQMXQFWLYH
UHOLHIZKHQDQGLILWHOHFWVWRGRVRDQGDQ\GHOD\LQVHHNLQJLQMXQFWLYHUHOLHIZLOOQRWSUHMXGLFHRUZDLYH
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HQWLWOHGWRLQMXQFWLYHUHOLHIEHFDXVHRIDQ\GHOD\LQVHHNLQJVXFKUHOLHI(PSOR\HHDJUHHVWKDWKHZLOOEH
UHVSRQVLEOHIRUDQGSD\WKH&RPSDQ\LWVUHDVRQDEOHDWWRUQH\V¶IHHVDQGRWKHUH[SHQVHVDQGFRVWVLQFXUUHG
WRHQIRUFHWKLV$JUHHPHQWLIWKH&RPSDQ\LVWKHSUHYDLOLQJSDUW\(PSOR\HHIXUWKHUDJUHHVWKDWLI
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6HFWLRQ      7UDGH6HFUHWVDQG&RQILGHQWLDO,QIRUPDWLRQ
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DVVLJQPHQW ZLWKRXWDQ\IXUWKHUFRQVLGHUDWLRQ WRWKH&RPSDQ\RIDQ\DQGDOOFRS\ULJKWVDQGRWKHUULJKWV
WLWOHDQGLQWHUHVWLQDQGWRDOOVXFKLQWHOOHFWXDOSURSHUW\7KH&RPSDQ\ZLOOUHWDLQDOOSURSULHWDU\ULJKWVWR
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DFNQRZOHGJHVWKDWKLVEUHDFKRIDQ\UHVWULFWLRQVSURYLGHGLQ6HFWLRQEHORZZLOOLQHYLWDEO\DQG
QHFHVVDULO\OHDGWRWKHSURKLELWHGGLVFORVXUHRUXVHRI&RQILGHQWLDO,QIRUPDWLRQ
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DQGLQFRQVLGHUDWLRQIRUDPRQJRWKHUWKLQJVDVSURYLGHGLQWKLV$JUHHPHQWWKH&RPSDQ\¶VSURPLVHWR
JLYH(PSOR\HHFHUWDLQ&RQILGHQWLDO,QIRUPDWLRQVRPHRIZKLFKFRQVWLWXWHVWUDGHVHFUHWVRIWKH&RPSDQ\
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VROLFLWWUDQVIHUSODFHPDUNHWDFFHSWDLGFRXQVHORUFRQVXOWLQWKHSODFHPHQWUHQHZDOGLVFRQWLQXDQFHRU
UHSODFHPHQWRIDQ\LQVXUDQFH LQFOXGLQJVHOILQVXUDQFH E\RUKDQGOHVHOILQVXUDQFHSURJUDPVLQVXUDQFH
FODLPVULVNPDQDJHPHQWVHUYLFHVHPHUJHQF\RUGLVDVWHUSUHYHQWLRQRUPDQDJHPHQWVHUYLFHVRURWKHU
LQVXUDQFHDGPLQLVWUDWLYHRUVHUYLFHIXQFWLRQV ³LQVXUDQFHVHUYLFHV´ RUSURYLGHHPSOR\HHEHQHILW
EURNHUDJHFRQVXOWLQJRUDGPLQLVWUDWLRQVHUYLFHVLQWKHDUHDRIJURXSLQVXUDQFHGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQSODQVLQGLYLGXDOOLIHGLVDELOLW\DQGFDSLWDODFFXPXODWLRQSURGXFWV
LQYHVWPHQWDGYLVRU\VHUYLFHVZHDOWKPDQDJHPHQWRUJURXSUHWLUHPHQWVHUYLFHVGHILQHGEHQHILWDQG
GHILQHGFRQWULEXWLRQSHQVLRQVHUYLFHVKXPDQUHVRXUFHVFRQVXOWLQJVHUYLFHVLQFOXGLQJZLWKRXWOLPLWDWLRQ
FRPSHQVDWLRQFRQVXOWLQJFRPSHQVDWLRQSURJUDPGHVLJQFRPSHQVDWLRQDQGEHQHILWVVXUYH\VDQGRQVLWH
KXPDQUHVRXUFHVPDQDJHPHQWDQGDOORWKHUHPSOR\HHEHQHILWDUHDVWKH&RPSDQ\LVLQYROYHGZLWK
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IRUHJRLQJIXQFWLRQVGXULQJDQ\SDUWRIWKHWZR\HDUSHULRGLPPHGLDWHO\SUHFHGLQJVXFKWHUPLQDWLRQ
  UHIHUUHGWRKHUHLQDIWHUDV³3URWHFWHG$FFRXQWV´ RU \ DQ\3URVSHFWLYH$FFRXQWRIWKH&RPSDQ\ DV
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                       7KHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGLQWKLVSDUDJUDSKZLOOEHFRQVWUXHG
EURDGO\WRLQFOXGHDOOXVHUVRILQVXUDQFHVHUYLFHVRUEHQHILWVHUYLFHVLQFOXGLQJFRPPHUFLDODQGLQGLYLGXDO
FRQVXPHUVULVNPDQDJHUVFDUULHUVDJHQWVDQGRWKHULQVXUDQFHLQWHUPHGLDULHVZKRDUHFXVWRPHUVRIWKH
&RPSDQ\RQWKHGDWH(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\WHUPLQDWHVRUDQLQVXUDQFHFDUULHU
RIIHULQJDQ\FXVWRPSURJUDPIRUZKLFKWKH&RPSDQ\DFWVDVPDQDJLQJJHQHUDODJHQWPDQDJLQJJHQHUDO
XQGHUZULWHUSURJUDPPDQDJHURUXQGHUZULWLQJDJHQWUHJDUGOHVVRIKRZWKHUHODWLRQVKLSLVGRFXPHQWHGRU
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                       ,IDQ$FFRXQWRIWKH&RPSDQ\LVSDUWRIDJURXSRIFRPSDQLHVZKLFKFRQGXFWV
EXVLQHVVWKURXJKPRUHWKDQRQHHQWLW\GLYLVLRQRURSHUDWLQJXQLWZKHWKHURUQRWVHSDUDWHO\LQFRUSRUDWHG
  D³&OLHQW*URXS´ WKHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGKHUHLQZLOOLQFOXGHSURGXFWVRUVHUYLFHV
ZLWKLQDQ\HQWLW\GLYLVLRQRURSHUDWLQJXQLWRIWKH&OLHQW*URXSZKHUHWKHVDPHPDQDJHPHQWJURXS
ZLWKLQWKH&OLHQW*URXSKDVWKHSULPDU\GHFLVLRQPDNLQJDXWKRULW\ZLWKUHVSHFWWRFRQWUDFWLQJIRUVHUYLFHV
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EHIUHHWRFDOORQWKHUHWDLODJHQWVRIWKH&RPSDQ\VRORQJDVWKHUHLVQRFRQWDFWRUVROLFLWDWLRQRIDQ\
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WKHQFXUUHQWDFFRXQWRIWKH&RPSDQ\EXWLQFOXGLQJIRUPHU&RPSDQ\DFFRXQWV ZLWKUHVSHFWWRZKRPDW
DQ\WLPHGXULQJWKHRQH\HDUSHULRGSUHFHGLQJWKHWHUPLQDWLRQRI(PSOR\HH¶VHPSOR\PHQWZLWKWKH
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RQEHKDOIRIWKH&RPSDQ\ LL KDGPDWHULDOFRQWDFWRUDFTXLUHG&RQILGHQWLDO,QIRUPDWLRQDVDUHVXOWRIRU
LQFRQQHFWLRQZLWK(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\RU LLL LQFXUUHGWUDYHODQGRU
HQWHUWDLQPHQWH[SHQVHVZKLFKZHUHUHLPEXUVHGE\WKH&RPSDQ\WR(PSOR\HHEXWWKHWHUP3URVSHFWLYH
$FFRXQWGRHVQRWLQFOXGHDQDFFRXQWWKDWLVDFXVWRPHURI(PSOR\HH¶VQHZHPSOR\HU IRUWKHVDPHW\SH
RILQVXUDQFHDQGRUEHQHILWVVHUYLFHVIRUZKLFKVXFKFXVWRPHUZDVD3URVSHFWLYH$FFRXQWRIWKH
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ZLOOH[SUHVVO\LQFOXGHEXWQRWEHOLPLWHGWRWKHIROORZLQJ ZKLFKLVQRWLQWHQGHGWREHDQH[KDXVWLYHOLVW
RIGLUHFWRULQGLUHFWVROLFLWDWLRQEXWLVPHDQWWRSURYLGHH[DPSOHVRIFHUWDLQUHDVRQDEO\DQWLFLSDWHG
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3URWHFWHG$FFRXQWRU3URVSHFWLYH$FFRXQWWKHSXUSRVHRIZKLFKLVWRFRPPXQLFDWHWKDW(PSOR\HHKDV
HLWKHUIRUPHGKLVRZQEXVLQHVVHQWHUSULVHRUMRLQHGDQH[LVWLQJEXVLQHVVHQWHUSULVHWKDWZLOORIIHUSURGXFWV
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EXVLQHVVHQWHUSULVHWKDWZLOORIIHUSURGXFWVRUVHUYLFHVLQDQ\ZD\FRPSHWLWLYHZLWKWKH&RPSDQ\
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IDFLOLWDWHGE\(PSOR\HHGLUHFWO\RULQGLUHFWO\RULI(PSOR\HHZLOORULVLQWHQGHGWREHQHILWGLUHFWO\RU
LQGLUHFWO\E\VXFKFRPPXQLFDWLRQ LIWKHFRPPXQLFDWLRQLQDQ\ZD\UHODWHVWRLQVXUDQFHRUEHQHILWV
VHUYLFHVSURYLGHGKRZHYHUQRWKLQJKHUHLQLVLQWHQGHGWROLPLWFRPPXQLFDWLRQVRUFRQWDFWVWKDWDUH
XQUHODWHGWRLQVXUDQFHDQGRUEHQHILWVVHUYLFHV
                 G     7KHIDFLOLWDWLRQE\(PSOR\HHGLUHFWO\RULQGLUHFWO\RIDQ\3URWHFWHG$FFRXQWV¶
H[HFXWLRQRIDEURNHURIUHFRUGOHWWHUUHSODFLQJWKH&RPSDQ\DVLWVEURNHURIUHFRUG
         &     ,Q/28,6,$1$RQO\(PSOR\HHDQGWKH&RPSDQ\DJUHHWKDWGXULQJWKHSHULRGRIWLPH
LIDQ\(PSOR\HHLVSULQFLSDOO\HPSOR\HGLQ/RXLVLDQDWKLV6HFWLRQ & ZLOOQRWEHFRQVLGHUHGSDUWRI
WKLV$JUHHPHQWDQGZLOOEHUHSODFHGLQLWVHQWLUHW\E\WKHDWWDFKHG6FKHGXOHZKLFKLVLQFRUSRUDWHGE\
UHIHUHQFH(PSOR\HHXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWWKHXVHRI6FKHGXOHLVQHFHVVLWDWHGE\WKH
UHTXLUHPHQWVDQGSHFXOLDULWLHVRIWKHODZVRI/RXLVLDQD6FKHGXOHZLOODSSO\RQO\LILWLVDWWDFKHGDQG
LQLWLDOHGE\WKH&RPSDQ\DQG(PSOR\HH
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                (PSOR\HHXQGHUVWDQGVDQGDJUHHVWKDWPDQ\RIWKHDFFRXQWVIRUZKLFKKHZLOOSHUIRUP
LQVXUDQFHDQGRUEHQHILWVVHUYLFHVZKLOHHPSOR\HGE\WKH&RPSDQ\DUHQDWLRQDODFFRXQWVDQGWKDW
(PSOR\HHZLOOSHUIRUPLQVXUDQFHDQGRUEHQHILWVHUYLFHVIRU&RPSDQ\DFFRXQWVWKURXJKRXWWKHHQWLUH
FRXQWU\(PSOR\HHDJUHHVDQGDFNQRZOHGJHVWKDWWKHJHRJUDSKLFVFRSHUHODWLQJWRWKHUHVWULFWLRQV
SURYLGHGLQWKLV6HFWLRQZLOOLQFOXGHWKHHQWLUH8QLWHG6WDWHVDQGWKDWVLQFHWKHSRVWHPSOR\PHQW
UHVWULFWLRQVKHUHLQSURYLGHGDUHWLHGGLUHFWO\WR$FFRXQWVRIWKH&RPSDQ\IRUZKRP(PSOR\HHSHUIRUPHG
LQVXUDQFHDQGRUEHQHILWVHUYLFHVGXULQJWKHWZR\HDUSHULRGLPPHGLDWHO\SUHFHGLQJWHUPLQDWLRQRIKLV
HPSOR\PHQWDQG3URVSHFWLYH$FFRXQWVWKLVJHRJUDSKLFOLPLWDWLRQLVUHDVRQDEOH0RUHRYHU(PSOR\HH
DFNQRZOHGJHVDQGDJUHHVWKDWWKHUHVWULFWLRQVFRQWDLQHGLQWKLV6HFWLRQGRQRWSURKLELW(PSOR\HHIURP
FRPSHWLQJZLWKWKH&RPSDQ\RUSHUIRUPLQJLQVXUDQFHRUEHQHILWVVHUYLFHVIRUSRWHQWLDOFOLHQWVWKURXJKRXW
WKHHQWLUHZRUOGH[FHSWIRU3URWHFWHG$FFRXQWVDQG3URVSHFWLYH$FFRXQWVDQGWKDWWKRVHUHVWULFWLRQVDUH
UHDVRQDEOHDQGQDUURZO\WDLORUHGWRIXUWKHUWKH&RPSDQ\¶VOHJLWLPDWHLQWHUHVWWRSURWHFWLWV&RQILGHQWLDO
,QIRUPDWLRQDFFRXQWUHODWLRQVKLSVDQGJRRGZLOODQGVXFKUHVWULFWLRQVZLOOQRWXQGXO\EXUGHQ
(PSOR\HH¶VDELOLW\WRHDUQDOLYLQJDIWHUKLVHPSOR\PHQWZLWKWKH&RPSDQ\LVWHUPLQDWHG
         '    ,IZLWKLQWZR  \HDUVRIWKHWHUPLQDWLRQRI(PSOR\HH¶VHPSOR\PHQWWKH(PSOR\HH
HQJDJHVLQRUMRLQVDFRPSDQ\RUEXVLQHVVHQWHUSULVHHQJDJHGLQSURYLGLQJLQVXUDQFHDQGRUEHQHILWV
VHUYLFHVWKHQWKH&RPSDQ\PD\DGYLVHDQ\3URWHFWHG$FFRXQWDQGRU3URVSHFWLYH$FFRXQWRIWKH
H[LVWHQFHDQGWHUPVRIWKLV$JUHHPHQWDQGPD\JLYHWKHPDFRS\RIWKLV$JUHHPHQW
         (    (PSOR\HHUHFRJQL]HVWKDWHPSOR\HHVRIWKH&RPSDQ\DUHDYDOXDEOHUHVRXUFHRIWKH
&RPSDQ\$FFRUGLQJO\GXULQJ(PSOR\HH¶VHPSOR\PHQWZLWKWKH&RPSDQ\(PSOR\HHZLOOQRWGLUHFWO\
RULQGLUHFWO\VROLFLWLQGXFHHQWLFHRUUHFUXLWDQ\HPSOR\HHRIWKH&RPSDQ\WROHDYHWKHLUHPSOR\PHQW
ZLWKWKH&RPSDQ\,QDGGLWLRQIRUDSHULRGRIWZR  \HDUVIROORZLQJWKHWHUPLQDWLRQRI(PSOR\HH¶V
HPSOR\PHQWZLWKWKH&RPSDQ\IRUDQ\UHDVRQZKDWVRHYHU(PSOR\HHZLOOQRWGLUHFWO\RULQGLUHFWO\
VROLFLWLQGXFHRUUHFUXLWDQ\HPSOR\HHRIWKH&RPSDQ\ZKRKDVEHHQSURYLGHG&RQILGHQWLDO,QIRUPDWLRQ
WROHDYHWKHHPSOR\RIWKH&RPSDQ\
                                               Page 7 of 13
6WDQGDUG(PSOR\HH$JUHHPHQW±
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6HFWLRQ      $VVLJQPHQW
        ([FHSWDVSURYLGHGLQ6HFWLRQWKLV$JUHHPHQWZLOOQRWEHDIIHFWHGE\DQ\PHUJHURU
FRQVROLGDWLRQRURWKHUUHRUJDQL]DWLRQRIWKH&RPSDQ\DQGZLOOEHDVVLJQDEOHWRELQGLQJXSRQDQGZLOO
LQXUHWRWKHEHQHILWRIWKHFRQWLQXLQJHQWLW\RUWRDQ\VXFFHVVRULQLQWHUHVWWRWKH&RPSDQ\LQFOXGLQJ
ZLWKRXWOLPLWDWLRQDQ\HQWLW\WRZKLFKWKH&RPSDQ\VHOOVEXVLQHVVDVVHWVDQGRUDFFRXQWVRIDQ\EUDQFK
EXVLQHVVXQLWRUSURILWFHQWHULQZKLFK(PSOR\HHLVSULPDULO\HPSOR\HG7KLV$JUHHPHQWDOVRZLOOLQXUHWR
WKHEHQHILWRIHYHU\DIILOLDWHFRPSDQ\LQFOXGHGLQWKHGHILQLWLRQRI³&RPSDQ\´XQGHUWKLV$JUHHPHQW7KH
&RPSDQ\PD\DVVLJQWKLV$JUHHPHQWWRDQ\DIILOLDWHFRPSDQ\RI$-*LQZKLFKFDVHH[FHSWIRUSXUSRVHV
RI6HFWLRQKHUHRIDOOUHIHUHQFHVWR³WKH&RPSDQ\´DQGDOOULJKWVRIWKH&RPSDQ\ZLOOLQFOXGHDQG
LQXUHWRWKHEHQHILWRIWKDWDIILOLDWH(PSOR\HHPD\QRWDVVLJQWKLV$JUHHPHQWRUDQ\REOLJDWLRQV
KHUHXQGHU
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        1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\WKHREOLJDWLRQVRI(PSOR\HHVWDWHGLQ6HFWLRQ
ZLOOEHFRPHQXOODQGYRLGDQGKDYHQRIXUWKHUHIIHFWLPPHGLDWHO\XSRQD+RVWLOH&KDQJHLQ&RQWURORI
$-*DVGHILQHGKHUHLQ7KH&RPSDQ\ZLOOVHQGZULWWHQQRWLFHWR(PSOR\HHZLWKLQWHQ  GD\VRID
+RVWLOH&KDQJHLQ&RQWURORI$-*QRWLI\LQJ(PSOR\HHWKDWVXFKHYHQWKDVWDNHQSODFH)DLOXUHRIWKH
&RPSDQ\WRVHQGVXFKQRWLFHZLOOQRWSUHFOXGHWKHUHOHDVHRI(PSOR\HHIURPWKHREOLJDWLRQVFRQWDLQHGLQ
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        $     7KHWHUP³+RVWLOH&KDQJHLQ&RQWURO´PHDQVDWUDQVDFWLRQHYHQWRUHOHFWLRQFRQVWLWXWLQJ
D&KDQJHLQ&RQWUROZKLFKZDVQRWDSSURYHGE\RULQDQHOHFWLRQWKHGLUHFWRUVHOHFWHGZHUHQRW
QRPLQDWHGE\DWOHDVWWZRWKLUGVRIWKHPHPEHUVRIWKH%RDUGRI'LUHFWRUVRI$-*LQRIILFHLPPHGLDWHO\
SULRUWRWKH&KDQJHLQ&RQWUROZKRKDYHQRWGLHGRUEHFRPHSHUPDQHQWO\GLVDEOHG
        %     7KHWHUP³&KDQJHLQ&RQWURO´RI$-*PHDQVDQGLQFOXGHVHDFKDQGDOORIWKHIROORZLQJ
RFFXUUHQFHV
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YRWHRIWKHKROGHUVRIQRWOHVVWKDQRIWKHRXWVWDQGLQJVKDUHVRIYRWLQJVWRFNRI$-*DQGWKH
DIILUPDWLYHYRWHRIWKHKROGHUVRIQRWOHVVWKDQRIWKHRXWVWDQGLQJVKDUHVRIWKHYRWLQJVWRFNKHOGE\
VKDUHKROGHUVRWKHUWKDQ5HODWHG3HUVRQVRU
                       E       WKH&RQWLQXLQJ'LUHFWRUVRI$-*E\DWZRWKLUGVYRWH L KDYHH[SUHVVO\
DSSURYHGLQDGYDQFHWKHDFTXLVLWLRQRIRXWVWDQGLQJVKDUHVRIYRWLQJVWRFNRIWKHFRUSRUDWLRQWKDWFDXVHG
WKH5HODWHG3HUVRQWREHFRPHD5HODWHG3HUVRQRU LL KDYHDSSURYHGWKH%XVLQHVV&RPELQDWLRQSULRUWR
WKH5HODWHG3HUVRQLQYROYHGLQWKH%XVLQHVV&RPELQDWLRQKDYLQJEHFRPHD5HODWHG3HUVRQRU
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FRUSRUDWLRQRUPRUHRIWKHYRWLQJVWRFNRIZKLFKLVRZQHGE\$-*DQGQRQHRIZKLFKLVRZQHGE\
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FRQVLGHUDWLRQWREHUHFHLYHG´SHUVKDUHE\KROGHUVRIFRPPRQVWRFNLQ$-*LQWKH%XVLQHVV&RPELQDWLRQ
LVQRWOHVVWKDQWKHKLJKHURI
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FRPPLVVLRQVWUDQVIHUWD[HVDQGVROLFLWLQJGHDOHUV¶IHHV SDLGE\WKH5HODWHG3HUVRQLQDFTXLULQJDQ\RILWV
KROGLQJVRI$-*¶VFRPPRQVWRFNRU
                                        LL    DQDPRXQWWKDWEHDUVWKDWVDPHSHUFHQWDJHUHODWLRQVKLS
WRWKHPDUNHWSULFHRI$-*¶VFRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHDQQRXQFHPHQWRIVXFK%XVLQHVV
&RPELQDWLRQDVWKHKLJKHVWSHUVKDUHSULFHGHWHUPLQHGLQL DERYHEHDUVWRWKHPDUNHWSULFHRI$-*¶V
FRPPRQVWRFNLPPHGLDWHO\SULRUWRWKHFRPPHQFHPHQWRIWKHDFTXLVLWLRQRI$-*¶VYRWLQJVWRFNWKDW
FDXVHGVXFK5HODWHG3HUVRQWREHFRPHD5HODWHG3HUVRQRU
                                        LLL   DQDPRXQWFDOFXODWHGE\PXOWLSO\LQJWKHHDUQLQJVSHU
VKDUHRI$-*¶VFRPPRQVWRFNIRUWKHIRXUILVFDOTXDUWHUVLPPHGLDWHO\SUHFHGLQJWKHUHFRUGGDWHIRU
GHWHUPLQDWLRQRIVWRFNKROGHUVHQWLWOHGWRYRWHRQVXFK%XVLQHVV&RPELQDWLRQE\WKHSULFHHDUQLQJV
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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PXOWLSOHRIWKH5HODWHG3HUVRQDVRIWKHUHFRUGGDWHDVFXVWRPDULO\FRPSXWHGDQGUHSRUWHGLQWKHILQDQFLDO
SUHVV$SSURSULDWHDGMXVWPHQWVZLOOEHPDGHZLWKUHVSHFWWRWKHVHVXEVHFWLRQVL LL DQGLLL IRU
UHFDSLWDOL]DWLRQVDQGIRUVWRFNVSOLWVVWRFNGLYLGHQGVDQGOLNHGLVWULEXWLRQVDQG
                                ,,    $WLPHO\PDLOLQJZLOOKDYHEHHQPDGHWRWKHVWRFNKROGHUVRI
$-*VKRZLQJLQDSURPLQHQWSODFH [ DQ\UHFRPPHQGDWLRQVDVWRWKHDGYLVDELOLW\ RULQDGYLVDELOLW\ RI
WKH%XVLQHVV&RPELQDWLRQWKDWWKH&RQWLQXLQJ'LUHFWRUVRU2XWVLGH'LUHFWRUVPD\FKRRVHWRVWDWHLIWKHUH
DUHDWWKHWLPHDQ\VXFKGLUHFWRUVDQG \ WKHRSLQLRQRIDUHSXWDEOHQDWLRQDOO\UHFRJQL]HGLQYHVWPHQW
EDQNLQJRUILQDQFLDOVHUYLFHVILUPDVWRWKHIDLUQHVVIURPWKHILQDQFLDOSRLQWRIYLHZRIWKHWHUPVRIWKH
%XVLQHVV&RPELQDWLRQWRWKHVWRFNKROGHUVRI$-*RWKHUWKDQWKH5HODWHG3HUVRQ VXFKILUPWREHHQJDJHG
VROHO\RQEHKDOIRIVXFKRWKHUVWRFNKROGHUVWREHSDLGDUHDVRQDEOHIHHIRULWVVHUYLFHVE\$-*XSRQ
UHFHLSWRIVXFKRSLQLRQWREHDILUPWKDWKDVQRWSUHYLRXVO\EHHQVLJQLILFDQWO\DVVRFLDWHGZLWKWKH5HODWHG
3HUVRQDQGLIWKHUHDUHDWWKHWLPHDQ\VXFKGLUHFWRUVWREHVHOHFWHGE\DPDMRULW\RIWKH&RQWLQXLQJ
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LQGLYLGXDODFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\WREHFRPHD5HODWHG3HUVRQ
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FRQVWLWXWHWKHHQWLUH%RDUGRI'LUHFWRUVRIWKH&RPSDQ\ZLOOIRUDQ\UHDVRQRWKHUWKDQGHDWKRUSHUPDQHQW
GLVDELOLW\GXULQJVXFKSHULRGFHDVHWRFRQVWLWXWHDPDMRULW\WKHUHRI
                      $FKDQJHLQFRQWURORIDQDWXUHWKDWZRXOGEHUHTXLUHGWREHUHSRUWHGLQUHVSRQVH
WR,WHP H RI6FKHGXOH$RI5HJXODWLRQ$SURPXOJDWHGXQGHUWKH6HFXULWLHV$FWRIDV
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         &     7KHWHUP³%XVLQHVV&RPELQDWLRQ´ZLOOPHDQ L DQ\PHUJHURUFRQVROLGDWLRQRI$-*
ZLWKRULQWRD5HODWHG3HUVRQ LL DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQLQFOXGLQJ
ZLWKRXWOLPLWDWLRQDPRUWJDJHRUDQ\RWKHUVHFXULW\GHYLFHRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRI
WKH&RPSDQ\WRD5HODWHG3HUVRQ LLL DQ\PHUJHURUFRQVROLGDWLRQRID5HODWHG3HUVRQZLWKRULQWR$-*
  LY DQ\VDOHOHDVHH[FKDQJHWUDQVIHURURWKHUGLVSRVLWLRQRIDOORUDQ\6XEVWDQWLDO3DUWRIWKHDVVHWVRID
5HODWHG3HUVRQWRWKH&RPSDQ\ Y WKHLVVXDQFHRIDQ\VHFXULWLHVRIWKH&RPSDQ\WRD5HODWHG3HUVRQ
  YL WKHDFTXLVLWLRQE\WKH&RPSDQ\RIDQ\VHFXULWLHVLVVXHGE\D5HODWHG3HUVRQ YLL DQ\UHFODVVLILFDWLRQ
RIVHFXULWLHVUHFDSLWDOL]DWLRQRURWKHUWUDQVDFWLRQGHVLJQHGWRGHFUHDVHWKHQXPEHURIKROGHUVRI$-*¶V
YRWLQJVHFXULWLHVUHPDLQLQJLIWKHUHLVD5HODWHG3HUVRQDQG YLLL DQ\DJUHHPHQWFRQWUDFWRURWKHU
DUUDQJHPHQWSURYLGLQJIRUDQ\RIWKHWUDQVDFWLRQVGHVFULEHGLQWKLVGHILQLWLRQRI%XVLQHVV&RPELQDWLRQ
         '     7KHWHUP³5HODWHG3HUVRQ´ZLOOPHDQDQGLQFOXGHDQ\LQGLYLGXDOFRUSRUDWLRQ
SDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\ZKLFKWRJHWKHUZLWKWKHLU³$IILOLDWHV´DQG³$VVRFLDWHV´ DVGHILQHG
DVRI1RYHPEHULQ5XOHEXQGHUWKH6HFXULWLHV([FKDQJH$FWRI ³%HQHILFLDOO\2ZQV´
  DVGHILQHGDVRI1RYHPEHULQ5XOHGXQGHUWKH6HFXULWLHV([FKDQJH$FWRI LQWKH
DJJUHJDWHRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKHYRWLQJVWRFNRI$-*DQGDQ\$IILOLDWHRU
$VVRFLDWHRIDQ\VXFKLQGLYLGXDOFRUSRUDWLRQSDUWQHUVKLSRURWKHUSHUVRQRUHQWLW\SURYLGHGWKDW5HODWHG
3HUVRQZLOOQRWLQFOXGHDQ\SHUVRQZKREHQHILFLDOO\RZQHGRUPRUHRIWKHRXWVWDQGLQJVKDUHVRIWKH
YRWLQJVWRFNRI$-*RQ1RYHPEHU:LWKRXWOLPLWDWLRQDQ\VKDUHVRIYRWLQJVWRFNRI$-*WKDWDQ\
5HODWHG3HUVRQKDVWKHULJKWWRDFTXLUHSXUVXDQWWRDQ\DJUHHPHQWRUXSRQH[HUFLVHRIFRQYHUVLRQULJKWV
ZDUUDQWVRURSWLRQVRURWKHUZLVHZLOOEHGHHPHGEHQHILFLDOO\RZQHGE\WKH5HODWHG3HUVRQ
         (     7KHWHUP³6XEVWDQWLDO3DUW´ZLOOPHDQPRUHWKDQRIWKHIDLUPDUNHWYDOXHRIWKHWRWDO
DVVHWVRIWKHFRUSRUDWLRQLQTXHVWLRQDVRIWKHHQGRILWVPRVWUHFHQWILVFDO\HDUHQGLQJSULRUWRWKHWLPH
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         )     7KHWHUP³RWKHUFRQVLGHUDWLRQWREHUHFHLYHG´ZLOOLQFOXGHZLWKRXWOLPLWDWLRQFDSLWDO
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         *     7KHWHUP³&RQWLQXLQJ'LUHFWRU´ZLOOPHDQDGLUHFWRUZKRZDVDPHPEHURIWKHERDUGRI
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&RPELQDWLRQEHFDPHD5HODWHG3HUVRQDQGWKHWHUP³2XWVLGH'LUHFWRU´ZLOOPHDQDGLUHFWRUZKRLVQRW
  D DQRIILFHURUHPSOR\HHRI$-*RUDQ\UHODWLYHRIDQRIILFHURUHPSOR\HHRU E D5HODWHG3HUVRQRUDQ
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6WDQGDUG(PSOR\HH$JUHHPHQW±
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RIILFHUGLUHFWRUHPSOR\HH$VVRFLDWHRU$IILOLDWHRID5HODWHG3HUVRQRUDUHODWLYHRIDQ\RIWKH
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         $    7KHFDSWLRQVLQWKLV$JUHHPHQWDUHIRUUHIHUHQFHRQO\DQGKDYHQRLQGHSHQGHQWIRUFHRU
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         %    7KLV$JUHHPHQWZLOOEHJRYHUQHGE\DQGFRQVWUXHGLQDFFRUGDQFHZLWKWKHODZVRIWKH
6WDWHLQZKLFK(PSOR\HHUHVLGHVZLWKRXWJLYLQJHIIHFWWRDQ\RILWVFRQIOLFWRIODZSULQFLSOHV7KHSDUWLHV
DJUHHWKDWWKHFKRVHQVWDWHKDVDPDWHULDODQGVLJQLILFDQWLQWHUHVWLQTXHVWLRQVFRQFHUQLQJWKLV$JUHHPHQW
DQGSHUIRUPDQFHWKHUHXQGHU7KHSDUWLHVDJUHHWKDWWKHVROHDQGH[FOXVLYHYHQXHRIDQ\GLVSXWHEHWZHHQ
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WKHUHWRDQGWKDWKHZLOOVXIIHUQRXQGXHEXUGHQE\KDYLQJWROLWLJDWHDQ\VXFKGLVSXWHVLQWKH&KRVHQ
9HQXH0RUHRYHU(PSOR\HHSURPLVHVQRWWRLQLWLDWHVXLWDJDLQVWWKH&RPSDQ\LQDQ\YHQXHRWKHUWKDQWKH
DERYHVHOHFWHGH[FOXVLYH&KRVHQ9HQXHZLWKUHVSHFWWRDQ\GLVSXWHEHWZHHQWKHSDUWLHVUHODWLQJWRWKLV
$JUHHPHQW(PSOR\HHZDLYHVDQGDJUHHVQRWWRLQWHUSRVHDQ\DUJXPHQWWKDWWKH&KRVHQ9HQXHLVDQ
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GHFLGHGE\DMXGJHUDWKHUWKDQDMXU\7KHUHIRUHWKHSDUWLHVKHUHE\NQRZLQJO\YROXQWDULO\DQG
LQWHQWLRQDOO\ZDLYHWKHULJKWHLWKHUPD\KDYHWRDWULDOE\MXU\LQUHVSHFWWRDQ\OLWLJDWLRQEDVHGRQWKLV
$JUHHPHQWRUDULVLQJRXWRIXQGHURULQFRQMXQFWLRQZLWK(PSOR\HH¶VHPSOR\PHQWE\WKH&RPSDQ\WKLV
$JUHHPHQWRUDQ\FRXUVHRIFRQGXFWFRXUVHRIGHDOLQJYHUEDORUZULWWHQVWDWHPHQWRUWKHDFWLRQVRI
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5HVWDWHG(PSOR\PHQW$JUHHPHQWLI(PSOR\HHLVVXEMHFWWRDQ\H[LVWLQJHPSOR\PHQWDJUHHPHQWZLWKWKH
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&RPSDQ\DQG LL WKHWHUPWKH³&RPSDQ\´VKDOOEHGHHPHGWRLQFOXGHWKH$FTXLUHG%XVLQHVV
         (    7KLV$JUHHPHQWFRQWDLQVWKHHQWLUHDJUHHPHQWRIWKHSDUWLHVZLWKUHVSHFWWRWKHVXEMHFW
PDWWHUVFRYHUHGKHUHE\7KHSDUWLHVDJUHHWKDWDOOSULRUQHJRWLDWLRQVDQGFRPPXQLFDWLRQVDUHRIQRIRUFH
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ZLWKRXWWKHSULRUZULWWHQFRQVHQWRIERWKSDUWLHVDQGVXFKLQVWUXPHQWZLOODFNQRZOHGJHWKDWLWLVDQ
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         +    $OOQRWLFHVJLYHQKHUHXQGHUZLOOEHLQZULWLQJDQGZLOOEHVHQWE\UHJLVWHUHGRUFHUWLILHG
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RQWKH&RPSDQ\¶VUHFRUGVRUWRVXFKRWKHUDGGUHVVDV(PSOR\HHGLUHFWVLQDZULWWHQQRWLFHWRWKH
&RPSDQ\$OOQRWLFHVZLOOEHGHHPHGWREHJLYHQRQWKHGDWHUHFHLYHGDWWKHDGGUHVVRIWKHDGGUHVVHHRU
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         ,    7KHXVHRIPDOHSURQRXQVWKURXJKRXWWKLV$JUHHPHQWLQFOXGHVWKHIHPDOHJHQGHU7KH
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$FFRXQWVRU3URVSHFWLYH$FFRXQWVRIWKH&RPSDQ\ DVVXFKDFFRXQWVDUHGHILQHGDERYH IRUWKHSXUSRVH
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PDUNHWLQJFRXQVHOLQJRUFRQVXOWLQJLQWKHSODFHPHQWUHQHZDOGLVFRQWLQXDQFHRUUHSODFHPHQWRIDQ\
LQVXUDQFH LQFOXGLQJVHOILQVXUDQFH RUKDQGOLQJVHOILQVXUDQFHSURJUDPVLQVXUDQFHFODLPVULVN
PDQDJHPHQWVHUYLFHVHPHUJHQF\RUGLVDVWHUSUHYHQWLRQRUPDQDJHPHQWVHUYLFHVRURWKHULQVXUDQFH
DGPLQLVWUDWLYHVHUYLFHIXQFWLRQV³%HQHILW6HUYLFHV´LVGHILQHGDVSURYLGLQJHPSOR\HHEHQHILWEURNHUDJH
FRQVXOWLQJRUDGPLQLVWUDWLYHVHUYLFHVLQWKHDUHDRIJURXSLQVXUDQFHGHILQHGEHQHILWDQGGHILQHG
FRQWULEXWLRQSHQVLRQSODQVKXPDQUHVRXUFHVDQGVWDIILQJVHUYLFHVLQGLYLGXDOOLIHGLVDELOLW\DQGFDSLWDO
DFFXPXODWLRQSURGXFWVDQGDOORWKHUHPSOR\HHEHQHILWDUHDV³3URWHFWHG$FFRXQWV´PHDQDQ\DQGDOO
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&RPSDQ\7KHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHGLQWKLVSDUDJUDSKZLOOEHFRQVWUXHGEURDGO\WR
LQFOXGHDOOXVHUVRILQVXUDQFHRUEHQHILWVHUYLFHVLQFOXGLQJFRPPHUFLDODQGLQGLYLGXDOFRQVXPHUVULVN
PDQDJHUVFDUULHUVDJHQWVDQGRWKHULQVXUDQFHLQWHUPHGLDULHVZKRDUHFXVWRPHUVRIWKH&RPSDQ\RQWKH
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ZKHWKHURUQRWVHSDUDWHO\LQFRUSRUDWHG D³&OLHQW*URXS´ WKHWHUP³$FFRXQWRIWKH&RPSDQ\´DVXVHG
KHUHLQZLOOLQFOXGHSURGXFWVRUVHUYLFHVZLWKLQDQ\HQWLW\GLYLVLRQRURSHUDWLQJXQLWRIWKH&OLHQW*URXS
ZKHUHWKHVDPHPDQDJHPHQWJURXSLQWKH&OLHQW*URXSKDVWKHSULPDU\GHFLVLRQPDNLQJDXWKRULW\WR
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GHVLJQDWHGRQWKLV6FKHGXOHDQGLQZKLFKWKH&RPSDQ\FDUULHVRQWKHEXVLQHVVRISURYLGLQJLQVXUDQFH
VHUYLFHVDQGRUEHQHILWVHUYLFHV7KHSDUWLHVDJUHHWKDWWKLV6FKHGXOHPD\EHDPHQGHGDQGPRGLILHG
XSRQZULWWHQDFNQRZOHGJPHQWRIWKH(PSOR\HHDQGWKH&RPSDQ\ZLWKRXWWKHQHHGWRPRGLI\RUDPHQG
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      'H6RWR                (DVW%DWRQ5RXJH       (DVW&DUUROO           (DVW)HOLFLDQD
      (YDQJHOLQH             )UDQNOLQ               *UDQW                  ,EHULD
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      2UOHDQV                2XDFKLWD               3ODTXHPLQHV            3RLQWH
      5DSLGHV                5HG5LYHU              5LFKODQG               6DELQH
      6DLQW%HUQDUG          6DLQW&KDUOHV          6DLQW+HOHQD           6DLQW-DPHV
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      6DLQW7DPPDQ\          7DQJLSDKRD             7HQVDV                 7HUUHERQQH
      8QLRQ                  9HUPLOLRQ              9HUQRQ                 :DVKLQJWRQ
      :HEVWHU                :HVW%DWRQ5RXJH       :HVW&DUUROO           :HVW)HOLFLDQD
      :LQQ


                                                 
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   (PSOR\HH6LJQDWXUH                           +LULQJ0DQDJHU6LJQDWXUH 'DWH
   
     'RQRWFRPSOHWHWKLVVFKHGXOHXQOHVVWKHHPSOR\HHLVWREHSULQFLSDOO\HPSOR\HGLQ/RXLVLDQD




                                            Page 13 of 13
6WDQGDUG(PSOR\HH$JUHHPHQW±
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 118 of 131 PageID #:428




                     Exhibit H8
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 119 of 131 PageID #:429
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 120 of 131 PageID #:430
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 121 of 131 PageID #:431
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 122 of 131 PageID #:432
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 123 of 131 PageID #:433
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 124 of 131 PageID #:434
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 125 of 131 PageID #:435
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 126 of 131 PageID #:436
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 127 of 131 PageID #:437
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 128 of 131 PageID #:438
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 129 of 131 PageID #:439
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 130 of 131 PageID #:440
Case: 1:22-cv-03931 Document #: 9-8 Filed: 07/28/22 Page 131 of 131 PageID #:441
